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   7
   8                           UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10 ERIC WHITE,                                  Case No.: 2:13-CV-03401-JFW-SSx
  11              Plaintiff,                      JOINT STIPULATION PERTAINING
                                                  TO DISCOVERY DISPUTES. L.R.
  12              vs.                             37-2.
  13 MATTHEW KERFOOT et al.,                      Discovery Cutoff:   July 24, 2017
                                                  PTC:                October 6, 2017
  14              Defendants.                     Trial Date:         October 31, 2017
  15
  16 TO:    THE CLERK OF THE COURT AND TO THE DEFENDANT AND HIS ATTORNEYS OF
  17        RECORD:
  18        Pursuant to Fed. R. Civ. P. 37 and L.R. 37, the parties submit the following
  19 Joint Stipulation Pertaining to Discovery Disputes.
  20 DATED: June 26 , 2017                  JEFF DOMINIC PRICE
  21                                 By           /s/ Jeff Dominic Price
                                            Jeff Dominic Price, Esq.
  22                                        Attorney for the plaintiff
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   1   I.        Introductory Statement by Plaintiff:
   2             The party seeking to compel discovery has the burden of establishing that
   3   its request satisfies relevancy requirements, the party opposing discovery bears
   4   the burden of showing that discovery should not be allowed, and of clarifying,
   5   explaining, and supporting its objections with competent evidence. La. Pac. Corp.
   6   v. Money Mkt. 1 Inst'l Inv. Dealer, 285 F.R.D. 481, 485 (N.D.Cal.2012) (citations
   7   omitted); see also Oakes v. Halvorsen Mar. Ltd., 179 F.R.D. 281, 283
   8   (C.D.Cal.1998) (citation omitted). Lofton v. Verizon Wireless (VAW) LLC, 308
   9   F.R.D. 276, 280–8 (N.D. Cal. 2015). In turn, the party opposing discovery has the
  10   burden of showing that discovery should not be allowed, and also has the burden
  11   of clarifying, explaining and supporting its objections with competent evidence.
  12   See DIRECTV, Inc. v. Trone, 209 F.R.D. 455, 458 (C.D.Cal.2002). Louisiana
  13   Pacific Corp. v. Money Market 1 Institutional Inv. Dealer, 285 F.R.D. 481, 485
  14   (N.D. Cal. 2012). The party who resists discovery has the burden to show that
  15   discovery should not be allowed, and has the burden of clarifying, explaining, and
  16   supporting its objections. Nestle Foods Corp. v. Aetna Casualty & Surety Co.,
  17   135 F.R.D. 101, 104 (D.N.J.1990). Oakes v. Halvorsen Marine Ltd., 179 F.R.D.
  18   281, 283 (C.D. Cal. 1998)
  19             Requests for admissions require more than a mere procedural exercise
  20   requiring minimally acceptable conduct. Parties should focus on the goal of the
  21   Rules, full and efficient discovery, and not evasion and word play. Marchand v.
  22   Mercy Medical Center, 22 F.3d 993, 936-37 (9th Cir. 1994).
  23             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
  24   been dismissed from this case; they have not. Defendant have stated that
  25   Defendant Cavanaugh is now deceased. His estate must be substituted into this
  26   case under Fed. R. Civ. P. 25. Defendants’ claim that they have been dismissed is
  27   meritless.
  28             A responding party who objects must do so with specificity. Fed. R.Civ. P


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   1   36(a)(5). Boilerplate objections are not adequate. Thompson v. Yates, 2011 WL
   2   5975469, at *3 (E.D. Cal. Nov. 29, 2011) (“The Court declines to consider
   3   objections raised in boilerplate language.”); Anderson v. Hansen, 2012 WL
   4   4049979, at *8 (E.D. Cal Nov. 29, 2011) (“Defendant's boilerplate objections are
   5   unsupported and overruled in their entirety. A defendant must “clarify[ ], explain[
   6   ], and support[ ] its objections.” El-Shaddai [v. Wheeler], 2009 WL 301824 at *2
   7   [(E.D. Cal. 2009)]. “The grounds for objecting to a request must be stated,” Fed.
   8   R. Civ. P. 36(a)(5), and as with other forms of discovery, it is well established
   9   that boilerplate objections do not suffice, e.g., Thompson v. Yates, 2011 WL
  10   5975469, at *2-3 (E.D. Cal. Nov. 29, 2011).”); See also Gurshin v. Bank of
  11   America National Association, 2017 WL 68650 at *4 (D. Nev., No. 2:15-CV-
  12   323-GMN-VCF, Jan. 5, 2017) (internal citations omitted.) (“Bank of America
  13   provided a list of boilerplate objections such as vague and ambiguous and unduly
  14   burdensome. Critically, the bank did not admit, deny, or explain why it could not
  15   admit or deny each request. Since Bank of America has not stated a valid
  16   objection nor provided a proper response, the aforementioned requests are
  17   deemed admitted.”)
  18             In our meet and confers, and now in this document, Plaintiff requests
  19   responses to RFAs without objections. In our meet and confers, and now in this
  20   document, Plaintiff requests responses to Interrogatories without objections. In
  21   our meet and confers, and now in this document, Plaintiff requests production of
  22   documents and a response specifically stating whether documents have been
  23   produced, and if so, the specific identification of the document, and whether there
  24   are any documents being withheld.
  25             Introductory Statement by Defendants
  26             Plaintiff’s joint stipulation, well over 250 pages, is moot as to Defendants
  27   County of Los Angeles (“County”) and Deputies Kerfoot and Owens, as they
  28   have provided supplemental responses, and premature as to the Supervisor


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   1   Defendants, as the motion to clarify whether they are Parties and, if they are, if
   2   discovery is stayed, is pending. These issues are clear, but inexplicably missing
   3   from Plaintiff’s portion of this motion.
   4             Following the Parties meet and confer efforts and the subsequent informal
   5   discovery conferences with the Court, Defendants County, Kerfoot and Owens’
   6   supplemental responses were served on the agreed upon dates: June 9, 2017
   7   (Supplemental Requests for Admission responses from Defendants Kerfoot and
   8   Owens1 - collectively as Exhibit “A” to Declaration of Arnold F. Lee (“Lee
   9   Decl.”) at ¶ 3), June 15, 2017 (Supplemental Requests for Production responses
  10   from Defendant County of Los Angeles – collectively as Exhibit “B” to Lee Decl.
  11   at ¶ 4), and June 16, 2017 (supplemental Requests for Production responses from
  12   Defendants Kerfoot and Owens – collectively as Exhibit “C” to Lee Decl. at ¶ 5).
  13             Setting aside the fact that the motion is either moot or premature, for
  14   unknown tactical reasons, Plaintiff has chosen to move to compel on nearly all of
  15   the discovery served on Defendants and the dismissed Supervisor Defendants
  16   with little to no effort to narrow the real issues of dispute as required by Local
  17   Rule 37-1. L.R. 37-1(requires the parties to “confer in good faith effort to
  18   eliminate the necessity for hearing the motion or to eliminate as many of the
  19   disputes as possible”). Navigating through much of Plaintiff’s boilerplate
  20
  21   1
         These supplemental responses were provided following Plaintiff’s re-serving of
  22   his Request for Admissions to Defendants Kerfoot and Owens with correct
  23   numbering as required under Local Rule 36-1, as agreed upon following the
       Parties Local Rule 37-1 meet and confer on May 25, 2017. In the instant joint
  24   stipulation, however, Plaintiff is moving to compel based on the initial requests
  25   that he served in violation of Local Rule 36-1. It is apparent that despite
       Plaintiff’s representation that he provided renumbered Requests for Admissions,
  26
       see Sec. II below, he is ignoring the supplemental responses timely provided by
  27   Defendants and moving to compel on the initial responses and objections.
  28   Consequently, Plaintiff’s motion to compel as to these responses should be
       denied.

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   1   arguments, a closer reading of each of Plaintiff’s arguments reveals that his
   2   primary request is for an order that Defendants serve responses without
   3   objections. There is simply no authority for this demand. See Fed.R.Civ.P. Rules
   4   33(a)(b)(4); 34(b)(2)(C); 36(a)(5). In addition, Defendants have already
   5   supplemented responses to Plaintiff’s Requests for Production in compliance with
   6   the Federal Rules of Civil Procedure to remove ambiguity as to whether
   7   Defendants are withholding any responsive documents.
   8             Finally, during the June 2, 2017 informal discovery conference, with
   9   respect to the discovery requests to the Individual Supervisor Defendants (Baca,
  10   Cavanaugh, Cruz, and Burns), this Court mentioned that after discussion with the
  11   District Court, generally supervisor liability and Monell claims are bifurcated and
  12   the discovery is stayed pending the outcome of the liability phase regarding the
  13   underlying use of force. Instead of taking heed of this advice, Plaintiff attempts
  14   to jump the queue and sought this joint stipulation prior to the outcome of the
  15   hearing before the District Court as to the status of the Supervisor Defendants.
  16             Plaintiff’s Motion for Clarification regarding the Individual Supervisor
  17   Defendants (“Motion”) is set for hearing on July 3, 2017 (Dkt. Nos. 216; 220).
  18   Pending the outcome of the District Court’s ruling, the motion to compel as to the
  19   Individual Supervisor Defendants is premature and may become unnecessary.
  20   Following this Court’s statements during the discovery conference, Defendants
  21   have requested that in the interest of judicial and party economy that the Monell
  22   and supervisor liability claims be bifurcated at trial and discovery stayed pending
  23   resolution of the liability phase against Defendants Kerfoot and Owens.
  24             On June 19, 2017, Defendants’ counsel sent Plaintiff’s attorney an email
  25   requesting the withdrawal of the instant motion and joint stipulation due to the
  26   timely served supplemental discovery responses and regarding the impact of
  27   Plaintiff’s Motion for clarification, which renders the instant joint stipulation
  28



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   1   moot and premature, respectively. Lee Decl. at ¶ 6. Plaintiff’s attorney refused
   2   to withdraw this motion. Lee Decl. at ¶ 6.
   3
   4             II. Deputies Kerfoot and Owens
   5             Plaintiff has already provided to the Defendants re-numbered Requests for
   6   Admission to comply with L.R. 36.
   7             Requests for Admission, Set One Kerfoot and Owens 0503
   8   REQUEST FOR ADMISSION NO. 2:
   9             I, Matthew Kerfoot, cannot recall clearly the entirety of my interaction with
  10   Eric White on May 13, 2009. Substitute Kasey Owens for Matthew Kerfoot.
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
  12             Objection: vague and ambiguous as to the term “clearly” and “entirety,”
  13   and “interaction’. Without waiving the foregoing objection, Defendant responds:
  14   Responding party recalls Plaintiff Eric White attacking me and other deputies.
  15
  16             PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  17             This admission is non-responsive. An admission, denial or specific reason
  18   why, at minimum, a qualified answer has not been provided must be provided.
  19   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  20   request for admission imprecise, he should set forth a qualified answer that fairly
  21   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  22   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  23   interrogatory is considered vague and ambiguous and answer to the fullest extent
  24   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  25   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  26   unless so ambiguous that the responding party cannot, in good faith, frame an
  27   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  28   in detail why other portions of a request may not be admitted.”); McCoo v.


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   1   Denny’s Inc., 192 F.R.D. 675, 694 (D.Kan. 2000) (“The party objecting to
   2   discovery as vague or ambiguous has the burden to show such vagueness or
   3   ambiguity.”
   4             In our meet and confers, and now in this document, Plaintiff requests
   5   responses to RFAs without objections.
   6             DEFENDANT’S RESPONSE
   7             From what can be discerned, Plaintiff is moving to compel Defendants to
   8   respond without objections. There is simply no authority for this argument,
   9   especially when Defendants provided a qualified response. See Fed.R.Civ.P.
  10   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  11   denied.
  12
  13             Requests for Admission, Set Three Kerfoot and Owens 0509
  14   REQUEST FOR ADMISSION NO. 2:
  15   In the Los Angeles County Sheriff's Department, issuing oral commands is a
  16   preferred prior alternative to using oleoresin capisicum ("OC") spray against an
  17   inmate.
  18
  19             Kerfoot
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
  21             Objections: Overbroad in scope and in time; compound; vague and
  22   ambiguous; calls for an expert opinion; lacks foundation; calls for speculation;
  23   not reasonably calculated to lead to the discovery of admissible evidence; not in
  24   compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential
  25   order without repeating numbers from prior sets.
  26             Without waiving the foregoing objections and subject thereto, Defendant
  27   responds as follows: Defendant admits the Los Angeles County Sheriff's
  28



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   1   Department maintains extensive policies and procedures that govern the use of
   2   force in the Los Angeles County jails.
   3   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   4             This admission is non-responsive. An admission, denial or specific reason
   5   why, at minimum, a qualified answer has not been provided must be provided.
   6   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   7   request for admission imprecise, he should set forth a qualified answer that fairly
   8   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   9   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  10   interrogatory is considered vague and ambiguous and answer to the fullest extent
  11   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  12   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  13   unless so ambiguous that the responding party cannot, in good faith, frame an
  14   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  15   in detail why other portions of a request may not be admitted.”); McCoo v.
  16   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  17   discovery as vague or ambiguous has the burden to show such vagueness or
  18   ambiguity.”
  19             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  20   490 (2014) (“A party resisting discovery must show specifically how each request
  21   is overly broad, unduly burdensome, or oppressive.”).
  22             You must explain why the request or interrogatory calls for speculation.
  23   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  24   technicalities”).
  25             These requests for admission are asking for a response with regard to the
  26   defendants’ knowledge and therefore are not asking for a speculative answer.
  27   If claiming a request or interrogatory is compound, you must explain why and
  28   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not


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   1   avoid responding based on technicalities”). Phrases narrowing the subject matter
   2   of the admission do not create a compound request. The explanatory phrases are
   3   necessary to limit the scope of the request and keep it from being ambiguous.
   4             These requests and interrogatories are relevant to the case at hand. U.S. ex
   5   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   6   Heller at 489 (“That a requested document or information will not be admissible
   7   or relevant to the merits of a claim or defense is not a proper objection to
   8   discovery of the document or information under the Federal Rules if the
   9   discovery request is reasonably calculated to lead to the discovery of admissible
  10   evidence.”)
  11             In our meet and confers, and now in this document, Plaintiff requests
  12   responses to RFAs without objections.
  13             DEFENDANTS’ RESPONSE
  14             As the request seeks a policy and procedure determination “In the Los
  15   Angeles County Sheriff’s Department” and what is “preferred” within the
  16   department, an expert opinion or person most knowledgeable is required. In
  17   addition, from what can be discerned, Plaintiff is moving to compel Defendants to
  18   respond without objections. There is simply no authority for this argument,
  19   especially when Defendants provided a qualified response. See Fed.R.Civ.P.
  20   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  21   denied.
  22
  23             Owens
  24   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
  25   Objections: Overbroad in scope and in time; compound; vague and ambiguous;
  26   calls for an expert opinion; lacks foundation; calls for speculation; not reasonably
  27   calculated to lead to the discovery of admissible evidence; duplicative; not in
  28   compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential


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   1   order without repeating numbers from prior sets.
   2             Without waiving the foregoing objections and subject thereto, Defendant
   3   responds as follows: Defendant admits the Los Angeles County Sheriff's
   4   Department maintains extensive policies and procedures that govern the use of
   5   force in the Los Angeles County jails.
   6   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   7             This admission is non-responsive. An admission, denial or specific reason
   8   why, at minimum, a qualified answer has not been provided must be provided.
   9   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  10   request for admission imprecise, he should set forth a qualified answer that fairly
  11   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  12   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  13   interrogatory is considered vague and ambiguous and answer to the fullest extent
  14   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  15   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  16   unless so ambiguous that the responding party cannot, in good faith, frame an
  17   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  18   in detail why other portions of a request may not be admitted.”); McCoo v.
  19   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  20   discovery as vague or ambiguous has the burden to show such vagueness or
  21   ambiguity.”
  22             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  23   490 (2014) (“A party resisting discovery must show specifically how each request
  24   is overly broad, unduly burdensome, or oppressive.”).
  25             You must explain why the request or interrogatory calls for speculation.
  26   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  27   technicalities”). These requests for admission are asking for a response with
  28   regard to the defendants’ knowledge and therefore are not asking for a speculative


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   1   answer. If claiming a request or interrogatory is compound, you must explain why
   2   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   3   avoid responding based on technicalities”). Phrases narrowing the subject matter
   4   of the admission do not create a compound request. The explanatory phrases are
   5   necessary to limit the scope of the request and keep it from being ambiguous.
   6   These requests and interrogatories are relevant to the case at hand. U.S. ex rel.
   7   Englund at 684 (“A party may not avoid responding based on technicalities”);
   8   Heller at 489 (“That a requested document or information will not be admissible
   9   or relevant to the merits of a claim or defense is not a proper objection to
  10   discovery of the document or information under the Federal Rules if the
  11   discovery request is reasonably calculated to lead to the discovery of admissible
  12   evidence.”)
  13             No expert opinion is required.
  14             In our meet and confers, and now in this document, Plaintiff requests
  15   responses to RFAs without objections.
  16             DEFENDANTS’ RESPONSE
  17             As the request seeks a policy and procedure determination “In the Los
  18   Angeles County Sheriff’s Department” and what is “preferred” within the
  19   department, an expert opinion or person most knowledgeable is required. In
  20   addition, from what can be discerned, Plaintiff is moving to compel Defendants to
  21   respond without objections. There is simply no authority for this argument,
  22   especially when Defendants provided a qualified response. See Fed.R.Civ.P.
  23   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  24   denied.
  25
  26   REQUEST FOR ADMISSION NO. 3:
  27   In the Los Angeles County Sheriff's Department, using OC spray is a preferred
  28   prior alternative to using physical force against an inmate.


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   1
   2             Kerfoot
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
   4             Objections: overbroad in scope and in time; compound; vague and
   5   ambiguous; calls for an expert opinion; lacks foundation; calls for speculation;
   6   not reasonably calculated to lead to the discovery of admissible evidence; not in
   7   compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential
   8   order without repeating numbers from prior sets.
   9             Without waiving the foregoing objections and subject thereto, Defendant
  10   responds as follows: Defendant admits the Los Angeles County Sheriff’s
  11   Department maintains extensive policies and procedures that govern the use of
  12   force in the Los Angeles County jails.
  13   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  14             This admission is non-responsive. An admission, denial or specific reason
  15   why, at minimum, a qualified answer has not been provided must be provided.
  16   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  17   request for admission imprecise, he should set forth a qualified answer that fairly
  18   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  19   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  20   interrogatory is considered vague and ambiguous and answer to the fullest extent
  21   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  22   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  23   unless so ambiguous that the responding party cannot, in good faith, frame an
  24   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  25   in detail why other portions of a request may not be admitted.”); McCoo v.
  26   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  27   discovery as vague or ambiguous has the burden to show such vagueness or
  28   ambiguity.”


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   1             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   2   490 (2014) (“A party resisting discovery must show specifically how each request
   3   is overly broad, unduly burdensome, or oppressive.”).
   4             You must explain why the request or interrogatory calls for speculation.
   5   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   6   technicalities”).
   7             These requests for admission are asking for a response with regard to the
   8   defendants’ knowledge and therefore are not asking for a speculative answer.
   9   If claiming a request or interrogatory is compound, you must explain why and
  10   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  11   avoid responding based on technicalities”). Phrases narrowing the subject matter
  12   of the admission do not create a compound request. The explanatory phrases are
  13   necessary to limit the scope of the request and keep it from being ambiguous.
  14             These requests and interrogatories are relevant to the case at hand. U.S. ex
  15   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  16   Heller at 489 (“That a requested document or information will not be admissible
  17   or relevant to the merits of a claim or defense is not a proper objection to
  18   discovery of the document or information under the Federal Rules if the
  19   discovery request is reasonably calculated to lead to the discovery of admissible
  20   evidence.”)
  21             No expert opinion is required.
  22   In our meet and confers, and now in this document, Plaintiff requests responses to
  23   RFAs without objections.
  24             DEFENDANTS’ RESPONSE
  25             As the request seeks a policy and procedure determination “In the Los
  26   Angeles County Sheriff’s Department” and what is “preferred” within the
  27   department, an expert opinion or person most knowledgeable is required. In
  28   addition, from what can be discerned, Plaintiff is moving to compel Defendants to


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   1   respond without objections. There is simply no authority for this argument,
   2   especially when Defendants provided a qualified response. See Fed.R.Civ.P.
   3   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
   4   denied.
   5
   6             Owens
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
   8             Objections: overbroad in scope and in time; compound; vague and
   9   ambiguous; calls for an expert opinion; lacks foundation; calls for speculation;
  10   not reasonably calculated to lead to the discovery of admissible evidence;
  11   duplicative; not in compliance with C.D. Cal. Local Rule 36-1, as requests are not
  12   in sequential order without repeating numbers from prior sets.
  13             Without waiving the foregoing objections and subject thereto, Defendant
  14   responds as follows: Defendant admits the Los Angeles County Sheriff’s
  15   Department maintains extensive policies and procedures that govern the use of
  16   force in the Los Angeles County jails.
  17   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  18             This admission is non-responsive. An admission, denial or specific reason
  19   why, at minimum, a qualified answer has not been provided must be provided.
  20   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  21   request for admission imprecise, he should set forth a qualified answer that fairly
  22   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  23   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  24   interrogatory is considered vague and ambiguous and answer to the fullest extent
  25   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  26   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  27   unless so ambiguous that the responding party cannot, in good faith, frame an
  28   intelligent reply. Parties should “admit to the fullest extent possible, and explain


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   1   in detail why other portions of a request may not be admitted.”); McCoo v.
   2   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   3   discovery as vague or ambiguous has the burden to show such vagueness or
   4   ambiguity.”
   5             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   6   490 (2014) (“A party resisting discovery must show specifically how each request
   7   is overly broad, unduly burdensome, or oppressive.”).
   8             You must explain why the request or interrogatory calls for speculation.
   9   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  10   technicalities”).
  11             These requests for admission are asking for a response with regard to the
  12   defendants’ knowledge and therefore are not asking for a speculative answer. If
  13   claiming a request or interrogatory is compound, you must explain why and
  14   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  15   avoid responding based on technicalities”). Phrases narrowing the subject matter
  16   of the admission do not create a compound request. The explanatory phrases are
  17   necessary to limit the scope of the request and keep it from being ambiguous.
  18   These requests and interrogatories are relevant to the case at hand. U.S. ex rel.
  19   Englund at 684 (“A party may not avoid responding based on technicalities”);
  20   Heller at 489 (“That a requested document or information will not be admissible
  21   or relevant to the merits of a claim or defense is not a proper objection to
  22   discovery of the document or information under the Federal Rules if the
  23   discovery request is reasonably calculated to lead to the discovery of admissible
  24   evidence.”)
  25             No expert opinion is required.
  26             In our meet and confers, and now in this document, Plaintiff requests
  27   responses to RFAs without objections.
  28             DEFENDANTS’ RESPONSE


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   1             As the request seeks a policy and procedure determination “In the Los
   2   Angeles County Sheriff’s Department” and what is “preferred” within the
   3   department, an expert opinion or person most knowledgeable is required. In
   4   addition, from what can be discerned, Plaintiff is moving to compel Defendants to
   5   respond without objections. There is simply no authority for this argument,
   6   especially when Defendants provided a qualified response. See Fed.R.Civ.P.
   7   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
   8   denied.
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  23             Kerfoot
  24   REQUEST FOR ADMISSION NO. 6:
  25             On May 13, 2009, my radio with lapel microphone was readily accessible
  26   to me, Matthew Kerfoot, during the force incident.
  27   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
  28             Objections: vague and ambiguous as to "readily accessible" and "the force


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   1   incident"; overbroad as to scope; assumes facts not in evidence; lacks foundation;
   2   calls for speculation; not in compliance with C.D. Cal. Local Rule 36-1, as
   3   requests are not in sequential order without repeating numbers from prior sets.
   4   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   5             This admission is non-responsive. An admission, denial or specific reason
   6   why, at minimum, a qualified answer has not been provided must be provided.
   7   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   8   request for admission imprecise, he should set forth a qualified answer that fairly
   9   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  10   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  11   interrogatory is considered vague and ambiguous and answer to the fullest extent
  12   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  13   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  14   unless so ambiguous that the responding party cannot, in good faith, frame an
  15   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  16   in detail why other portions of a request may not be admitted.”); McCoo v.
  17   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  18   discovery as vague or ambiguous has the burden to show such vagueness or
  19   ambiguity.”
  20             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  21   490 (2014) (“A party resisting discovery must show specifically how each request
  22   is overly broad, unduly burdensome, or oppressive.”).
  23             You must explain why the request or interrogatory calls for speculation.
  24   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  25   technicalities”).
  26             These requests for admission are asking for a response with regard to the
  27   defendants’ knowledge and therefore are not asking for a speculative answer. If
  28   claiming a request or interrogatory is compound, you must explain why and


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   1   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   2   avoid responding based on technicalities”). Phrases narrowing the subject matter
   3   of the admission do not create a compound request. The explanatory phrases are
   4   necessary to limit the scope of the request and keep it from being ambiguous.
   5             These requests and interrogatories are relevant to the case at hand. U.S. ex
   6   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   7   Heller at 489 (“That a requested document or information will not be admissible
   8   or relevant to the merits of a claim or defense is not a proper objection to
   9   discovery of the document or information under the Federal Rules if the
  10   discovery request is reasonably calculated to lead to the discovery of admissible
  11   evidence.”) In our meet and confers, and now in this document, Plaintiff requests
  12   responses to RFAs without objections.
  13             DEFENDANTS’ RESPONSE
  14             This request is identical to Plaintiff’s Request renumbered as No. 9, which
  15   has been supplemented by Defendants on May 9, 2017 as follows:
  16             Objections: vague and ambiguous as to “readily accessible” and “the force
  17   incident”; lacks foundation. Without waiving the foregoing objections and subject
  18   thereto, Defendant responds as follows: Defendant had a radio on his person.
  19             Moreover, from what can be discerned, Plaintiff is moving to compel
  20   Defendants to respond without objections. There is simply no authority for this
  21   argument, especially when Defendants provided a qualified response. See
  22   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  23   should be denied.
  24
  25             Owens
  26   REQUEST FOR ADMISSION NO. 6:
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   1             On May 13, 2009, my radio with lapel microphone was readily accessible
   2   to me, as I, Kasey Owens, approached Eric White and Deputy Kerfoot during the
   3   force incident.
   4   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
   5             Objections: vague and ambiguous as to "readily accessible" and "the force
   6   incident"; assumes facts not in evidence; lacks foundation; calls for speculation;
   7   not in compliance with C.D. Cal. Local Rule 36-1, as requests are not in
   8   sequential order without repeating numbers from prior sets.
   9   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  10             This admission is non-responsive. An admission, denial or specific reason
  11   why, at minimum, a qualified answer has not been provided must be provided.
  12   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  13   request for admission imprecise, he should set forth a qualified answer that fairly
  14   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  15   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  16   interrogatory is considered vague and ambiguous and answer to the fullest extent
  17   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  18   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  19   unless so ambiguous that the responding party cannot, in good faith, frame an
  20   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  21   in detail why other portions of a request may not be admitted.”); McCoo v.
  22   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  23   discovery as vague or ambiguous has the burden to show such vagueness or
  24   ambiguity.”
  25             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  26   490 (2014) (“A party resisting discovery must show specifically how each request
  27   is overly broad, unduly burdensome, or oppressive.”).
  28



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   1             You must explain why the request or interrogatory calls for speculation.
   2   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   3   technicalities”).
   4             These requests for admission are asking for a response with regard to the
   5   defendants’ knowledge and therefore are not asking for a speculative answer. If
   6   claiming a request or interrogatory is compound, you must explain why and
   7   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   8   avoid responding based on technicalities”). Phrases narrowing the subject matter
   9   of the admission do not create a compound request. The explanatory phrases are
  10   necessary to limit the scope of the request and keep it from being ambiguous.
  11             These requests and interrogatories are relevant to the case at hand. U.S. ex
  12   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  13   Heller at 489 (“That a requested document or information will not be admissible
  14   or relevant to the merits of a claim or defense is not a proper objection to
  15   discovery of the document or information under the Federal Rules if the
  16   discovery request is reasonably calculated to lead to the discovery of admissible
  17   evidence.”)
  18             In our meet and confers, and now in this document, Plaintiff requests
  19   responses to RFAs without objections.
  20             DEFENDANTS’ RESPONSE
  21             This request is identical to Plaintiff’s Request renumbered as No. 9, which
  22   has been supplemented by Defendants on May 9, 2017 as follows:
  23             Objections: vague and ambiguous as to “readily accessible” and “the force
  24   incident”; lacks foundation. Without waiving the foregoing objections and subject
  25   thereto, Defendant responds as follows: Defendant had a radio on his person.
  26             Moreover, from what can be discerned, Plaintiff is moving to compel
  27   Defendants to respond without objections. There is simply no authority for this
  28   argument, especially when Defendants provided a qualified response. See


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   1   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   2   should be denied.
   3
   4   REQUEST FOR ADMISSION NO. 7:
   5   On May 13, 2009, during the force incident, I, Matthew Kerfoot, did not attempt
   6   to use my radio. Substitute Kasey Owens for Matthew Kerfoot.
   7             Kerfoot
   8   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
   9             Objections: vague and ambiguous; overbroad as to time; lacks foundation;
  10   calls for speculation; assumes facts not in evidence; not in compliance with C.D.
  11   Cal. Local Rule 36-1, as requests are not in sequential order without repeating
  12   numbers from prior sets.
  13   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  14             This admission is non-responsive. An admission, denial or specific reason
  15   why, at minimum, a qualified answer has not been provided must be provided.
  16   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  17   request for admission imprecise, he should set forth a qualified answer that fairly
  18   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  19   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  20   interrogatory is considered vague and ambiguous and answer to the fullest extent
  21   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  22   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  23   unless so ambiguous that the responding party cannot, in good faith, frame an
  24   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  25   in detail why other portions of a request may not be admitted.”); McCoo v.
  26   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  27   discovery as vague or ambiguous has the burden to show such vagueness or
  28   ambiguity.”


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   1             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   2   490 (2014) (“A party resisting discovery must show specifically how each request
   3   is overly broad, unduly burdensome, or oppressive.”).
   4             You must explain why the request or interrogatory calls for speculation.
   5   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   6   technicalities”).
   7             These requests for admission are asking for a response with regard to the
   8   defendants’ knowledge and therefore are not asking for a speculative answer. If
   9   claiming a request or interrogatory is compound, you must explain why and
  10   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  11   avoid responding based on technicalities”). Phrases narrowing the subject matter
  12   of the admission do not create a compound request. The explanatory phrases are
  13   necessary to limit the scope of the request and keep it from being ambiguous.
  14             These requests and interrogatories are relevant to the case at hand. U.S. ex
  15   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  16   Heller at 489 (“That a requested document or information will not be admissible
  17   or relevant to the merits of a claim or defense is not a proper objection to
  18   discovery of the document or information under the Federal Rules if the
  19   discovery request is reasonably calculated to lead to the discovery of admissible
  20   evidence.”)
  21             No expert opinion is required.
  22             In our meet and confers, and now in this document, Plaintiff requests
  23   responses to RFAs without objections.
  24             DEFENDANTS’ RESPONSE
  25             This request is identical to Plaintiff’s Request renumbered as No. 10, which
  26   has been supplemented by Defendants on May 9, 2017 as follows:
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   1             Objections: vague and ambiguous as to “the force incident” and time; lacks
   2   foundation. Without waiving the foregoing objections and subject thereto,
   3   Defendant responds as follows: Defendant did not have time to use the radio.
   4             Moreover, from what can be discerned, Plaintiff is moving to compel
   5   Defendants to respond without objections. There is simply no authority for this
   6   argument, especially when Defendants provided a qualified response. See
   7   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   8   should be denied.
   9
  10             Owens
  11   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
  12             Objections: vague and ambiguous; lacks foundation; calls for speculation;
  13   not in compliance with C.D. Cal. Local Rule 36-1, as requests are not in
  14   sequential order without repeating numbers from prior sets.
  15   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  16             This admission is non-responsive. An admission, denial or specific reason
  17   why, at minimum, a qualified answer has not been provided must be provided.
  18   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  19   request for admission imprecise, he should set forth a qualified answer that fairly
  20   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  21   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  22   interrogatory is considered vague and ambiguous and answer to the fullest extent
  23   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  24   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  25   unless so ambiguous that the responding party cannot, in good faith, frame an
  26   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  27   in detail why other portions of a request may not be admitted.”); McCoo v.
  28   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to


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   1   discovery as vague or ambiguous has the burden to show such vagueness or
   2   ambiguity.”
   3             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   4   490 (2014) (“A party resisting discovery must show specifically how each request
   5   is overly broad, unduly burdensome, or oppressive.”).
   6             You must explain why the request or interrogatory calls for speculation.
   7   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   8   technicalities”).
   9             These requests for admission are asking for a response with regard to the
  10   defendants’ knowledge and therefore are not asking for a speculative answer. If
  11   claiming a request or interrogatory is compound, you must explain why and
  12   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  13   avoid responding based on technicalities”). Phrases narrowing the subject matter
  14   of the admission do not create a compound request. The explanatory phrases are
  15   necessary to limit the scope of the request and keep it from being ambiguous.
  16             These requests and interrogatories are relevant to the case at hand. U.S. ex
  17   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  18   Heller at 489 (“That a requested document or information will not be admissible
  19   or relevant to the merits of a claim or defense is not a proper objection to
  20   discovery of the document or information under the Federal Rules if the
  21   discovery request is reasonably calculated to lead to the discovery of admissible
  22   evidence.”)
  23             In our meet and confers, and now in this document, Plaintiff requests
  24   responses to RFAs without objections.
  25             DEFENDANTS’ RESPONSE
  26             This request is identical to Plaintiff’s Request renumbered as No. 10, which
  27   has been supplemented by Defendants on May 9, 2017 as follows:
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   1             Objections: vague and ambiguous as to “the force incident” and time; lacks
   2   foundation. Without waiving the foregoing objections and subject thereto,
   3   Defendant responds as follows: Defendant did not have time to use the radio.
   4             Moreover, from what can be discerned, Plaintiff is moving to compel
   5   Defendants to respond without objections. There is simply no authority for this
   6   argument, especially when Defendants provided a qualified response. See
   7   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   8   should be denied.
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  19                Requests for Admission, Set Four Kerfoot and Owens 0509
  20   REQUEST FOR ADMISSION NO. 1: Request worded same for both Kerfoot
  21   and Owens
  22             On May 13, 2009, prior to the force incident, Eric White was completely
  23   compliant with instructions given to him by me, Matthew Kerfoot.
  24             Owens
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
  26             Objections: vague and ambiguous as to time and as to "completely
  27   compliant"; lacks personal knowledge; calls for speculation; lacks foundation;
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   1   overbroad in time and scope; not in compliance with C.D. Cal. Local Rule 36-1,
   2   as requests are not in sequential order without repeating numbers from prior sets.
   3   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   4             This admission is non-responsive. An admission, denial or specific reason
   5   why, at minimum, a qualified answer has not been provided must be provided.
   6   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   7   request for admission imprecise, he should set forth a qualified answer that fairly
   8   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   9   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  10   interrogatory is considered vague and ambiguous and answer to the fullest extent
  11   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  12   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  13   unless so ambiguous that the responding party cannot, in good faith, frame an
  14   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  15   in detail why other portions of a request may not be admitted.”); McCoo v.
  16   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  17   discovery as vague or ambiguous has the burden to show such vagueness or
  18   ambiguity.”
  19             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  20   490 (2014) (“A party resisting discovery must show specifically how each request
  21   is overly broad, unduly burdensome, or oppressive.”).
  22             You must explain why the request or interrogatory calls for speculation.
  23   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  24   technicalities”).
  25             These requests for admission are asking for a response with regard to the
  26   defendants’ knowledge and therefore are not asking for a speculative answer. If
  27   claiming a request or interrogatory is compound, you must explain why and
  28   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not


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   1   avoid responding based on technicalities”). Phrases narrowing the subject matter
   2   of the admission do not create a compound request. The explanatory phrases are
   3   necessary to limit the scope of the request and keep it from being ambiguous.
   4             These requests and interrogatories are relevant to the case at hand. U.S. ex
   5   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   6   Heller at 489 (“That a requested document or information will not be admissible
   7   or relevant to the merits of a claim or defense is not a proper objection to
   8   discovery of the document or information under the Federal Rules if the
   9   discovery request is reasonably calculated to lead to the discovery of admissible
  10   evidence.”)
  11             In our meet and confers, and now in this document, Plaintiff requests
  12   responses to RFAs without objections.
  13             DEFENDANTS’ RESPONSE
  14             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  15   renumbered as No. 12, which has been supplemented by Defendant Kerfoot and
  16   Owen on May 9, 2017 as follows:
  17             Objections: vague and ambiguous as to time and as to “completely
  18   compliant”; calls for speculation. Without waiving the foregoing objections and
  19   subject thereto, Defendant responds as follows: Deny.
  20              Moreover, from what can be discerned, Plaintiff is moving to compel
  21   Defendants to respond without objections. There is simply no authority for this
  22   argument, especially when Defendants provided a response. See Fed.R.Civ.P.
  23   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  24   denied.
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   7   REQUEST FOR ADMISSION NO. 3:
   8             On May 13, 2009, Eric White had a right to know where he was being
   9   taken by me, Matthew Kerfoot, as I led him through the Module 2500-2700
  10   corridor. Owens admission: On May 13, 2009, Eric White had a right to know
  11   where he was being taken by Deputy Kerfoot, as Deputy Kerfoot led him through
  12   the Module 2500-2700 corridor.
  13   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
  14             Objections: vague and ambiguous as to time; argumentative; calls for
  15   speculation; lacks foundation; overbroad in time and scope; relevance; not
  16   reasonably calculated to lead to admissible evidence; not in compliance with C.D.
  17   Cal. Local Rule 36-1, as requests are not in sequential order without repeating
  18   numbers from prior sets.
  19
  20   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  21             This admission is non-responsive. An admission, denial or specific reason
  22   why, at minimum, a qualified answer has not been provided must be provided.
  23   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  24   request for admission imprecise, he should set forth a qualified answer that fairly
  25   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  26   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  27   interrogatory is considered vague and ambiguous and answer to the fullest extent
  28   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.


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   1   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   2   unless so ambiguous that the responding party cannot, in good faith, frame an
   3   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   4   in detail why other portions of a request may not be admitted.”); McCoo v.
   5   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   6   discovery as vague or ambiguous has the burden to show such vagueness or
   7   ambiguity.”
   8             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   9   490 (2014) (“A party resisting discovery must show specifically how each request
  10   is overly broad, unduly burdensome, or oppressive.”).
  11             You must explain why the request or interrogatory calls for speculation.
  12   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  13   technicalities”).
  14             These requests for admission are asking for a response with regard to the
  15   defendants’ knowledge and therefore are not asking for a speculative answer.
  16   If claiming a request or interrogatory is compound, you must explain why and
  17   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  18   avoid responding based on technicalities”). Phrases narrowing the subject matter
  19   of the admission do not create a compound request. The explanatory phrases are
  20   necessary to limit the scope of the request and keep it from being ambiguous.
  21             These requests and interrogatories are relevant to the case at hand. U.S. ex
  22   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  23   Heller at 489 (“That a requested document or information will not be admissible
  24   or relevant to the merits of a claim or defense is not a proper objection to
  25   discovery of the document or information under the Federal Rules if the
  26   discovery request is reasonably calculated to lead to the discovery of admissible
  27   evidence.”)
  28



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   1             A claim that the request or interrogatory is argumentative must have
   2   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
   3   responding based on technicalities”).
   4             In our meet and confers, and now in this document, Plaintiff requests
   5   responses to RFAs without objections.
   6             DEFENDANTS’ RESPONSE
   7             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   8   renumbered as No. 14, which has been supplemented by Defendants Kerfoot and
   9   Owens on May 9, 2017 as follows:
  10             Objections: vague and ambiguous as to time; argumentative. Without
  11   waiving the foregoing objections and subject thereto, Defendant responds: Deny.
  12             Moreover, from what can be discerned, Plaintiff is moving to compel
  13   Defendants to respond without objections. There is simply no authority for this
  14   argument, especially when Defendants provided a response. See Fed.R.Civ.P.
  15   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  16   denied.
  17
  18   REQUEST FOR ADMISSION NO. 4:
  19             On May 13, 2009, Eric White did not create a serious risk to the security of
  20   Module 2500-2700.
  21   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
  22             Objections: vague and ambiguous as to time, as to "serious risk", and as to
  23   "the security of Module 2500-2700"; argumentative; calls for speculation; lacks
  24   foundation; overbroad in time and scope; not in compliance with C.D. Cal. Local
  25   Rule 36-1, as requests are not in sequential order without repeating numbers from
  26   prior sets.
  27   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  28             This admission is non-responsive. An admission, denial or specific reason


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   1   why, at minimum, a qualified answer has not been provided must be provided.
   2   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   3   request for admission imprecise, he should set forth a qualified answer that fairly
   4   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   5   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
   6   interrogatory is considered vague and ambiguous and answer to the fullest extent
   7   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   8   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   9   unless so ambiguous that the responding party cannot, in good faith, frame an
  10   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  11   in detail why other portions of a request may not be admitted.”); McCoo v.
  12   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  13   discovery as vague or ambiguous has the burden to show such vagueness or
  14   ambiguity.”
  15             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  16   490 (2014) (“A party resisting discovery must show specifically how each request
  17   is overly broad, unduly burdensome, or oppressive.”).
  18             You must explain why the request or interrogatory calls for speculation.
  19   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  20   technicalities”).
  21             These requests for admission are asking for a response with regard to the
  22   defendants’ knowledge and therefore are not asking for a speculative answer.
  23   If claiming a request or interrogatory is compound, you must explain why and
  24   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  25   avoid responding based on technicalities”). Phrases narrowing the subject matter
  26   of the admission do not create a compound request. The explanatory phrases are
  27   necessary to limit the scope of the request and keep it from being ambiguous.
  28



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   1             These requests and interrogatories are relevant to the case at hand. U.S. ex
   2   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   3   Heller at 489 (“That a requested document or information will not be admissible
   4   or relevant to the merits of a claim or defense is not a proper objection to
   5   discovery of the document or information under the Federal Rules if the
   6   discovery request is reasonably calculated to lead to the discovery of admissible
   7   evidence.”)
   8             A claim that the request or interrogatory is argumentative must have
   9   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  10   responding based on technicalities”)
  11
  12             In our meet and confers, and now in this document, Plaintiff requests
  13   responses to RFAs without objections.
  14             DEFENDANTS’ RESPONSE
  15             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  16   renumbered as No. 15, which has been supplemented by Defendants on May 9,
  17   2017 as follows:
  18             Objections: vague and ambiguous as to time, as to “serious risk”, and as to
  19   “the security of Module 2500-2700”; argumentative. Without waiving the
  20   foregoing objections and subject thereto, Defendant responds: Deny.
  21             Moreover, from what can be discerned, Plaintiff is moving to compel
  22   Defendants to respond without objections. There is simply no authority for this
  23   argument, especially when Defendants provided a response. See Fed.R.Civ.P.
  24   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  25   denied.
  26
  27   REQUEST FOR ADMISSION NO. 5:
  28             On May 13, 2009, during the force incident, I, Matthew Kerfoot, was not in


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   1   fear for the personal safety of any inmate. Substitute Kasey Owens for Matthew
   2             Kerfoot.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
   4             Objections: vague and ambiguous as to "personal safety"; calls for
   5   speculation; lacks foundation; overbroad in time and scope; not in compliance
   6   with C.D. Cal. Local Rule 36-1, as requests are not in sequential order without
   7   repeating numbers from prior sets.
   8   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   9             This admission is non-responsive. An admission, denial or specific reason
  10   why, at minimum, a qualified answer has not been provided must be provided.
  11   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  12   request for admission imprecise, he should set forth a qualified answer that fairly
  13   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  14   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  15   interrogatory is considered vague and ambiguous and answer to the fullest extent
  16   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  17   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  18   unless so ambiguous that the responding party cannot, in good faith, frame an
  19   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  20   in detail why other portions of a request may not be admitted.”); McCoo v.
  21   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  22   discovery as vague or ambiguous has the burden to show such vagueness or
  23   ambiguity.”
  24             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  25   490 (2014) (“A party resisting discovery must show specifically how each request
  26   is overly broad, unduly burdensome, or oppressive.”).
  27
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   1             You must explain why the request or interrogatory calls for speculation.
   2   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   3   technicalities”).
   4             These requests for admission are asking for a response with regard to the
   5   defendants’ knowledge and therefore are not asking for a speculative answer.
   6   If claiming a request or interrogatory is compound, you must explain why and
   7   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   8   avoid responding based on technicalities”). Phrases narrowing the subject matter
   9   of the admission do not create a compound request. The explanatory phrases are
  10   necessary to limit the scope of the request and keep it from being ambiguous.
  11             These requests and interrogatories are relevant to the case at hand. U.S. ex
  12   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  13   Heller at 489 (“That a requested document or information will not be admissible
  14   or relevant to the merits of a claim or defense is not a proper objection to
  15   discovery of the document or information under the Federal Rules if the
  16   discovery request is reasonably calculated to lead to the discovery of admissible
  17   evidence.”)
  18             In our meet and confers, and now in this document, Plaintiff requests
  19   responses to RFAs without objections.
  20             DEFENDANTS’ RESPONSE
  21             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  22   renumbered as No. 16, which has been supplemented by Defendants on May 9,
  23   2017 as follows:
  24             Objections: vague and ambiguous as to “personal safety”; calls for
  25   speculation; lacks foundation; overbroad in time and scope. Without waiving the
  26   foregoing objections and subject thereto, Defendant responds: Deny.
  27             Moreover, from what can be discerned, Plaintiff is moving to compel
  28   Defendants to respond without objections. There is simply no authority for this


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   1   argument, especially when Defendants provided a response. See Fed.R.Civ.P.
   2   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
   3   denied.
   4
   5   REQUEST FOR ADMISSION NO. 6:
   6             On May 13, 2009, during the force incident, Eric White used no weapon or
   7   object against any deputy.
   8   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
   9             Objections: vague and ambiguous as to "weapon" and "object"; calls for
  10   speculation; lacks foundation; overbroad in time and scope; relevance; not
  11   reasonably calculated to lead to admissible evidence; not in compliance with C.D.
  12   Cal. Local Rule 36-1, as requests are not in sequential order without repeating
  13   numbers from prior sets.
  14   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  15             This admission is non-responsive. An admission, denial or specific reason
  16   why, at minimum, a qualified answer has not been provided must be provided.
  17   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  18   request for admission imprecise, he should set forth a qualified answer that fairly
  19   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  20   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  21   interrogatory is considered vague and ambiguous and answer to the fullest extent
  22   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  23   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  24   unless so ambiguous that the responding party cannot, in good faith, frame an
  25   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  26   in detail why other portions of a request may not be admitted.”); McCoo v.
  27   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  28



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   1   discovery as vague or ambiguous has the burden to show such vagueness or
   2   ambiguity.”
   3             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   4   490 (2014) (“A party resisting discovery must show specifically how each request
   5   is overly broad, unduly burdensome, or oppressive.”).
   6             You must explain why the request or interrogatory calls for speculation.
   7   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   8   technicalities”).
   9             These requests for admission are asking for a response with regard to the
  10   defendants’ knowledge and therefore are not asking for a speculative answer.
  11   If claiming a request or interrogatory is compound, you must explain why and
  12   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  13   avoid responding based on technicalities”). Phrases narrowing the subject matter
  14   of the admission do not create a compound request. The explanatory phrases are
  15   necessary to limit the scope of the request and keep it from being ambiguous.
  16             These requests and interrogatories are relevant to the case at hand.
  17   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  18   technicalities”); Heller at 489 (“That a requested document or information will
  19   not be admissible or relevant to the merits of a claim or defense is not a proper
  20   objection to discovery of the document or information under the Federal Rules if
  21   the discovery request is reasonably calculated to lead to the discovery of
  22   admissible evidence.”)
  23             In our meet and confers, and now in this document, Plaintiff requests
  24   responses to RFAs without objections.
  25             DEFENDANTS’ RESPONSE
  26             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  27   renumbered as No. 17, which has been supplemented by Defendants on May 9,
  28   2017 as follows:


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   1             Objections: vague and ambiguous as to “force incident”, “weapon” and
   2   “object”; calls for speculation; overbroad in time and scope.
   3             Without waiving the foregoing objections and subject thereto, Defendant
   4   responds: Deny. Moreover, from what can be discerned, Plaintiff is moving to
   5   compel Defendants to respond without objections. There is simply no authority
   6   for this argument, especially when Defendants provided a response. See
   7   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   8   should be denied.
   9
  10   REQUEST FOR ADMISSION NO. 7:
  11             On May 13, 2009, during the force incident, I, Matthew Kerfoot, was not in
  12   fear for the personal safety of any deputy. Substitute Kasey Owens for Matthew
  13   Kerfoot.
  14   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
  15             Objections: vague and ambiguous as to "personal safety"; calls for
  16   speculation; lacks foundation; overbroad in time and scope; not in compliance
  17   with C.D. Cal. Local Rule 36-1, as requests are not in sequential order without
  18   repeating numbers from prior sets.
  19   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  20             This admission is non-responsive. An admission, denial or specific reason
  21   why, at minimum, a qualified answer has not been provided must be provided.
  22   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  23   request for admission imprecise, he should set forth a qualified answer that fairly
  24   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  25   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  26   interrogatory is considered vague and ambiguous and answer to the fullest extent
  27   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  28   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”


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   1   unless so ambiguous that the responding party cannot, in good faith, frame an
   2   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   3   in detail why other portions of a request may not be admitted.”); McCoo v.
   4   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   5   discovery as vague or ambiguous has the burden to show such vagueness or
   6   ambiguity.”
   7             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   8   490 (2014) (“A party resisting discovery must show specifically how each request
   9   is overly broad, unduly burdensome, or oppressive.”).
  10             You must explain why the request or interrogatory calls for speculation.
  11   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  12   technicalities”).
  13             These requests for admission are asking for a response with regard to the
  14   defendants’ knowledge and therefore are not asking for a speculative answer.
  15   If claiming a request or interrogatory is compound, you must explain why and
  16   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  17   avoid responding based on technicalities”). Phrases narrowing the subject matter
  18   of the admission do not create a compound request. The explanatory phrases are
  19   necessary to limit the scope of the request and keep it from being ambiguous.
  20             These requests and interrogatories are relevant to the case at hand. U.S. ex
  21   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  22   Heller at 489 (“That a requested document or information will not be admissible
  23   or relevant to the merits of a claim or defense is not a proper objection to
  24   discovery of the document or information under the Federal Rules if the
  25   discovery request is reasonably calculated to lead to the discovery of admissible
  26   evidence.”)
  27             In our meet and confers, and now in this document, Plaintiff requests
  28   responses to RFAs without objections.


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   1             DEFENDANTS’ RESPONSE
   2             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   3   renumbered as No. 18, which has been supplemented by Defendants on May 9,
   4   2017 as follows:
   5             Objections: vague and ambiguous as to “force incident” and “personal
   6   safety”. Without waiving the foregoing objections and subject thereto, Defendant
   7   responds: Deny.
   8              Moreover, from what can be discerned, Plaintiff is moving to compel
   9   Defendants to respond without objections. There is simply no authority for this
  10   argument, especially when Defendants provided a response. See Fed.R.Civ.P.
  11   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  12   denied.
  13
  14   REQUEST FOR ADMISSION NO. 8:
  15             On May 13, 2009, during the force incident, I, Matthew Kerfoot, was not in
  16   fear for my personal safety. Substitute Kasey Owens for Matthew Kerfoot.
  17   RESPONSE TO REQUEST FOR ADMISSION NO. 8:
  18             Objections: vague and ambiguous as to "personal safety"; lacks foundation;
  19   overbroad in time and scope; not in compliance with C.D. Cal. Local Rule 36-1,
  20   as requests are not in sequential order without repeating numbers from prior sets.
  21   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  22             This admission is non-responsive. An admission, denial or specific reason
  23   why, at minimum, a qualified answer has not been provided must be provided.
  24   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  25   request for admission imprecise, he should set forth a qualified answer that fairly
  26   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  27   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  28   interrogatory is considered vague and ambiguous and answer to the fullest extent


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   1   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   2   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   3   unless so ambiguous that the responding party cannot, in good faith, frame an
   4   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   5   in detail why other portions of a request may not be admitted.”); McCoo v.
   6   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   7   discovery as vague or ambiguous has the burden to show such vagueness or
   8   ambiguity.”
   9             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  10   490 (2014) (“A party resisting discovery must show specifically how each request
  11   is overly broad, unduly burdensome, or oppressive.”).
  12             You must explain why the request or interrogatory calls for speculation.
  13   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  14   technicalities”).
  15             These requests for admission are asking for a response with regard to the
  16   defendants’ knowledge and therefore are not asking for a speculative answer.
  17             If claiming a request or interrogatory is compound, you must explain why
  18   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  19   avoid responding based on technicalities”). Phrases narrowing the subject matter
  20   of the admission do not create a compound request. The explanatory phrases are
  21   necessary to limit the scope of the request and keep it from being ambiguous.
  22             These requests and interrogatories are relevant to the case at hand. U.S. ex
  23   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  24   Heller at 489 (“That a requested document or information will not be admissible
  25   or relevant to the merits of a claim or defense is not a proper objection to
  26   discovery of the document or information under the Federal Rules if the
  27   discovery request is reasonably calculated to lead to the discovery of admissible
  28   evidence.”)


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   1             In our meet and confers, and now in this document, Plaintiff requests
   2   responses to RFAs without objections.
   3             DEFENDANTS’ RESPONSE
   4             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   5   renumbered as No. 19, which has been supplemented by Defendants on May 9,
   6   2017 as follows:
   7             Objections: vague and ambiguous as to “personal safety”; lacks foundation;
   8   overbroad in time and scope. Without waiving the foregoing objections and
   9   subject thereto, Defendant responds: Deny.
  10             Moreover, from what can be discerned, Plaintiff is moving to compel
  11   Defendants to respond without objections. There is simply no authority for this
  12   argument, especially when Defendants provided a response. See Fed.R.Civ.P.
  13   Rule 36(a)(5). Accordingly, the motion to compel as to this request should be
  14   denied.
  15
  16   REQUEST FOR ADMISSION NO. 9:
  17             I, Matthew Kerfoot, admit that at no time during the force incident on May
  18   13, 2009, did Eric White have control over my movements or actions. Substitute
  19   Kasey Owens for Matthew Kerfoot.
  20             Kerfoot
  21   RESPONSE TO REQUEST FOR ADMISSION NO. 9:
  22             Objections: vague and ambiguous as to "control" and "movements or
  23   actions"; lacks foundation; overbroad in time and scope; calls for speculation; not
  24   in compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential
  25   order without repeating numbers from prior sets.
  26   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  27             This admission is non-responsive. An admission, denial or specific reason
  28   why, at minimum, a qualified answer has not been provided must be provided.


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   1   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   2   request for admission imprecise, he should set forth a qualified answer that fairly
   3   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   4   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
   5   interrogatory is considered vague and ambiguous and answer to the fullest extent
   6   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   7   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   8   unless so ambiguous that the responding party cannot, in good faith, frame an
   9   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  10   in detail why other portions of a request may not be admitted.”); McCoo v.
  11   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  12   discovery as vague or ambiguous has the burden to show such vagueness or
  13   ambiguity.”
  14             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  15   490 (2014) (“A party resisting discovery must show specifically how each request
  16   is overly broad, unduly burdensome, or oppressive.”). You must explain why the
  17   request or interrogatory calls for speculation. U.S. ex rel. Englund at 684 (“A
  18   party may not avoid responding based on technicalities”). These requests for
  19   admission are asking for a response with regard to the defendants’ knowledge and
  20   therefore are not asking for a speculative answer. If claiming a request or
  21   interrogatory is compound, you must explain why and provide an answer as
  22   possible. U.S. ex rel. Englund at 684 (“A party may not avoid responding based
  23   on technicalities”). Phrases narrowing the subject matter of the admission do not
  24   create a compound request. The explanatory phrases are necessary to limit the
  25   scope of the request and keep it from being ambiguous. These requests and
  26   interrogatories are relevant to the case at hand. U.S. ex rel. Englund at 684 (“A
  27   party may not avoid responding based on technicalities”); Heller at 489 (“That a
  28   requested document or information will not be admissible or relevant to the


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   1   merits of a claim or defense is not a proper objection to discovery of the
   2   document or information under the Federal Rules if the discovery request is
   3   reasonably calculated to lead to the discovery of admissible evidence.”) In our
   4   meet and confers, and now in this document, Plaintiff requests responses to RFAs
   5   without objections.
   6             DEFENDANTS’ RESPONSE
   7             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   8   renumbered as No. 20, which has been supplemented by Defendants on May 9,
   9   2017 as follows:
  10             Objections: vague and ambiguous as to “control” and “movements or
  11   actions”; lacks foundation; overbroad in time and scope. Without waiving the
  12   foregoing objections and subject thereto, Defendant responds: Eric White was
  13   combative and used force against me and other deputies.
  14             Moreover, from what can be discerned, Plaintiff is moving to compel
  15   Defendants to respond without objections. There is simply no authority for this
  16   argument, especially when Defendants provided a qualified response. See
  17   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  18   should be denied.
  19
  20             Owens
  21   RESPONSE TO REQUEST FOR ADMISSION NO. 9:
  22             Objections: vague and ambiguous as to "control" and "movements or
  23   actions"; lacks foundation; overbroad in time and scope; not in compliance with
  24   C.D. Cal. Local Rule 36-1, as requests are not in sequential order without
  25   repeating numbers from prior sets.
  26   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  27             This admission is non-responsive. An admission, denial or specific reason
  28   why, at minimum, a qualified answer has not been provided must be provided.


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   1   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   2   request for admission imprecise, he should set forth a qualified answer that fairly
   3   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   4   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
   5   interrogatory is considered vague and ambiguous and answer to the fullest extent
   6   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   7   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   8   unless so ambiguous that the responding party cannot, in good faith, frame an
   9   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  10   in detail why other portions of a request may not be admitted.”); McCoo v.
  11   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  12   discovery as vague or ambiguous has the burden to show such vagueness or
  13   ambiguity.”
  14             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  15   490 (2014) (“A party resisting discovery must show specifically how each request
  16   is overly broad, unduly burdensome, or oppressive.”).
  17             You must explain why the request or interrogatory calls for speculation.
  18   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  19   technicalities”).
  20             These requests for admission are asking for a response with regard to the
  21   defendants’ knowledge and therefore are not asking for a speculative answer.
  22   If claiming a request or interrogatory is compound, you must explain why and
  23   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  24   avoid responding based on technicalities”). Phrases narrowing the subject matter
  25   of the admission do not create a compound request. The explanatory phrases are
  26   necessary to limit the scope of the request and keep it from being ambiguous.
  27             These requests and interrogatories are relevant to the case at hand. U.S. ex
  28   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);


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   1   Heller at 489 (“That a requested document or information will not be admissible
   2   or relevant to the merits of a claim or defense is not a proper objection to
   3   discovery of the document or information under the Federal Rules if the
   4   discovery request is reasonably calculated to lead to the discovery of admissible
   5   evidence.”)
   6             In our meet and confers, and now in this document, Plaintiff requests
   7   responses to RFAs without objections.
   8             DEFENDANTS’ RESPONSE
   9             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  10   renumbered as No. 20, which has been supplemented by Defendants on May 9,
  11   2017 as follows:
  12             Objections: vague and ambiguous as to “control” and “movements or
  13   actions”; lacks foundation; overbroad in time and scope. Without waiving the
  14   foregoing objections and subject thereto, Defendant responds: Eric White was
  15   combative and used force against me and other deputies.
  16             Moreover, from what can be discerned, Plaintiff is moving to compel
  17   Defendants to respond without objections. There is simply no authority for this
  18   argument, especially when Defendants provided a qualified response. See
  19   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  20   should be denied.
  21
  22   REQUEST FOR ADMISSION NO. 10:
  23             I, Matthew Kerfoot, admit that on May 13, 2009, during the force incident,
  24   Eric White did not overpower me. Substitute Kasey Owens for Matthew Kerfoot.
  25             Kerfoot
  26   RESPONSE TO REQUEST FOR ADMISSION NO. 10:
  27
  28



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   1   Objections: vague and ambiguous as to "overpower"; lacks foundation; overbroad
   2   in time and scope; calls for speculation; not in compliance with C.D. Cal. Local
   3   Rule 36-1, as requests are not in sequential order without repeating numbers
   4   from prior sets.
   5   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   6             This admission is non-responsive. An admission, denial or specific reason
   7   why, at minimum, a qualified answer has not been provided must be provided.
   8   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   9   request for admission imprecise, he should set forth a qualified answer that fairly
  10   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  11   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  12   interrogatory is considered vague and ambiguous and answer to the fullest extent
  13   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  14   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  15   unless so ambiguous that the responding party cannot, in good faith, frame an
  16   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  17   in detail why other portions of a request may not be admitted.”); McCoo v.
  18   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  19   discovery as vague or ambiguous has the burden to show such vagueness or
  20   ambiguity.”
  21             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  22   490 (2014) (“A party resisting discovery must show specifically how each request
  23   is overly broad, unduly burdensome, or oppressive.”).
  24             You must explain why the request or interrogatory calls for speculation.
  25   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  26   technicalities”).
  27             These requests for admission are asking for a response with regard to the
  28   defendants’ knowledge and therefore are not asking for a speculative answer. If


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   1   claiming a request or interrogatory is compound, you must explain why and
   2   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   3   avoid responding based on technicalities”). Phrases narrowing the subject matter
   4   of the admission do not create a compound request. The explanatory phrases are
   5   necessary to limit the scope of the request and keep it from being ambiguous.
   6             These requests and interrogatories are relevant to the case at hand. U.S. ex
   7   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   8   Heller at 489 (“That a requested document or information will not be admissible
   9   or relevant to the merits of a claim or defense is not a proper objection to
  10   discovery of the document or information under the Federal Rules if the
  11   discovery request is reasonably calculated to lead to the discovery of admissible
  12   evidence.”)
  13             In our meet and confers, and now in this document, Plaintiff requests
  14   responses to RFAs without objections.
  15             DEFENDANTS’ RESPONSE
  16             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  17   renumbered as No. 21, which has been supplemented by Defendants on May 9,
  18   2017 as follows:
  19             Objections: vague and ambiguous as to “overpower”; lacks foundation;
  20   overbroad in time and scope. Without waiving the foregoing objections and
  21   subject thereto, Defendant responds: Eric White was combative and used force
  22   against me and other deputies.
  23             Moreover, from what can be discerned, Plaintiff is moving to compel
  24   Defendants to respond without objections. There is simply no authority for this
  25   argument, especially when Defendants provided a qualified response. See
  26   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  27   should be denied.
  28             Owens


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   1   RESPONSE TO REQUEST FOR ADMISSION NO.10:
   2             Objections: vague and ambiguous as to "overpower"; lacks foundation;
   3   overbroad in time and scope; not in compliance with C.D. Cal. Local Rule 36-1,
   4   as requests are not in sequential order without repeating numbers from prior sets.
   5   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   6             This admission is non-responsive. An admission, denial or specific reason
   7   why, at minimum, a qualified answer has not been provided must be provided.
   8   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   9   request for admission imprecise, he should set forth a qualified answer that fairly
  10   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  11   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  12   interrogatory is considered vague and ambiguous and answer to the fullest extent
  13   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  14   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  15   unless so ambiguous that the responding party cannot, in good faith, frame an
  16   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  17   in detail why other portions of a request may not be admitted.”); McCoo v.
  18   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  19   discovery as vague or ambiguous has the burden to show such vagueness or
  20   ambiguity.”
  21             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  22   490 (2014) (“A party resisting discovery must show specifically how each request
  23   is overly broad, unduly burdensome, or oppressive.”).
  24             You must explain why the request or interrogatory calls for speculation.
  25   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  26   technicalities”).
  27             These requests for admission are asking for a response with regard to the
  28   defendants’ knowledge and therefore are not asking for a speculative answer. If


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   1   claiming a request or interrogatory is compound, you must explain why and
   2   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   3   avoid responding based on technicalities”). Phrases narrowing the subject matter
   4   of the admission do not create a compound request. The explanatory phrases are
   5   necessary to limit the scope of the request and keep it from being ambiguous.
   6             These requests and interrogatories are relevant to the case at hand. U.S.
   7   ex rel. Englund at 684 (“A party may not avoid responding based on
   8   technicalities”); Heller at 489 (“That a requested document or information will
   9   not be admissible or relevant to the merits of a claim or defense is not a proper
  10   objection to discovery of the document or information under the Federal Rules if
  11   the discovery request is reasonably calculated to lead to the discovery of
  12   admissible evidence.”)
  13             In our meet and confers, and now in this document, Plaintiff requests
  14   responses to RFAs without objections.
  15             DEFENDANTS’ RESPONSE
  16             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  17   renumbered as No. 21, which has been supplemented by Defendants on May 9,
  18   2017 as follows:
  19             Objections: vague and ambiguous as to “overpower”; lacks foundation;
  20   overbroad in time and scope. Without waiving the foregoing objections and
  21   subject thereto, Defendant responds: Eric White was combative and used force
  22   against me and other deputies.
  23             Moreover, from what can be discerned, Plaintiff is moving to compel
  24   Defendants to respond without objections. There is simply no authority for this
  25   argument, especially when Defendants provided a qualified response. See
  26   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  27   should be denied.
  28



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  15   REQUEST FOR ADMISSION NO. 3:
  16             On May 13, 2009, during the force incident, I, Matthew Kerfoot, punched
  17   Eric White repeatedly while he was on the ground.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
  19             Objections: vague and ambiguous as to "repeatedly''; lacks foundation;
  20   overbroad as to time and scope; argumentative; not in compliance with C.D. Cal.
  21   Local Rule 36-1, as requests are not in sequential order without repeating
  22   numbers from prior sets.
  23   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  24             This admission is non-responsive. An admission, denial or specific reason
  25   why, at minimum, a qualified answer has not been provided must be provided.
  26   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  27   request for admission imprecise, he should set forth a qualified answer that fairly
  28   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,


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   1   262 (E.D.Va. 2005). You must admit, deny or explain why a request or
   2   interrogatory is considered vague and ambiguous and answer to the fullest extent
   3   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   4   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   5   unless so ambiguous that the responding party cannot, in good faith, frame an
   6   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   7   in detail why other portions of a request may not be admitted.”); McCoo v.
   8   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   9   discovery as vague or ambiguous has the burden to show such vagueness or
  10   ambiguity.”
  11             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  12   490 (2014) (“A party resisting discovery must show specifically how each request
  13   is overly broad, unduly burdensome, or oppressive.”).
  14             You must explain why the request or interrogatory calls for speculation.
  15   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  16   technicalities”).
  17             These requests for admission are asking for a response with regard to the
  18   defendants’ knowledge and therefore are not asking for a speculative answer. If
  19   claiming a request or interrogatory is compound, you must explain why and
  20   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  21   avoid responding based on technicalities”). Phrases narrowing the subject matter
  22   of the admission do not create a compound request. The explanatory phrases are
  23   necessary to limit the scope of the request and keep it from being ambiguous.
  24   These requests and interrogatories are relevant to the case at hand. U.S. ex rel.
  25   Englund at 684 (“A party may not avoid responding based on technicalities”);
  26   Heller at 489 (“That a requested document or information will not be admissible
  27   or relevant to the merits of a claim or defense is not a proper objection to
  28   discovery of the document or information under the Federal Rules if the


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   1   discovery request is reasonably calculated to lead to the discovery of admissible
   2   evidence.”) A claim that the request or interrogatory is argumentative must have
   3   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
   4   responding based on technicalities”)
   5             In our meet and confers, and now in this document, Plaintiff requests
   6   responses to RFAs without objections.
   7             DEFENDANTS’ RESPONSES
   8             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   9   renumbered as No. 30, which has been supplemented by Defendants on May 9,
  10   2017 as follows:
  11             Objections: vague and ambiguous as to “repeatedly”; lacks foundation;
  12   overbroad as to time and scope; argumentative. Without waiving the foregoing
  13   objections and subject thereto, Defendant responds as follows: Responding party
  14   recalls using reasonable force in response to Plaintiff Eric White’s attack on me
  15   and other deputies.
  16             Moreover, from what can be discerned, Plaintiff is moving to compel
  17   Defendants to respond without objections. There is simply no authority for this
  18   argument, especially when Defendants provided a qualified response. See
  19   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  20   should be denied
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  22   REQUEST FOR ADMISSION NO. 4:
  23             On May 13, 2009, during the force incident, I, Matthew Kerfoot, struck
  24   Eric White's legs repeatedly, with my flashlight, while he was on the ground.
  25   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
  26             Objections: vague and ambiguous as to "repeatedly"; lacks foundation;
  27   overbroad as to time and scope; argumentative; relevance; not in compliance with
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   1   C.D. Cal. Local Rule 36-1, as requests are not in sequential order without
   2   repeating numbers from prior sets.
   3   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   4             This admission is non-responsive. An admission, denial or specific reason
   5   why, at minimum, a qualified answer has not been provided must be provided.
   6   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   7   request for admission imprecise, he should set forth a qualified answer that fairly
   8   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   9   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  10   interrogatory is considered vague and ambiguous and answer to the fullest extent
  11   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  12   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  13   unless so ambiguous that the responding party cannot, in good faith, frame an
  14   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  15   in detail why other portions of a request may not be admitted.”); McCoo v.
  16   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  17   discovery as vague or ambiguous has the burden to show such vagueness or
  18   ambiguity.”
  19             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  20   490 (2014) (“A party resisting discovery must show specifically how each request
  21   is overly broad, unduly burdensome, or oppressive.”).
  22             You must explain why the request or interrogatory calls for speculation.
  23   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  24   technicalities”).
  25             These requests for admission are asking for a response with regard to the
  26   defendants’ knowledge and therefore are not asking for a speculative answer. If
  27   claiming a request or interrogatory is compound, you must explain why and
  28   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not


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   1   avoid responding based on technicalities”). Phrases narrowing the subject matter
   2   of the admission do not create a compound request. The explanatory phrases are
   3   necessary to limit the scope of the request and keep it from being ambiguous.
   4   These requests and interrogatories are relevant to the case at hand. U.S. ex rel.
   5   Englund at 684 (“A party may not avoid responding based on technicalities”);
   6   Heller at 489 (“That a requested document or information will not be admissible
   7   or relevant to the merits of a claim or defense is not a proper objection to
   8   discovery of the document or information under the Federal Rules if the
   9   discovery request is reasonably calculated to lead to the discovery of admissible
  10   evidence.”) A claim that the request or interrogatory is argumentative must have
  11   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  12   responding based on technicalities”) In our meet and confers, and now in this
  13   document, Plaintiff requests responses to RFAs without objections.
  14             DEFENDANTS’ RESPONSES
  15             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  16   renumbered as No. 31, which has been supplemented by Defendants on May 9,
  17   2017 as follows:
  18             Objections: vague and ambiguous as to “repeatedly”; lacks foundation;
  19   overbroad as to time and scope; argumentative. Without waiving the foregoing
  20   objections and subject thereto, Defendant responds as follows: Responding party
  21   recalls using reasonable force in response to Plaintiff Eric White’s attack on me
  22   and other deputies.
  23             Moreover, from what can be discerned, Plaintiff is moving to compel
  24   Defendants to respond without objections. There is simply no authority for this
  25   argument, especially when Defendants provided a qualified response. See
  26   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  27   should be denied.
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   1   REQUEST FOR ADMISSION NO. 5:
   2             On May 13, 2009, Deputies Erskine, Owens and I, Matthew Kerfoot, were
   3   each striking Eric White during the force incident.
   4   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
   5             Objections: vague and ambiguous as to "striking"; lacks foundation; calls
   6   for speculation; overbroad as to time and scope; relevance; not reasonably
   7   calculated to lead to the discovery of admissible evidence; compound; not in
   8   compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential
   9   order without repeating numbers from prior sets.
  10   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  11             This admission is non-responsive. An admission, denial or specific reason
  12   why, at minimum, a qualified answer has not been provided must be provided.
  13   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  14   request for admission imprecise, he should set forth a qualified answer that fairly
  15   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  16   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  17   interrogatory is considered vague and ambiguous and answer to the fullest extent
  18   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  19   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  20   unless so ambiguous that the responding party cannot, in good faith, frame an
  21   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  22   in detail why other portions of a request may not be admitted.”); McCoo v.
  23   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  24   discovery as vague or ambiguous has the burden to show such vagueness or
  25   ambiguity.”
  26             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  27   490 (2014) (“A party resisting discovery must show specifically how each request
  28   is overly broad, unduly burdensome, or oppressive.”).


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   1             You must explain why the request or interrogatory calls for speculation.
   2   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   3   technicalities”).
   4             These requests for admission are asking for a response with regard to the
   5   defendants’ knowledge and therefore are not asking for a speculative answer. If
   6   claiming a request or interrogatory is compound, you must explain why and
   7   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   8   avoid responding based on technicalities”). Phrases narrowing the subject matter
   9   of the admission do not create a compound request. The explanatory phrases are
  10   necessary to limit the scope of the request and keep it from being ambiguous.
  11             These requests and interrogatories are relevant to the case at hand. U.S. ex
  12   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  13   Heller at 489 (“That a requested document or information will not be admissible
  14   or relevant to the merits of a claim or defense is not a proper objection to
  15   discovery of the document or information under the Federal Rules if the
  16   discovery request is reasonably calculated to lead to the discovery of admissible
  17   evidence.”)
  18             A claim that the request or interrogatory is argumentative must have
  19   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  20   responding based on technicalities”)
  21             In our meet and confers, and now in this document, Plaintiff requests
  22   responses to RFAs without objections.
  23             DEFENDANTS’ RESPONSES
  24             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  25   renumbered as No. 32, which has been supplemented by Defendants on May 9,
  26   2017 as follows:
  27             Objections: vague and ambiguous as to “striking” and “force incident”.
  28   Without waiving the foregoing objections and subject thereto, Defendant


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   1   responds as follows: Responding party recalls using reasonable force in response
   2   to Plaintiff Eric White’s attack.
   3             Moreover, from what can be discerned, Plaintiff is moving to compel
   4   Defendants to respond without objections. There is simply no authority for this
   5   argument, especially when Defendants provided a qualified response. See
   6   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   7   should be denied.
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   5   REQUEST FOR ADMISSION NO. 9:
   6             On May 13, 2009, during the force incident, I, Matthew Kerfoot, was not
   7   injured.
   8   RESPONSE TO REQUEST FOR ADMISSION NO. 9:
   9             Objections: vague and ambiguous; lacks foundation; overbroad as to time
  10   and scope; relevance; not reasonably calculated to lead to the discovery of
  11   admissible evidence; argumentative; calls for an expert opinion; not in
  12   compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential
  13   order without repeating numbers from prior sets.
  14   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  15             This admission is non-responsive. An admission, denial or specific reason
  16   why, at minimum, a qualified answer has not been provided must be provided.
  17   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  18   request for admission imprecise, he should set forth a qualified answer that fairly
  19   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  20   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  21   interrogatory is considered vague and ambiguous and answer to the fullest extent
  22   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  23   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  24   unless so ambiguous that the responding party cannot, in good faith, frame an
  25   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  26   in detail why other portions of a request may not be admitted.”); McCoo v.
  27   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
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   1   discovery as vague or ambiguous has the burden to show such vagueness or
   2   ambiguity.”
   3             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   4   490 (2014) (“A party resisting discovery must show specifically how each request
   5   is overly broad, unduly burdensome, or oppressive.”).
   6             You must explain why the request or interrogatory calls for speculation.
   7   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   8   technicalities”).
   9             These requests for admission are asking for a response with regard to the
  10   defendants’ knowledge and therefore are not asking for a speculative answer. If
  11   claiming a request or interrogatory is compound, you must explain why and
  12   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  13   avoid responding based on technicalities”). Phrases narrowing the subject matter
  14   of the admission do not create a compound request. The explanatory phrases are
  15   necessary to limit the scope of the request and keep it from being ambiguous.
  16             These requests and interrogatories are relevant to the case at hand. U.S. ex
  17   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  18   Heller at 489 (“That a requested document or information will not be admissible
  19   or relevant to the merits of a claim or defense is not a proper objection to
  20   discovery of the document or information under the Federal Rules if the
  21   discovery request is reasonably calculated to lead to the discovery of admissible
  22   evidence.”)
  23             A claim that the request or interrogatory is argumentative must have
  24   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  25   responding based on technicalities”.)
  26             In our meet and confers, and now in this document, Plaintiff requests
  27   responses to RFAs without objections.
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   1             DEFENDANTS’ RESPONSES
   2             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   3   renumbered as No. 36, which has been supplemented by Defendants on May 9,
   4   2017 as follows:
   5             Objections: vague and ambiguous; overbroad as to time and scope.
   6   Without waiving the foregoing objections and subject thereto, Defendant
   7   responds as follows: Deny.
   8             Moreover, from what can be discerned, Plaintiff is moving to compel
   9   Defendants to respond without objections. There is simply no authority for this
  10   argument. See Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as
  11   to this request should be denied.
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  25   REQUEST FOR ADMISSION NO. 3:
  26             On May 13, 2009, during the force incident, I, Kasey Owens, struck Eric
  27   White repeatedly in the face and forehead with my forearm while he was on the
  28   ground.


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   1   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
   2             Objections: vague and ambiguous as to "repeatedly"; lacks foundation;
   3   overbroad as to time and scope; argumentative; relevance; not reasonably
   4   calculated
   5   to lead to the discovery of admissible evidence; not in compliance with C.D. Cal.
   6   Local Rule 36-1, as requests are not in sequential order without repeating
   7   numbers from prior sets
   8   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   9             This admission is non-responsive. An admission, denial or specific reason
  10   why, at minimum, a qualified answer has not been provided must be provided.
  11   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  12   request for admission imprecise, he should set forth a qualified answer that fairly
  13   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  14   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  15   interrogatory is considered vague and ambiguous and answer to the fullest extent
  16   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  17   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  18   unless so ambiguous that the responding party cannot, in good faith, frame an
  19   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  20   in detail why other portions of a request may not be admitted.”); McCoo v.
  21   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  22   discovery as vague or ambiguous has the burden to show such vagueness or
  23   ambiguity.”
  24             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  25   490 (2014) (“A party resisting discovery must show specifically how each request
  26   is overly broad, unduly burdensome, or oppressive.”).
  27
  28



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   1             You must explain why the request or interrogatory calls for speculation.
   2   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   3   technicalities”).
   4             These requests for admission are asking for a response with regard to the
   5   defendants’ knowledge and therefore are not asking for a speculative answer. If
   6   claiming a request or interrogatory is compound, you must explain why and
   7   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   8   avoid responding based on technicalities”). Phrases narrowing the subject matter
   9   of the admission do not create a compound request. The explanatory phrases are
  10   necessary to limit the scope of the request and keep it from being ambiguous.
  11             These requests and interrogatories are relevant to the case at hand. U.S. ex
  12   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  13   Heller at 489 (“That a requested document or information will not be admissible
  14   or relevant to the merits of a claim or defense is not a proper objection to
  15   discovery of the document or information under the Federal Rules if the
  16   discovery request is reasonably calculated to lead to the discovery of admissible
  17   evidence.”).
  18             In our meet and confers, and now in this document, Plaintiff requests
  19   responses to RFAs without objections.
  20             DEFENDANTS’ RESPONSES
  21             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  22   renumbered as No. 27, which has been supplemented by Defendants on May 9,
  23   2017 as follows:
  24             Objections: vague and ambiguous as to “repeatedly”; overbroad as to time
  25   and scope; argumentative. Without waiving the foregoing objections and subject
  26   thereto, Defendant responds: Defendant recalls using reasonable force in
  27   response to Plaintiff Eric White’s attack on me and other deputies.
  28



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   1             Moreover, from what can be discerned, Plaintiff is moving to compel
   2   Defendants to respond without objections. There is simply no authority for this
   3   argument, especially when Defendants provided a qualified response. See
   4   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   5   should be denied.
   6
   7   REQUEST FOR ADMISSION NO. 4:
   8             On May 13, 2009, during the force incident, I, Kasey Owens, kneed Eric
   9   White multiple times in his ribs while he was on the ground.
  10   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
  11             Objections: vague and ambiguous as to "multiple times"; lacks foundation;
  12   overbroad as to time and scope; argumentative; relevance; not reasonably
  13   calculated to lead to the discovery of admissible evidence; not in compliance with
  14   C.D. Cal. Local Rule 36-1, as requests are not in sequential order without
  15   repeating numbers from prior sets.
  16   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  17             This admission is non-responsive. An admission, denial or specific reason
  18   why, at minimum, a qualified answer has not been provided must be provided.
  19   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  20   request for admission imprecise, he should set forth a qualified answer that fairly
  21   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  22   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  23   interrogatory is considered vague and ambiguous and answer to the fullest extent
  24   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  25   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  26   unless so ambiguous that the responding party cannot, in good faith, frame an
  27   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  28   in detail why other portions of a request may not be admitted.”); McCoo v.


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   1   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   2   discovery as vague or ambiguous has the burden to show such vagueness or
   3   ambiguity.”
   4             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   5   490 (2014) (“A party resisting discovery must show specifically how each request
   6   is overly broad, unduly burdensome, or oppressive.”).
   7             You must explain why the request or interrogatory calls for speculation.
   8   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   9   technicalities”).
  10             These requests for admission are asking for a response with regard to the
  11   defendants’ knowledge and therefore are not asking for a speculative answer.
  12   If claiming a request or interrogatory is compound, you must explain why and
  13   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  14   avoid responding based on technicalities”). Phrases narrowing the subject matter
  15   of the admission do not create a compound request. The explanatory phrases are
  16   necessary to limit the scope of the request and keep it from being ambiguous.
  17             These requests and interrogatories are relevant to the case at hand. U.S. ex
  18   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  19   Heller at 489 (“That a requested document or information will not be admissible
  20   or relevant to the merits of a claim or defense is not a proper objection to
  21   discovery of the document or information under the Federal Rules if the
  22   discovery request is reasonably calculated to lead to the discovery of admissible
  23   evidence.”)
  24             In our meet and confers, and now in this document, Plaintiff requests
  25   responses to RFAs without objections.
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  27
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   1             DEFENDANTS’ RESPONSES
   2             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   3   renumbered as No. 28, which has been supplemented by Defendants on May 9,
   4   2017 as follows:
   5             Objections: vague and ambiguous as to “multiple times”; overbroad as to
   6   time and scope; argumentative. Without waiving the foregoing objections and
   7   subject thereto, Defendant responds: Defendant recalls using reasonable force in
   8   response to Plaintiff Eric White’s attack on me and other deputies.
   9             Moreover, from what can be discerned, Plaintiff is moving to compel
  10   Defendants to respond without objections. There is simply no authority for this
  11   argument, especially when Defendants provided a qualified response. See
  12   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  13   should be denied.
  14
  15   REQUEST FOR ADMISSION NO. 5:
  16             On May 13, 2009, Deputies Erskine, Kerfoot and I, Kasey Owens, were
  17   each striking Eric White during the force incident; not in compliance with C.D.
  18   Cal. Local Rule 36-1, as requests are not in sequential order without repeating
  19   numbers from prior sets.
  20   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
  21             I Objections: vague and ambiguous as to "striking"; lacks foundation; calls
  22   for speculation; overbroad as to time and scope; relevance; not reasonably
  23   calculated to lead to the discovery of admissible evidence.
  24   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  25             This admission is non-responsive. An admission, denial or specific reason
  26   why, at minimum, a qualified answer has not been provided must be provided.
  27   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  28   request for admission imprecise, he should set forth a qualified answer that fairly


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   1   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   2   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
   3   interrogatory is considered vague and ambiguous and answer to the fullest extent
   4   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   5   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   6   unless so ambiguous that the responding party cannot, in good faith, frame an
   7   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   8   in detail why other portions of a request may not be admitted.”); McCoo v.
   9   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  10   discovery as vague or ambiguous has the burden to show such vagueness or
  11   ambiguity.”
  12             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  13   490 (2014) (“A party resisting discovery must show specifically how each request
  14   is overly broad, unduly burdensome, or oppressive.”).
  15             You must explain why the request or interrogatory calls for speculation.
  16   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  17   technicalities”).
  18             These requests for admission are asking for a response with regard to the
  19   defendants’ knowledge and therefore are not asking for a speculative answer. If
  20   claiming a request or interrogatory is compound, you must explain why and
  21   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  22   avoid responding based on technicalities”). Phrases narrowing the subject matter
  23   of the admission do not create a compound request. The explanatory phrases are
  24   necessary to limit the scope of the request and keep it from being ambiguous.
  25             These requests and interrogatories are relevant to the case at hand. U.S. ex
  26   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  27   Heller at 489 (“That a requested document or information will not be admissible
  28   or relevant to the merits of a claim or defense is not a proper objection to


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   1   discovery of the document or information under the Federal Rules if the
   2   discovery request is reasonably calculated to lead to the discovery of admissible
   3   evidence.”)
   4             In our meet and confers, and now in this document, Plaintiff requests
   5   responses to RFAs without objections.
   6             DEFENDANTS’ RESPONSES
   7             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   8   renumbered as No. 29, which has been supplemented by Defendants on May 9,
   9   2017 as follows:
  10             Objections: vague and ambiguous as to “striking”; calls for speculation;
  11   overbroad as to time and scope; argumentative. Without waiving the foregoing
  12   objections and subject thereto, Defendant responds: Defendant recalls using
  13   reasonable force in response to Plaintiff Eric White’s attack on me and other
  14   deputies.
  15             Moreover, from what can be discerned, Plaintiff is moving to compel
  16   Defendants to respond without objections. There is simply no authority for this
  17   argument, especially when Defendants provided a qualified response. See
  18   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  19   should be denied.
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   4   REQUEST FOR ADMISSION NO. 3:
   5             On May 13, 2009, I, Matthew Kerfoot, did not question Eric White about
   6   passing contraband to another inmate.
   7   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
   8             Objections: vague and ambiguous as to "question"; lacks foundation;
   9   overbroad as to time and scope; relevance; not reasonably calculated to lead to the
  10   discovery of admissible evidence; argumentative; calls for a legal conclusion; not
  11   in compliance with C.D. Cal. Local Rule 36-1, as requests are not in sequential
  12   order without repeating numbers from prior sets.
  13   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  14             This admission is non-responsive. An admission, denial or specific reason
  15   why, at minimum, a qualified answer has not been provided must be provided.
  16   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  17   request for admission imprecise, he should set forth a qualified answer that fairly
  18   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  19   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  20   interrogatory is considered vague and ambiguous and answer to the fullest extent
  21   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  22   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  23   unless so ambiguous that the responding party cannot, in good faith, frame an
  24   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  25   in detail why other portions of a request may not be admitted.”); McCoo v.
  26   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  27   discovery as vague or ambiguous has the burden to show such vagueness or
  28   ambiguity.”


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   1             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   2   490 (2014) (“A party resisting discovery must show specifically how each request
   3   is overly broad, unduly burdensome, or oppressive.”).
   4             You must explain why the request or interrogatory calls for speculation.
   5   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   6   technicalities”).
   7             These requests for admission are asking for a response with regard to the
   8   defendants’ knowledge and therefore are not asking for a speculative answer. If
   9   claiming a request or interrogatory is compound, you must explain why and
  10   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  11   avoid responding based on technicalities”). Phrases narrowing the subject matter
  12   of the admission do not create a compound request. The explanatory phrases are
  13   necessary to limit the scope of the request and keep it from being ambiguous.
  14             These requests and interrogatories are relevant to the case at hand. U.S. ex
  15   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  16   Heller at 489 (“That a requested document or information will not be admissible
  17   or relevant to the merits of a claim or defense is not a proper objection to
  18   discovery of the document or information under the Federal Rules if the
  19   discovery request is reasonably calculated to lead to the discovery of admissible
  20   evidence.”) Rule 36 permits requests for admission as to the application of law to
  21   fact, or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC,
  22   2015 U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
  23   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
  24   permits requests for admission as to “facts, the application of law to fact, or
  25   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
  26             In our meet and confers, and now in this document, Plaintiff requests
  27   responses to RFAs without objections.
  28



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   1             DEFENDANTS’ RESPONSES
   2             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   3   renumbered as No. 39, which has been supplemented by Defendants on May 9,
   4   2017 as follows:
   5             Objections: overbroad as to time and scope. Without waiving the
   6   foregoing objections, Defendant responds: Defendant observed Eric White
   7   reaching into a cell, which, based on my training and experience is to pass or
   8   retrieve contraband.
   9             Moreover, from what can be discerned, Plaintiff is moving to compel
  10   Defendants to respond without objections. There is simply no authority for this
  11   argument, especially when Defendants provided a qualified response. See
  12   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  13   should be denied.
  14
  15   REQUEST FOR ADMISSION NO. 4:
  16             I, Matthew Kerfoot, cannot identify any witnesses that saw Eric White
  17   passing contraband to another inmate on May 13, 2009.
  18   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
  19   Objections: vague and ambiguous; lacks foundation; overbroad as to time and
  20   scope; relevance; not reasonably calculated to lead to the discovery of admissible
  21   evidence; argumentative; calls for an expert opinion; calls for a legal conclusion;
  22   not in compliance with C.D. Cal. Local Rule 36-1, as requests are not in
  23   sequential order without repeating numbers from prior sets.
  24   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  25             This admission is non-responsive. An admission, denial or specific reason
  26   why, at minimum, a qualified answer has not been provided must be provided.
  27   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  28   request for admission imprecise, he should set forth a qualified answer that fairly


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   1   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   2   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
   3   interrogatory is considered vague and ambiguous and answer to the fullest extent
   4   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   5   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   6   unless so ambiguous that the responding party cannot, in good faith, frame an
   7   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   8   in detail why other portions of a request may not be admitted.”); McCoo v.
   9   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  10   discovery as vague or ambiguous has the burden to show such vagueness or
  11   ambiguity.”
  12             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  13   490 (2014) (“A party resisting discovery must show specifically how each request
  14   is overly broad, unduly burdensome, or oppressive.”).
  15             You must explain why the request or interrogatory calls for speculation.
  16   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  17   technicalities”).
  18             These requests for admission are asking for a response with regard to the
  19   defendants’ knowledge and therefore are not asking for a speculative answer. If
  20   claiming a request or interrogatory is compound, you must explain why and
  21   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  22   avoid responding based on technicalities”). Phrases narrowing the subject matter
  23   of the admission do not create a compound request. The explanatory phrases are
  24   necessary to limit the scope of the request and keep it from being ambiguous.
  25             These requests and interrogatories are relevant to the case at hand. U.S. ex
  26   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  27   Heller at 489 (“That a requested document or information will not be admissible
  28   or relevant to the merits of a claim or defense is not a proper objection to


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   1   discovery of the document or information under the Federal Rules if the
   2   discovery request is reasonably calculated to lead to the discovery of admissible
   3   evidence.”) Rule 36 permits requests for admission as to the application of law to
   4   fact, or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC,
   5   2015 U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
   6   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
   7   permits requests for admission as to “facts, the application of law to fact, or
   8   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
   9             A claim that the request or interrogatory is argumentative must have
  10   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  11   responding based on technicalities”.)
  12             No expert opinion required.
  13             In our meet and confers, and now in this document, Plaintiff requests
  14   responses to RFAs without objections.
  15             DEFENDANTS’ RESPONSES
  16             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  17   renumbered as No. 40, which has been supplemented by Defendants on May 9,
  18   2017 as follows:
  19             Objections: vague and ambiguous as to time; speculation. Without waiving
  20   the foregoing objections, Defendant responds: Defendant observed Eric White
  21   reaching into a cell, which, based on my training and experience is to pass or
  22   retrieve contraband.
  23             Moreover, from what can be discerned, Plaintiff is moving to compel
  24   Defendants to respond without objections. There is simply no authority for this
  25   argument, especially when Defendants provided a qualified response. See
  26   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  27   should be denied.
  28



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   1   REQUEST FOR ADMISSION NO. 5:
   2             I, Matthew Kerfoot, did not search Eric White for contraband on May 13,
   3   2009.
   4   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
   5             Objections: vague and ambiguous; lacks foundation; overbroad as to time
   6   and scope; relevance; not reasonably calculated to lead to the discovery of
   7   admissible evidence; argumentative; calls for an expert opinion; calls for a legal
   8   conclusion; not in compliance with C.D. Cal. Local Rule 36-1, as requests are not
   9   in sequential order without repeating numbers from prior sets.
  10   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  11             This admission is non-responsive. An admission, denial or specific reason
  12   why, at minimum, a qualified answer has not been provided must be provided.
  13   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  14   request for admission imprecise, he should set forth a qualified answer that fairly
  15   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  16   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  17   interrogatory is considered vague and ambiguous and answer to the fullest extent
  18   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  19   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  20   unless so ambiguous that the responding party cannot, in good faith, frame an
  21   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  22   in detail why other portions of a request may not be admitted.”); McCoo v.
  23   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  24   discovery as vague or ambiguous has the burden to show such vagueness or
  25   ambiguity.”
  26             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  27   490 (2014) (“A party resisting discovery must show specifically how each request
  28   is overly broad, unduly burdensome, or oppressive.”).


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   1             You must explain why the request or interrogatory calls for speculation.
   2   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   3   technicalities”).
   4             These requests for admission are asking for a response with regard to the
   5   defendants’ knowledge and therefore are not asking for a speculative answer. If
   6   claiming a request or interrogatory is compound, you must explain why and
   7   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   8   avoid responding based on technicalities”). Phrases narrowing the subject matter
   9   of the admission do not create a compound request. The explanatory phrases are
  10   necessary to limit the scope of the request and keep it from being ambiguous.
  11   These requests and interrogatories are relevant to the case at hand. U.S. ex rel.
  12   Englund at 684 (“A party may not avoid responding based on technicalities”);
  13   Heller at 489 (“That a requested document or information will not be admissible
  14   or relevant to the merits of a claim or defense is not a proper objection to
  15   discovery of the document or information under the Federal Rules if the
  16   discovery request is reasonably calculated to lead to the discovery of admissible
  17   evidence.”)
  18             A claim that the request or interrogatory is argumentative must have
  19   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  20   responding based on technicalities”.)
  21             Rule 36 permits requests for admission as to the application of law to fact,
  22   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
  23   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
  24   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
  25   permits requests for admission as to “facts, the application of law to fact, or
  26   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
  27             No expert opinion required.
  28             In our meet and confers, and now in this document, Plaintiff requests


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   1   responses to RFAs without objections.
   2             DEFENDANTS’ RESPONSES
   3             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
   4   renumbered as No. 41, which has been supplemented by Defendants on May 9,
   5   2017 as follows:
   6             Objections: vague and ambiguous as to time; not relevant to the Parties’
   7   claim or defense. Without waiving the foregoing objections, Defendant responds:
   8   Defendant intended to search Eric White before he attacked me and other
   9   deputies.
  10             Moreover, from what can be discerned, Plaintiff is moving to compel
  11   Defendants to respond without objections. There is simply no authority for this
  12   argument, especially when Defendants provided a qualified response. See
  13   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  14   should be denied
  15
  16   REQUEST FOR ADMISSION NO. 6:
  17             I, Matthew Kerfoot, did not identify any inmate to whom Eric White
  18   allegedly passed contraband on May 13, 2009.
  19   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
  20             Objections: vague and ambiguous; lacks foundation; overbroad as to time
  21   and scope; relevance; not reasonably calculated to lead to the discovery of
  22   admissible evidence; calls for an expert opinion; calls for a legal conclusion;
  23   duplicative; not in compliance with C.D. Cal. Local Rule 36-1, as requests are not
  24   in sequential order without repeating numbers from prior sets.
  25   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  26             This admission is non-responsive. An admission, denial or specific reason
  27   why, at minimum, a qualified answer has not been provided must be provided.
  28   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a


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   1   request for admission imprecise, he should set forth a qualified answer that fairly
   2   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   3   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
   4   interrogatory is considered vague and ambiguous and answer to the fullest extent
   5   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
   6   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   7   unless so ambiguous that the responding party cannot, in good faith, frame an
   8   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   9   in detail why other portions of a request may not be admitted.”); McCoo v.
  10   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  11   discovery as vague or ambiguous has the burden to show such vagueness or
  12   ambiguity.”
  13             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
  14   490 (2014) (“A party resisting discovery must show specifically how each request
  15   is overly broad, unduly burdensome, or oppressive.”).
  16             You must explain why the request or interrogatory calls for speculation.
  17   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
  18   technicalities”).
  19             These requests for admission are asking for a response with regard to the
  20   defendants’ knowledge and therefore are not asking for a speculative answer. If
  21   claiming a request or interrogatory is compound, you must explain why and
  22   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  23   avoid responding based on technicalities”). Phrases narrowing the subject matter
  24   of the admission do not create a compound request. The explanatory phrases are
  25   necessary to limit the scope of the request and keep it from being ambiguous.
  26             These requests and interrogatories are relevant to the case at hand. U.S. ex
  27   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  28



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   1   Heller at 489 (“That a requested document or information will not be admissible
   2   or relevant to the merits of a claim or defense is not a proper objection to
   3   discovery of the document or information under the Federal Rules if the
   4   discovery request is reasonably calculated to lead to the discovery of admissible
   5   evidence.”) Rule 36 permits requests for admission as to the application of law to
   6   fact, or opinions about [such application]. See And Cake, Inc. v. Sans Souci LLC,
   7   2015 U.S. Dist. Lexis 187139 at *9-10 (C. D. Cal. Aug. 15, 2015) (“With respect
   8   to defendant's objection that request numbers 3-5 call for a legal conclusion, Rule
   9   36 permits requests for admission as to “facts, the application of law to fact, or
  10   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
  11             No expert opinion required.
  12             In our meet and confers, and now in this document, Plaintiff requests
  13   responses to RFAs without objections.
  14             DEFENDANTS’ RESPONSES
  15             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  16   renumbered as No. 42, which has been supplemented by Defendants on May 9,
  17   2017 as follows:
  18             Objections: vague and ambiguous as to “did not identify”; lacks
  19   foundation; overbroad as to time and scope. Without waiving the foregoing
  20   objections, Defendant responds: Defendant observed Eric White reaching into a
  21   cell, which, based on my training and experience is to pass or retrieve contraband.
  22             Moreover, from what can be discerned, Plaintiff is moving to compel
  23   Defendants to respond without objections. There is simply no authority for this
  24   argument, especially when Defendants provided a qualified response. See
  25   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
  26   should be denied.
  27
  28   REQUEST FOR ADMISSION NO. 7:


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   1             On May 13, 2009, I, Matthew Kerfoot, was responsible for doing the
   2   hourly checks on every individual inmate in the Central Jail (CJ) 2500 module.
   3   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
   4             Objections: vague and ambiguous; lacks foundation; overbroad as to time
   5   and scope; relevance; not reasonably calculated to lead to the discovery of
   6   admissible evidence; argumentative; not in compliance with C.D. Cal. Local Rule
   7   36-1, as requests are not in sequential order without repeating numbers from prior
   8   sets.
   9
  10   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  11             This admission is non-responsive. An admission, denial or specific reason
  12   why, at minimum, a qualified answer has not been provided must be provided.
  13   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  14   request for admission imprecise, he should set forth a qualified answer that fairly
  15   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  16   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  17   interrogatory is considered vague and ambiguous and answer to the fullest extent
  18   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  19   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  20   unless so ambiguous that the responding party cannot, in good faith, frame an
  21   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  22   in detail why other portions of a request may not be admitted.”); McCoo v.
  23   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  24   discovery as vague or ambiguous has the burden to show such vagueness or
  25   ambiguity.” Overbroad must be explained. See Heller v. City of Dallas, 303
  26   F.R.D. 466, 490 (2014) (“A party resisting discovery must show specifically how
  27   each request is overly broad, unduly burdensome, or oppressive.”).
  28



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   1             You must explain why the request or interrogatory calls for speculation.
   2   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   3   technicalities”).
   4             These requests for admission are asking for a response with regard to the
   5   defendants’ knowledge and therefore are not asking for a speculative answer. If
   6   claiming a request or interrogatory is compound, you must explain why and
   7   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   8   avoid responding based on technicalities”). Phrases narrowing the subject matter
   9   of the admission do not create a compound request. The explanatory phrases are
  10   necessary to limit the scope of the request and keep it from being ambiguous.
  11             These requests and interrogatories are relevant to the case at hand. U.S. ex
  12   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
  13   Heller at 489 (“That a requested document or information will not be admissible
  14   or relevant to the merits of a claim or defense is not a proper objection to
  15   discovery of the document or information under the Federal Rules if the
  16   discovery request is reasonably calculated to lead to the discovery of admissible
  17   evidence.”)
  18             A claim that the request or interrogatory is argumentative must have
  19   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
  20   responding based on technicalities”.)
  21             In our meet and confers, and now in this document, Plaintiff requests
  22   responses to RFAs without objections.
  23             DEFENDANTS’ RESPONSES
  24             This request is in violation of L.R. 36-1 and identical to Plaintiff’s Request
  25   renumbered as No. 43, which has been supplemented by Defendants on May 9,
  26   2017 as follows:
  27             Objections: vague and ambiguous as to “doing the hourly checks”; not
  28   relevant to the Parties’ claim or defense. Without waiving the foregoing


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   1   objections, Defendant responds: Defendant was working as the 2500 Module
   2   Deputy.
   3             Moreover, from what can be discerned, Plaintiff is moving to compel
   4   Defendants to respond without objections. There is simply no authority for this
   5   argument, especially when Defendants provided a qualified response. See
   6   Fed.R.Civ.P. Rule 36(a)(5). Accordingly, the motion to compel as to this request
   7   should be denied.
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   1             Interrogatories Set One Kerfoot and Owens 0503
   2   INTERROGATORY NO. 1:
   3             If you contend that Eric White struck you on May 13, 2009, describe in
   4   detail, and in chronological order, each and every, punch, kick, or other battery
   5   inflicted upon you by Eric White.
   6             Kerfoot
   7   RESPONSE TO INTERROGATORY NO. 1:
   8   Objections: vague and ambiguous as to time and as to the term "battery".
   9   Compound. Without waving the foregoing objections, Defendant responds:
  10   Inmate White assaulted Defendant, including in the shoulder, arm, and leg/thigh
  11   area.
  12   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  13             This admission is non-responsive. An admission, denial or specific reason
  14   why, at minimum, a qualified answer has not been provided must be provided.
  15   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
  16   request for admission imprecise, he should set forth a qualified answer that fairly
  17   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
  18   262 (E.D. Va. 2005). You must admit, deny or explain why a request or
  19   interrogatory is considered vague and ambiguous and answer to the fullest extent
  20   possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D.
  21   Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  22   unless so ambiguous that the responding party cannot, in good faith, frame an
  23   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  24   in detail why other portions of a request may not be admitted.”); McCoo v.
  25   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  26   discovery as vague or ambiguous has the burden to show such vagueness or
  27   ambiguity.”
  28



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   1             If claiming a request or interrogatory is compound, you must explain why
   2   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   3   avoid responding based on technicalities”). Phrases narrowing the subject matter
   4   of the admission do not create a compound request. The explanatory phrases are
   5   necessary to limit the scope of the request and keep it from being ambiguous.
   6   In our meet and confers, and now in this document, Plaintiff requests
   7   responses to Interrogatories without objections.
   8             DEFENDANTS’ RESPONSES
   9             Defendant adequately provided a response to this Interrogatory. From
  10   what can be discerned, Plaintiff is moving to compel Defendant to respond
  11   without objections. There is simply no authority for this argument. See
  12   Fed.R.Civ.P. Rule 33(b)(4). Accordingly, the motion to compel as to this request
  13   should be denied.
  14
  15             Owens
  16   RESPONSE TO INTERROGATORY NO. 1:
  17             Objections: vague and ambiguous as to time and as to the term "battery".
  18   Compound. Without waving the foregoing objections, Defendant responds:
  19   Inmate White assaulted me, kicking me several times in the leg/thigh area.
  20   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  21             This interrogatory is non-responsive. An admission, denial or specific
  22   reason why, at minimum, a qualified answer has not been provided must be
  23   provided. See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording
  24   of a request for admission imprecise, he should set forth a qualified answer that
  25   fairly meets the substance of the request.” House v. Giant of Md., LLC, 232
  26   F.R.D, 257, 262 (E.D. Va. 2005). You must admit, deny or explain why a request
  27   or interrogatory is considered vague and ambiguous and answer to the fullest
  28   extent possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685


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   1   (E.D. Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   2   unless so ambiguous that the responding party cannot, in good faith, frame an
   3   intelligent reply. Parties should “admit to the fullest extent possible, and explain
   4   in detail why other portions of a request may not be admitted.”); McCoo v.
   5   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
   6   discovery as vague or ambiguous has the burden to show such vagueness or
   7   ambiguity.”
   8             If claiming a request or interrogatory is compound, you must explain why
   9   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  10   avoid responding based on technicalities”). Phrases narrowing the subject matter
  11   of the admission do not create a compound request. The explanatory phrases are
  12   necessary to limit the scope of the request and keep it from being ambiguous.
  13   In our meet and confers, and now in this document, Plaintiff requests responses to
  14   Interrogatories without objections.
  15             DEFENDANTS RESPONSES
  16             Defendant adequately provided a response to this Interrogatory. From
  17   what can be discerned, Plaintiff is moving to compel Defendant to respond
  18   without objections. There is simply no authority for this argument. See
  19   Fed.R.Civ.P. Rule 33(b)(4). Accordingly, the motion to compel as to this request
  20   should be denied
  21
  22   INTERROGATORY NO. 3:
  23             Describe in detail, and in chronological order, each and every, punch, kick,
  24   or other battery you inflicted upon Eric White on May 13, 2009.
  25             Kerfoot
  26   RESPONSE TO INTERROGATORY NO.3:
  27             Objections: vague and ambiguous as to time and as to the term "battery".
  28   Compound. Without waiving the foregoing objections, Defendant responds:


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   1   Defendant recall attempting to gain control of Inmate White during his attack on
   2   Defendant and other deputies by using reasonable force in making contact with
   3   Inmate White's face, torso, arms and legs.
   4   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   5             This interrogatory is non-responsive. An admission, denial or specific
   6   reason why, at minimum, a qualified answer has not been provided must be
   7   provided. See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording
   8   of a request for admission imprecise, he should set forth a qualified answer that
   9   fairly meets the substance of the request.” House v. Giant of Md., LLC, 232
  10   F.R.D, 257, 262 (E.D. Va. 2005). You must admit, deny or explain why a request
  11   or interrogatory is considered vague and ambiguous and answer to the fullest
  12   extent possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685
  13   (E.D. Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  14   unless so ambiguous that the responding party cannot, in good faith, frame an
  15   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  16   in detail why other portions of a request may not be admitted.”); McCoo v.
  17   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  18   discovery as vague or ambiguous has the burden to show such vagueness or
  19   ambiguity.”
  20             If claiming a request or interrogatory is compound, you must explain why
  21   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  22   avoid responding based on technicalities”). Phrases narrowing the subject matter
  23   of the admission do not create a compound request. The explanatory phrases are
  24   necessary to limit the scope of the request and keep it from being ambiguous.
  25             In our meet and confers, and now in this document, Plaintiff requests
  26   responses to Interrogatories without objections.
  27             DEFENDANTS’ RESPONSES
  28



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   1             Defendant adequately provided a response to this Interrogatory. From
   2   what can be discerned, Plaintiff is moving to compel Defendant to respond
   3   without objections. There is simply no authority for this argument. See
   4   Fed.R.Civ.P. Rule 33(b)(4). Accordingly, the motion to compel as to this request
   5   should be denied.
   6
   7             Owens
   8   RESPONSE TO INTERROGATORY NO.3:
   9             Objections: vague and ambiguous as to time and as to the term "battery".
  10   Compound. Without waiving the foregoing objections, Defendant responds:
  11   Defendant recalls attempting to gain control of Inmate White during his attack on
  12   him and other deputies by attempting to use reasonable force in holding his arms
  13   and legs as well as making contact with his face.
  14   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  15             This interrogatory is non-responsive. An admission, denial or specific
  16   reason why, at minimum, a qualified answer has not been provided must be
  17   provided. See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording
  18   of a request for admission imprecise, he should set forth a qualified answer that
  19   fairly meets the substance of the request.” House v. Giant of Md., LLC, 232
  20   F.R.D, 257, 262 (E.D. Va. 2005). You must admit, deny or explain why a request
  21   or interrogatory is considered vague and ambiguous and answer to the fullest
  22   extent possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685
  23   (E.D. Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  24   unless so ambiguous that the responding party cannot, in good faith, frame an
  25   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  26   in detail why other portions of a request may not be admitted.”); McCoo v.
  27   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  28



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   1   discovery as vague or ambiguous has the burden to show such vagueness or
   2   ambiguity.”
   3             If claiming a request or interrogatory is compound, you must explain why
   4   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   5   avoid responding based on technicalities”). Phrases narrowing the subject matter
   6   of the admission do not create a compound request. The explanatory phrases are
   7   necessary to limit the scope of the request and keep it from being ambiguous.
   8   In our meet and confers, and now in this document, Plaintiff requests responses to
   9   Interrogatories without objections.
  10             DEFENDANTS’ RESPONSES
  11             Defendant adequately provided a response to this Interrogatory. From
  12   what can be discerned, Plaintiff is moving to compel Defendant to respond
  13   without objections. There is simply no authority for this argument. See
  14   Fed.R.Civ.P. Rule 33(b)(4). Accordingly, the motion to compel as to this request
  15   should be denied.
  16
  17   INTERROGATORY NO. 4:
  18             If you contend that Eric White made any statements on May 13, 2009,
  19   describe in detail and in chronological order the exact words, and all of them,
  20   uttered by Eric White.
  21   RESPONSE TO INTERROGATORY NO. 4:
  22             Objections: vague and ambiguous as to time and as to the term "uttered".
  23   Compound. Without waiving the foregoing objections, Defendant responds:
  24   Defendant recalls Inmate White making loud statements but was unable to discern
  25   what he was saying.
  26   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
  27             This interrogatory is non-responsive. An admission, denial or specific
  28   reason why, at minimum, a qualified answer has not been provided must be


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   1   provided. See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording
   2   of a request for admission imprecise, he should set forth a qualified answer that
   3   fairly meets the substance of the request.” House v. Giant of Md., LLC, 232
   4   F.R.D, 257, 262 (E.D. Va. 2005). You must admit, deny or explain why a request
   5   or interrogatory is considered vague and ambiguous and answer to the fullest
   6   extent possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685
   7   (E.D. Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
   8   unless so ambiguous that the responding party cannot, in good faith, frame an
   9   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  10   in detail why other portions of a request may not be admitted.”); McCoo v.
  11   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  12   discovery as vague or ambiguous has the burden to show such vagueness or
  13   ambiguity.”
  14             If claiming a request or interrogatory is compound, you must explain why
  15   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
  16   avoid responding based on technicalities”). Phrases narrowing the subject matter
  17   of the admission do not create a compound request. The explanatory phrases are
  18   necessary to limit the scope of the request and keep it from being ambiguous.
  19   In our meet and confers, and now in this document, Plaintiff requests responses to
  20   Interrogatories without objections.
  21             DEFENDANTS’ RESPONSES
  22             Defendants adequately provided a response to this Interrogatory. From
  23   what can be discerned, Plaintiff is moving to compel Defendants to respond
  24   without objections. There is simply no authority for this argument. See
  25   Fed.R.Civ.P. Rule 33(b)(4). Accordingly, the motion to compel as to this request
  26   should be denied.
  27
  28   INTERROGATORY NO. 5:


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   1             Identify each and every person whom you contend Eric White struck on
   2   May 13, 2009.
   3   RESPONSE TO INTERROGATORY NO. 5:
   4             Objections: vague and ambiguous as to time. Without waiving the
   5   foregoing objection, Defendant responds: Inmate White struck Defendant.
   6   Defendant is unable to recall specifically everyone else Inmate White attacked.
   7   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   8             This interrogatory is non-responsive. An admission, denial or specific
   9   reason why, at minimum, a qualified answer has not been provided must be
  10   provided. See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording
  11   of a request for admission imprecise, he should set forth a qualified answer that
  12   fairly meets the substance of the request.” House v. Giant of Md., LLC, 232
  13   F.R.D, 257, 262 (E.D. Va. 2005). You must admit, deny or explain why a request
  14   or interrogatory is considered vague and ambiguous and answer to the fullest
  15   extent possible. U.S. ex rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685
  16   (E.D. Cal. 2006) (“[I]t is not ground for objection that the request is “ambiguous”
  17   unless so ambiguous that the responding party cannot, in good faith, frame an
  18   intelligent reply. Parties should “admit to the fullest extent possible, and explain
  19   in detail why other portions of a request may not be admitted.”); McCoo v.
  20   Denny’s Inc., 192 F.R.D. 675, 694 (D. Kan. 2000) (“The party objecting to
  21   discovery as vague or ambiguous has the burden to show such vagueness or
  22   ambiguity.”
  23             In our meet and confers, and now in this document, Plaintiff requests
  24   responses to Interrogatories without objections.
  25             DEFENDANTS’ RESPONSES
  26                   Defendants adequately provided a response to this Interrogatory.
  27   From what can be discerned, Plaintiff is moving to compel Defendants to respond
  28   without objections. There is simply no authority for this argument. See


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    1   Fed.R.Civ.P. Rule 33(b)(4). Accordingly, the motion to compel as to this request
    2   should be denied.
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   13             III. Supervisory Defendants Baca, Burns, Cruz, Cavanaugh
   14             A. Objections limited to on the basis of dismissal.
   15   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   16             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   17   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   18   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   19   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   20   states that the supervisory and municipal liability claims are ordered bifurcated.
   21   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   22   Document No. 161, a minute order in which the Court grants judgment as a
   23   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
   24   liability. Because the third and fourth claims were bifurcated pursuant to the
   25   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   26   for those claims should they proceed to trial. Thus, Document #133 pertained
   27   only to the claims that were not bifurcated and did not encompass defendants
   28   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not


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    1   object to Document 161 and did not address this issue on appeal. The Seventh
    2   Amendment and the Federal Rules of Civil Procedure incorporate the principle
    3   that cases be decided on their merits. Defendants’ construction of Document #133
    4   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
    5   these defendants are still defendants in this action.
    6             In our meet and confers, and now in this document, Plaintiff requests
    7   responses to RFAs without objections.
    8             In our meet and confers, and now in this document, Plaintiff requests
    9   responses to Interrogatories without objections.
   10             DEFENDANTS’ RESPONSES
   11             This issue is premature as the motion for clarification of the status of the
   12   Supervisor Defendants is pending before the District Court. Further, Defendants
   13   have requested that the Monell and supervisor liability claims be bifurcated for
   14   trial with discovery stayed pending the outcome of the liability phase.
   15             Following the Parties meet and confer efforts and the informal discovery
   16   conferences, this Court recommended that Plaintiff file a motion for clarification
   17   with an ex parte application shortening time for the motion to be heard. On June
   18   2, 2017, during the last informal discovery conference, the Court indicated that
   19   after conferring with the District Court, the District Court generally stays all
   20   discovery on claims relating to supervisory liability and Monell liability pending
   21   the outcome of the underlying use of force claim. Defendants have requested the
   22   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
   23   Supervisory Defendants is premature and may be mooted pending the outcome of
   24   Plaintiff’s motion, set to be heard on July 3, 2017.
   25             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   26   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   27   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   28   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have


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    1   been served and appeared. All other parties named in the pleadings and not
    2   identified in the preceding paragraphs are now dismissed.”
    3             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
    4   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
    5   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
    6   Pre-Trial dates for the re-trial of this matter.
    7             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
    8   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
    9   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   10   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   11   this stipulation. Several of the requests are overbroad for the instant action. The
   12   Individual Supervisor Defendants objected to the discovery requests on the basis
   13   that they have been dismissed since they were not identified in the March 21, 2014
   14   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   15   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   16   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   17   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   18   and not identified in the preceding paragraphs are now dismissed” and the Order
   19   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
   20             Plaintiff contends that the Supervisor Defendants have not been dismissed
   21   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
   22   Based on the plain language of paragraph 1 contained in the Final Pretrial
   23   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
   24   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
   25   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   26   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   27   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   28



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    1             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
    2   Supervisory Defendants is premature and may become unnecessary pending the
    3   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
    4   2017.
    5
    6             Requests for Admission, Set One: Cruz and Cavanaugh 0426
    7   Substitute Cavanaugh For Cruz *(Objection for Cavanaugh includes
    8   “deceased.”)
    9   [IDENTICAL] RESPONSE TO REQUEST FOR ADMISSION NO. 1-11:
   10             Objections: Daniel Cruz objects on the basis that he has been dismissed and
   11   is no longer a defendant in this action; accordingly, the requests is improper.
   12   REQUEST FOR ADMISSION NO. 1:
   13             I, Daniel Cruz, set in motion a series of acts by others which I knew or
   14   reasonably should have known would cause others to use unnecessary force
   15   against the plaintiff on May 13, 2009.
   16   REQUEST FOR ADMISSION NO. 2:
   17             The ethical standards of the Los Angeles County Sheriff’s Department
   18   [LASD] in effect on May 13, 2009, required that a deputy intervene when the
   19   deputy witnesses a fellow deputy use unnecessary force against a detainee.
   20   REQUEST FOR ADMISSION NO. 3:
   21             I, Daniel Cruz, knowingly refused to terminate a series of acts by others
   22   which I knew or reasonably should have known would cause others to use
   23   unnecessary force against the plaintiff on May 13, 2009.
   24   REQUEST FOR ADMISSION NO. 4:
   25             Before May 13, 2009, I, Daniel Cruz, was aware that Lt. Mark McCorkle
   26   was in the process of preparing what ultimately became a 7-page report to
   27   Stephen B. Johnson and Robert J. Olmstead, dated November 23, 2009 (a true
   28   and correct copy of which is attached to these requests).


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    1   REQUEST FOR ADMISSION NO. 5:
    2             Before May 13, 2009, I, Daniel Cruz, was aware that LASD used the Force
    3   Documentation protocol (a true and correct copy of which is attached to these
    4   requests) to train deputies.
    5   REQUEST FOR ADMISSION NO. 6:
    6             The objective for use of force against an inmate by a deputy in a custody
    7   (i.e., jail) setting is to gain or maintain control of the inmate.
    8   REQUEST FOR ADMISSION NO. 7:
    9   Force should never be used to punish a pretrial detainee.
   10   REQUEST FOR ADMISSION NO. 8:
   11             Defendant Owens was following Men’s Central Jail longstanding custom
   12   on May 13, 2009, when he used force against plaintiff.
   13   REQUEST FOR ADMISSION NO. 9:
   14             Defendant Kerfoot was following Men’s Central Jail longstanding custom
   15   on May 13, 2009, when he used force against plaintiff.
   16   REQUEST FOR ADMISSION NO. 10:
   17             On May 13, 2009, defendant Owens was responsible for becoming familiar
   18   with the policies and guidelines set by the LASD regarding the use of force.
   19   REQUEST FOR ADMISSION NO. 11:
   20             On May 13, 2009, defendant Kerfoot was responsible for becoming
   21   familiar with the policies and guidelines set by the LASD regarding the use of
   22   force.
   23
   24             Interrogatories, Set One: Baca, Burns, Cruz, Cavanaugh 0427
   25   Substitute Baca, Burns, or Cavanaugh For Cruz *(Objection for Cavanaugh
   26   includes “deceased.”)
   27   [IDENTICAL] RESPONSE TO INTERROGATORY NO. 3, 5, 6, 8, 9:
   28   Objections: Daniel Cruz objects on the basis that he has been dismissed and is no


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    1   longer a defendant in this action; accordingly, the requests is improper.
    2   INTERROGATORY NO. 3:
    3   If your response to Request for Admission No. 3, Set One, is not an unqualified
    4   admission, state all facts upon which you base your responses.
    5   INTERROGATORY NO. 5:
    6             If your response to Request for Admission No. 5, Set One, is not an
    7   unqualified admission, state all facts upon which you base your responses.
    8   INTERROGATORY NO. 6:
    9             If your response to Request for Admission No. 6, Set One, is not an
   10   unqualified admission, state all facts upon which you base your responses.
   11   INTERROGATORY NO. 8:
   12             If your response to Request for Admission No. 8, Set One, is not an
   13   unqualified admission, state all facts upon which you base your responses.
   14   INTERROGATORY NO. 9:
   15             If your response to Request for Admission No. 9, Set One, is not an
   16   unqualified admission, state all facts upon which you base your responses.
   17
   18                            Interrogatories, Set Two Baca 0504
   19   INTERROGATORY NO. 1:
   20             Set forth the following information with respect to each witness who you
   21   expect to call during the course of the trial:
   22             A. His or her name, address, telephone number, occupation, title, and
   23   relationship to the parties, if any.
   24             B. The subject matter for which the witness may be called upon to
   25   testify.
   26             C. The payment or compensation, if any, that has been provided to the
   27   witness.
   28   RESPONSE TO INTERROGATORY NO. 1:


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    1             Objections: Leroy Baca objects on the basis that he has been dismissed and
    2   is no longer a defendant in this action; accordingly, the requests is improper.
    3
    4   REQUESTS FOR PRODUCTION Set One: Burns, Cruz, Cavanaugh 0427
    5   Substitute Burns, or Cavanaugh For Cruz *(Objection for Cavanaugh includes
    6   “deceased.”)
    7   [IDENTICAL] RESPONSE TO REQUEST FOR PRODUCTION NO. 3, 5, 6, 8,
    8   9:
    9             Objections: Daniel Cruz objects on the basis that he has been dismissed and
   10   is no longer a defendant in this action; accordingly, the requests is improper.
   11   REQUEST FOR PRODUCTION NO. 3:
   12             If your response to Request for Admission No. 3, Set One, is not an
   13   unqualified admission, identify all DOCUMENTS and other tangible things that
   14   support your response and state the name, ADDRESS, and telephone number of
   15   the PERSON who has each DOCUMENT or thing.
   16   REQUEST FOR PRODUCTION NO. 5:
   17             If your response to Request for Admission No. 5, Set One, is not an
   18   unqualified admission, identify all DOCUMENTS and other tangible things that
   19   support your response and state the name, ADDRESS, and telephone number of
   20   the PERSON who has each DOCUMENT or thing.
   21   REQUEST FOR PRODUCTION NO. 6:
   22             If your response to Request for Admission No. 6, Set One, is not an
   23   unqualified admission, identify all DOCUMENTS and other tangible things that
   24   support your response and state the name, ADDRESS, and telephone number of
   25   the PERSON who has each DOCUMENT or thing.
   26   REQUEST FOR PRODUCTION NO. 8:
   27   If your response to Request for Admission No. 8, Set One, is not an
   28   unqualified admission, identify all DOCUMENTS and other tangible things that


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    1   support your response and state the name, ADDRESS, and telephone number of
    2   the PERSON who has each DOCUMENT or thing.
    3   REQUEST FOR PRODUCTION NO. 9:
    4             If your response to Request for Admission No. 9, Set One, is not an
    5   unqualified admission, identify all DOCUMENTS and other tangible things that
    6   support your response and state the name, ADDRESS, and telephone number of
    7   the PERSON who has each DOCUMENT or thing.
    8
    9   REQUESTS FOR PRODUCTION Set Two: Baca, Burns, Cruz, 0504
   10   Substitute Baca , Burns or Cavanaugh For Cruz *(Objection for Cavanaugh
   11   includes “deceased.”)
   12   REQUEST FOR PRODUCTION NO. 1:
   13             Identify all exhibits you expect to use at trial.
   14   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
   15             Objections: Daniel Cruz objects on the basis that he has been dismissed and
   16   is no longer a defendant in this action; accordingly, the requests is improper.
   17             B. Objections on the basis of dismissal among other objections
   18
   19             Requests for Admission, Set One: Baca and Burns 0426
   20   Substitute Burns for Baca
   21   REQUEST FOR ADMISSION NO. 1:
   22             I, Leroy Baca, set in motion a series of acts by others which I knew or
   23   reasonably should have known would cause others to use unnecessary force
   24   against the plaintiff on May 13, 2009.
   25   RESPONSE TO REQUEST FOR ADMISSION NO. 1:
   26   Objections: Leroy Baca objects on the basis that he has been dismissed and is no
   27   longer a defendant in this action; accordingly, the requests is improper. Leroy
   28   Baca further objects on the ground that the request is overbroad as to scope and


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    1   time; vague and ambiguous; calls for speculation; calls for an expert medical
    2   opinion.
    3   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
    4             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
    5   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
    6   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
    7   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
    8   states that the supervisory and municipal liability claims are ordered bifurcated.
    9   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   10   Document No. 161, a minute order in which the Court grants judgment as a
   11   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
   12   liability. Because the third and fourth claims were bifurcated pursuant to the
   13   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   14   for those claims should they proceed to trial. Thus, Document #133 pertained
   15   only to the claims that were not bifurcated and did not encompass defendants
   16   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   17   object to Document 161 and did not address this issue on appeal. The Seventh
   18   Amendment and the Federal Rules of Civil Procedure incorporate the principle
   19   that cases be decided on their merits. Defendants’ construction of Document #133
   20   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   21   these defendants are still defendants in this action.
   22             This admission is non-responsive. An admission, denial or specific reason
   23   why, at minimum, a qualified answer has not been provided must be provided.
   24   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   25   request for admission imprecise, he should set forth a qualified answer that fairly
   26   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   27   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   28   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex


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    1   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
    2   is not ground for objection that the request is “ambiguous” unless so ambiguous
    3   that the responding party cannot, in good faith, frame an intelligent reply. Parties
    4   should “admit to the fullest extent possible, and explain in detail why other
    5   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
    6   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
    7   ambiguous has the burden to show such vagueness or ambiguity.”
    8             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    9   490 (2014) (“A party resisting discovery must show specifically how each request
   10   is overly broad, unduly burdensome, or oppressive.”).
   11             You must explain why the request or interrogatory calls for speculation.
   12   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   13   technicalities”).
   14             These requests for admission are asking for a response with regard to the
   15   defendants’ knowledge and therefore are not asking for a speculative answer.
   16             There is no requirement for an expert opinion.
   17             In our meet and confers, and now in this document, Plaintiff requests
   18   responses to RFAs without objections.
   19   DEFENDANTS’ RESPONSES
   20             This issue is premature as the motion for clarification of the status of the
   21   Supervisor Defendants is pending before the District Court. Further, Defendants
   22   have requested that the Monell and supervisor liability claims be bifurcated for
   23   trial with discovery stayed pending the outcome of the liability phase.
   24             Following the Parties meet and confer efforts and the informal discovery
   25   conferences, this Court recommended that Plaintiff file a motion for clarification
   26   with an ex parte application shortening time for the motion to be heard. On June
   27   2, 2017, during the last informal discovery conference, the Court indicated that
   28   after conferring with the District Court, the District Court generally stays all


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    1   discovery on claims relating to supervisory liability and Monell liability pending
    2   the outcome of the underlying use of force claim. Defendants have requested the
    3   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    4   Supervisory Defendants is premature and may be mooted pending the outcome of
    5   Plaintiff’s motion, set to be heard on July 3, 2017.
    6             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
    7   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
    8   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
    9   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   10   been served and appeared. All other parties named in the pleadings and not
   11   identified in the preceding paragraphs are now dismissed.”
   12             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   13   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   14   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   15   Pre-Trial dates for the re-trial of this matter.
   16             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   17   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   18   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   19   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   20   this stipulation. Several of the requests are overbroad for the instant action. The
   21   Individual Supervisor Defendants objected to the discovery requests on the basis
   22   that they have been dismissed since they were not identified in the March 21, 2014
   23   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   24   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   25   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   26   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   27   and not identified in the preceding paragraphs are now dismissed” and the Order
   28   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).


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    1             Plaintiff contends that the Supervisor Defendants have not been dismissed
    2   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
    3   Based on the plain language of paragraph 1 contained in the Final Pretrial
    4   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
    5   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
    6   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
    7   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
    8   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
    9             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   10   Supervisory Defendants is premature and may become unnecessary pending the
   11   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   12   2017.
   13
   14   REQUEST FOR ADMISSION NO. 2:
   15             The ethical standards of the Los Angeles County Sheriff’s Department
   16   [LASD] in effect on May 13, 2009, required that a deputy intervene when the
   17   deputy witnesses a fellow deputy use unnecessary force against a detainee.
   18   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
   19             Objections: Leroy Baca objects on the basis that he has been dismissed and
   20   is no longer a defendant in this action; accordingly, the requests is improper.
   21   Leroy Baca further objects on the ground that the request is overbroad in scope
   22   and in time, compound, vague and ambiguous; not reasonably calculated to lead
   23   to the discovery of admissible evidence.
   24   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   25             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   26   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   27   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   28   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which


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    1   states that the supervisory and municipal liability claims are ordered bifurcated.
    2   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
    3   Document No. 161, a minute order in which the Court grants judgment as a
    4   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
    5   liability. Because the third and fourth claims were bifurcated pursuant to the
    6   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
    7   for those claims should they proceed to trial. Thus, Document #133 pertained
    8   only to the claims that were not bifurcated and did not encompass defendants
    9   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   10   object to Document 161 and did not address this issue on appeal. The Seventh
   11   Amendment and the Federal Rules of Civil Procedure incorporate the principle
   12   that cases be decided on their merits. Defendants’ construction of Document #133
   13   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   14   these defendants are still defendants in this action.
   15             This admission is non-responsive. An admission, denial or specific reason
   16   why, at minimum, a qualified answer has not been provided must be provided.
   17   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   18   request for admission imprecise, he should set forth a qualified answer that fairly
   19   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   20   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   21   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   22   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   23   is not ground for objection that the request is “ambiguous” unless so ambiguous
   24   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   25   should “admit to the fullest extent possible, and explain in detail why other
   26   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   27   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   28   ambiguous has the burden to show such vagueness or ambiguity.”


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    1             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    2   490 (2014) (“A party resisting discovery must show specifically how each request
    3   is overly broad, unduly burdensome, or oppressive.”).
    4             You must explain why the request or interrogatory calls for speculation.
    5   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
    6   technicalities”).
    7             These requests for admission are asking for a response with regard to the
    8   defendants’ knowledge and therefore are not asking for a speculative answer.
    9             There is no requirement for an expert opinion.
   10             These requests and interrogatories are relevant to the case at hand. U.S. ex
   11   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   12   Heller at 489 (“That a requested document or information will not be admissible
   13   or relevant to the merits of a claim or defense is not a proper objection to
   14   discovery of the document or information under the Federal Rules if the
   15   discovery request is reasonably calculated to lead to the discovery of admissible
   16   evidence.”)
   17             In our meet and confers, and now in this document, Plaintiff requests
   18   responses to RFAs without objections.
   19   DEFENDANTS’ RESPONSES
   20             This issue is premature as the motion for clarification of the status of the
   21   Supervisor Defendants is pending before the District Court. Further, Defendants
   22   have requested that the Monell and supervisor liability claims be bifurcated for
   23   trial with discovery stayed pending the outcome of the liability phase.
   24             Following the Parties meet and confer efforts and the informal discovery
   25   conferences, this Court recommended that Plaintiff file a motion for clarification
   26   with an ex parte application shortening time for the motion to be heard. On June
   27   2, 2017, during the last informal discovery conference, the Court indicated that
   28   after conferring with the District Court, the District Court generally stays all


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    1   discovery on claims relating to supervisory liability and Monell liability pending
    2   the outcome of the underlying use of force claim. Defendants have requested the
    3   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    4   Supervisory Defendants is premature and may be mooted pending the outcome of
    5   Plaintiff’s motion, set to be heard on July 3, 2017.
    6             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
    7   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
    8   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
    9   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   10   been served and appeared. All other parties named in the pleadings and not
   11   identified in the preceding paragraphs are now dismissed.”
   12             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   13   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   14   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   15   Pre-Trial dates for the re-trial of this matter.
   16             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   17   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   18   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   19   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   20   this stipulation. Several of the requests are overbroad for the instant action. The
   21   Individual Supervisor Defendants objected to the discovery requests on the basis
   22   that they have been dismissed since they were not identified in the March 21, 2014
   23   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   24   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   25   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   26   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   27   and not identified in the preceding paragraphs are now dismissed” and the Order
   28   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).


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    1             Plaintiff contends that the Supervisor Defendants have not been dismissed
    2   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
    3   Based on the plain language of paragraph 1 contained in the Final Pretrial
    4   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
    5   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
    6   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
    7   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
    8   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
    9             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   10   Supervisory Defendants is premature and may become unnecessary pending the
   11   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   12   2017.
   13
   14   REQUEST FOR ADMISSION NO. 3:
   15             I, Leroy Baca, knowingly refused to terminate a series of acts by others
   16   which I knew or reasonably should have known would cause others to use
   17   unnecessary force against the plaintiff on May 13, 2009.
   18             Baca
   19   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
   20             Objections: Leroy Baca objects on the basis that he has been dismissed and
   21   is no longer a defendant in this action; accordingly, the requests is improper.
   22   Leroy Baca further objects on the ground that the request is overbroad in scope
   23   and in time, compound, vague and ambiguous; not reasonably calculated to lead
   24   to the discovery of admissible evidence; and calls for a legal conclusion.
   25   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   26             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   27   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   28   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a


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    1   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
    2   states that the supervisory and municipal liability claims are ordered bifurcated.
    3   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
    4   Document No. 161, a minute order in which the Court grants judgment as a
    5   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
    6   liability. Because the third and fourth claims were bifurcated pursuant to the
    7   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
    8   for those claims should they proceed to trial. Thus, Document #133 pertained
    9   only to the claims that were not bifurcated and did not encompass defendants
   10   Baca, Burns, Cavanaugh, Cruz or the County.
   11   Additionally, defendants did not object to Document 161 and did not address this
   12   issue on appeal. The Seventh Amendment and the Federal Rules of Civil
   13   Procedure incorporate the principle that cases be decided on their merits.
   14   Defendants’ construction of Document #133 is empty of any reason or equity.
   15   Additionally, the clerk’s docket reflects that these defendants are still defendants
   16   in this action.
   17             This admission is non-responsive. An admission, denial or specific reason
   18   why, at minimum, a qualified answer has not been provided must be provided.
   19   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   20   request for admission imprecise, he should set forth a qualified answer that fairly
   21   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   22   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   23   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   24   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   25   is not ground for objection that the request is “ambiguous” unless so ambiguous
   26   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   27   should “admit to the fullest extent possible, and explain in detail why other
   28   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.


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    1   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
    2   ambiguous has the burden to show such vagueness or ambiguity.”
    3             If claiming a request or interrogatory is compound, you must explain why
    4   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
    5   avoid responding based on technicalities”). Phrases narrowing the subject matter
    6   of the admission do not create a compound request. The explanatory phrases are
    7   necessary to limit the scope of the request and keep it from being ambiguous.
    8             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    9   490 (2014) (“A party resisting discovery must show specifically how each request
   10   is overly broad, unduly burdensome, or oppressive.”).
   11             You must explain why the request or interrogatory calls for speculation.
   12   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   13   technicalities”). These requests for admission are asking for a response with
   14   regard to the defendants’ knowledge and therefore are not asking for a speculative
   15   answer.
   16             If claiming a request or interrogatory is compound, you must explain why
   17   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   18   avoid responding based on technicalities”). Phrases narrowing the subject matter
   19   of the admission do not create a compound request. The explanatory phrases are
   20   necessary to limit the scope of the request and keep it from being ambiguous.
   21             These requests and interrogatories are relevant to the case at hand. U.S. ex
   22   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   23   Heller at 489 (“That a requested document or information will not be admissible
   24   or relevant to the merits of a claim or defense is not a proper objection to
   25   discovery of the document or information under the Federal Rules if the
   26   discovery request is reasonably calculated to lead to the discovery of admissible
   27   evidence.”)
   28



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    1             Rule 36 permits requests for admission as to the application of law to fact,
    2   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
    3   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
    4   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
    5   permits requests for admission as to “facts, the application of law to fact, or
    6   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
    7             In our meet and confers, and now in this document, Plaintiff requests
    8   responses to RFAs without objections.
    9   DEFENDANTS’ RESPONSES
   10             This issue is premature as the motion for clarification of the status of the
   11   Supervisor Defendants is pending before the District Court. Further, Defendants
   12   have requested that the Monell and supervisor liability claims be bifurcated for
   13   trial with discovery stayed pending the outcome of the liability phase.
   14             Following the Parties meet and confer efforts and the informal discovery
   15   conferences, this Court recommended that Plaintiff file a motion for clarification
   16   with an ex parte application shortening time for the motion to be heard. On June
   17   2, 2017, during the last informal discovery conference, the Court indicated that
   18   after conferring with the District Court, the District Court generally stays all
   19   discovery on claims relating to supervisory liability and Monell liability pending
   20   the outcome of the underlying use of force claim. Defendants have requested the
   21   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
   22   Supervisory Defendants is premature and may be mooted pending the outcome of
   23   Plaintiff’s motion, set to be heard on July 3, 2017.
   24             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   25   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   26   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   27   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   28



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    1   been served and appeared. All other parties named in the pleadings and not
    2   identified in the preceding paragraphs are now dismissed.”
    3             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
    4   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
    5   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
    6   Pre-Trial dates for the re-trial of this matter.
    7             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
    8   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
    9   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   10   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   11   this stipulation. Several of the requests are overbroad for the instant action. The
   12   Individual Supervisor Defendants objected to the discovery requests on the basis
   13   that they have been dismissed since they were not identified in the March 21, 2014
   14   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   15   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   16   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   17   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   18   and not identified in the preceding paragraphs are now dismissed” and the Order
   19   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
   20             Plaintiff contends that the Supervisor Defendants have not been dismissed
   21   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
   22   Based on the plain language of paragraph 1 contained in the Final Pretrial
   23   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
   24   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
   25   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   26   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   27   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   28



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    1             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
    2   Supervisory Defendants is premature and may become unnecessary pending the
    3   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
    4   2017.
    5
    6             Burns
    7   RESPONSE TO REQUEST FOR ADMISSION NO. 3:
    8             Objections: Dennis Burns objects on the basis that he has been dismissed
    9   and is no longer a defendant in this action; accordingly, the requests is improper.
   10   Dennis Burns further objects on the basis that the request calls for speculation and
   11   calls for a legal conclusion.
   12   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   13             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   14   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   15   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   16   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   17   states that the supervisory and municipal liability claims are ordered bifurcated.
   18   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   19   Document No. 161, a minute order in which the Court grants judgment as a
   20   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
   21   liability. Because the third and fourth claims were bifurcated pursuant to the
   22   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   23   for those claims should they proceed to trial. Thus, Document #133 pertained
   24   only to the claims that were not bifurcated and did not encompass defendants
   25   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   26   object to Document 161 and did not address this issue on appeal. The Seventh
   27   Amendment and the Federal Rules of Civil Procedure incorporate the principle
   28   that cases be decided on their merits. Defendants’ construction of Document #133


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    1   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
    2   these defendants are still defendants in this action.
    3             This admission is non-responsive. An admission, denial or specific reason
    4   why, at minimum, a qualified answer has not been provided must be provided.
    5   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
    6   request for admission imprecise, he should set forth a qualified answer that fairly
    7   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
    8   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
    9   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   10   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   11   is not ground for objection that the request is “ambiguous” unless so ambiguous
   12   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   13   should “admit to the fullest extent possible, and explain in detail why other
   14   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   15   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   16   ambiguous has the burden to show such vagueness or ambiguity.”
   17             If claiming a request or interrogatory is compound, you must explain why
   18   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   19   avoid responding based on technicalities”). Phrases narrowing the subject matter
   20   of the admission do not create a compound request. The explanatory phrases are
   21   necessary to limit the scope of the request and keep it from being ambiguous.
   22             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   23   490 (2014) (“A party resisting discovery must show specifically how each request
   24   is overly broad, unduly burdensome, or oppressive.”).
   25             You must explain why the request or interrogatory calls for speculation.
   26   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   27   technicalities”).
   28



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    1             These requests for admission are asking for a response with regard to the
    2   defendants’ knowledge and therefore are not asking for a speculative answer. If
    3   claiming a request or interrogatory is compound, you must explain why and
    4   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
    5   avoid responding based on technicalities”). Phrases narrowing the subject matter
    6   of the admission do not create a compound request. The explanatory phrases are
    7   necessary to limit the scope of the request and keep it from being ambiguous.
    8             These requests and interrogatories are relevant to the case at hand. U.S. ex
    9   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   10   Heller at 489 (“That a requested document or information will not be admissible
   11   or relevant to the merits of a claim or defense is not a proper objection to
   12   discovery of the document or information under the Federal Rules if the
   13   discovery request is reasonably calculated to lead to the discovery of admissible
   14   evidence.”) Rule 36 permits requests for admission as to the application of law to
   15   fact, or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC,
   16   2015 U.S. Dist .Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect
   17   to defendant's objection that request numbers 3-5 call for a legal conclusion, Rule
   18   36 permits requests for admission as to “facts, the application of law to fact, or
   19   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
   20             In our meet and confers, and now in this document, Plaintiff requests
   21   responses to RFAs without objections.
   22   DEFENDANTS’ RESPONSES
   23             This issue is premature as the motion for clarification of the status of the
   24   Supervisor Defendants is pending before the District Court. Further, Defendants
   25   have requested that the Monell and supervisor liability claims be bifurcated for
   26   trial with discovery stayed pending the outcome of the liability phase.
   27             Following the Parties meet and confer efforts and the informal discovery
   28   conferences, this Court recommended that Plaintiff file a motion for clarification


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    1   with an ex parte application shortening time for the motion to be heard. On June
    2   2, 2017, during the last informal discovery conference, the Court indicated that
    3   after conferring with the District Court, the District Court generally stays all
    4   discovery on claims relating to supervisory liability and Monell liability pending
    5   the outcome of the underlying use of force claim. Defendants have requested the
    6   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    7   Supervisory Defendants is premature and may be mooted pending the outcome of
    8   Plaintiff’s motion, set to be heard on July 3, 2017.
    9             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   10   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   11   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   12   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   13   been served and appeared. All other parties named in the pleadings and not
   14   identified in the preceding paragraphs are now dismissed.”
   15             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   16   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   17   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   18   Pre-Trial dates for the re-trial of this matter.
   19             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   20   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   21   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   22   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   23   this stipulation. Several of the requests are overbroad for the instant action. The
   24   Individual Supervisor Defendants objected to the discovery requests on the basis
   25   that they have been dismissed since they were not identified in the March 21, 2014
   26   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   27   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   28   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The


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    1   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
    2   and not identified in the preceding paragraphs are now dismissed” and the Order
    3   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
    4             Plaintiff contends that the Supervisor Defendants have not been dismissed
    5   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
    6   Based on the plain language of paragraph 1 contained in the Final Pretrial
    7   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
    8   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
    9   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   10   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   11   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   12             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   13   Supervisory Defendants is premature and may become unnecessary pending the
   14   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   15   2017.
   16
   17   REQUEST FOR ADMISSION NO. 4:
   18             Before May 13, 2009, I, Leroy Baca, was aware that Lt. Mark McCorkle
   19   was in the process of preparing what ultimately became a 7-page report to
   20   Stephen B. Johnson and Robert J. Olmstead, dated November 23, 2009 (a true
   21   and correct copy of which is attached to these requests).
   22   RESPONSE TO REQUEST FOR ADMISSION NO. 4:
   23             Objections: Leroy Baca objects on the basis that he has been dismissed and
   24   is no longer a defendant in this action; accordingly, the requests is improper.
   25   Leroy Baca further objects on the ground that the request is vague and
   26   ambiguous.
   27   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   28



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    1             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
    2   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
    3   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
    4   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
    5   states that the supervisory and municipal liability claims are ordered bifurcated.
    6   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
    7   Document No. 161, a minute order in which the Court grants judgment as a
    8   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
    9   liability. Because the third and fourth claims were bifurcated pursuant to the
   10   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   11   for those claims should they proceed to trial. Thus, Document #133 pertained
   12   only to the claims that were not bifurcated and did not encompass defendants
   13   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   14   object to Document 161 and did not address this issue on appeal. The Seventh
   15   Amendment and the Federal Rules of Civil Procedure incorporate the principle
   16   that cases be decided on their merits. Defendants’ construction of Document #133
   17   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   18   these defendants are still defendants in this action.
   19             This admission is non-responsive. An admission, denial or specific reason
   20   why, at minimum, a qualified answer has not been provided must be provided.
   21   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   22   request for admission imprecise, he should set forth a qualified answer that fairly
   23   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   24   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   25   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   26   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   27   is not ground for objection that the request is “ambiguous” unless so ambiguous
   28   that the responding party cannot, in good faith, frame an intelligent reply. Parties


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    1   should “admit to the fullest extent possible, and explain in detail why other
    2   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
    3   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
    4   ambiguous has the burden to show such vagueness or ambiguity.”
    5             In our meet and confers, and now in this document, Plaintiff requests
    6   responses to RFAs without objections.
    7   DEFENDANTS’ RESPONSES
    8             This issue is premature as the motion for clarification of the status of the
    9   Supervisor Defendants is pending before the District Court. Further, Defendants
   10   have requested that the Monell and supervisor liability claims be bifurcated for
   11   trial with discovery stayed pending the outcome of the liability phase.
   12             Following the Parties meet and confer efforts and the informal discovery
   13   conferences, this Court recommended that Plaintiff file a motion for clarification
   14   with an ex parte application shortening time for the motion to be heard. On June
   15   2, 2017, during the last informal discovery conference, the Court indicated that
   16   after conferring with the District Court, the District Court generally stays all
   17   discovery on claims relating to supervisory liability and Monell liability pending
   18   the outcome of the underlying use of force claim. Defendants have requested the
   19   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
   20   Supervisory Defendants is premature and may be mooted pending the outcome of
   21   Plaintiff’s motion, set to be heard on July 3, 2017.
   22             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   23   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   24   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   25   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   26   been served and appeared. All other parties named in the pleadings and not
   27   identified in the preceding paragraphs are now dismissed.”
   28



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    1             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
    2   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
    3   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
    4   Pre-Trial dates for the re-trial of this matter.
    5             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
    6   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
    7   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
    8   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
    9   this stipulation. Several of the requests are overbroad for the instant action. The
   10   Individual Supervisor Defendants objected to the discovery requests on the basis
   11   that they have been dismissed since they were not identified in the March 21, 2014
   12   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   13   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   14   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   15   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   16   and not identified in the preceding paragraphs are now dismissed” and the Order
   17   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
   18             Plaintiff contends that the Supervisor Defendants have not been dismissed
   19   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
   20   Based on the plain language of paragraph 1 contained in the Final Pretrial
   21   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
   22   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
   23   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   24   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   25   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   26             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   27   Supervisory Defendants is premature and may become unnecessary pending the
   28



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    1   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
    2   2017.
    3
    4   REQUEST FOR ADMISSION NO. 5:
    5             Before May 13, 2009, I, Leroy Baca, was aware that LASD used the Force
    6   Documentation protocol (a true and correct copy of which is attached to these
    7   requests) to train deputies.
    8   RESPONSE TO REQUEST FOR ADMISSION NO. 5:
    9             Objections: Leroy Baca objects on the basis that he has been dismissed and
   10   is no longer a defendant in this action; accordingly, the requests is improper.
   11   Leroy Baca further objects on the ground that the request is overbroad as to scope
   12   and time; vague and ambiguous; calls for a legal conclusion; compound.
   13   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   14             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   15   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   16   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   17   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   18   states that the supervisory and municipal liability claims are ordered bifurcated.
   19   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   20   Document No. 161, a minute order in which the Court grants judgment as a
   21   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
   22   liability. Because the third and fourth claims were bifurcated pursuant to the
   23   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   24   for those claims should they proceed to trial. Thus, Document #133 pertained
   25   only to the claims that were not bifurcated and did not encompass defendants
   26   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   27   object to Document 161 and did not address this issue on appeal. The Seventh
   28   Amendment and the Federal Rules of Civil Procedure incorporate the principle


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    1   that cases be decided on their merits. Defendants’ construction of Document #133
    2   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
    3   these defendants are still defendants in this action.
    4             This admission is non-responsive. An admission, denial or specific reason
    5   why, at minimum, a qualified answer has not been provided must be provided.
    6   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
    7   request for admission imprecise, he should set forth a qualified answer that fairly
    8   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
    9   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   10   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   11   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   12   is not ground for objection that the request is “ambiguous” unless so ambiguous
   13   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   14   should “admit to the fullest extent possible, and explain in detail why other
   15   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   16   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   17   ambiguous has the burden to show such vagueness or ambiguity.”
   18             If claiming a request or interrogatory is compound, you must explain why
   19   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   20   avoid responding based on technicalities”). Phrases narrowing the subject matter
   21   of the admission do not create a compound request. The explanatory phrases are
   22   necessary to limit the scope of the request and keep it from being ambiguous.
   23             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   24   490 (2014) (“A party resisting discovery must show specifically how each request
   25   is overly broad, unduly burdensome, or oppressive.”).
   26             If claiming a request or interrogatory is compound, you must explain why
   27   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   28   avoid responding based on technicalities”). Phrases narrowing the subject matter


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    1   of the admission do not create a compound request. The explanatory phrases are
    2   necessary to limit the scope of the request and keep it from being ambiguous.
    3             Rule 36 permits requests for admission as to the application of law to fact,
    4   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
    5   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
    6   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
    7   permits requests for admission as to “facts, the application of law to fact, or
    8   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
    9             In our meet and confers, and now in this document, Plaintiff requests
   10   responses to RFAs without objections.
   11   REQUEST FOR ADMISSION NO. 6:
   12             The objective for use of force against an inmate by a deputy in a custody
   13   (i.e., jail) setting is to gain or maintain control of the inmate.
   14   RESPONSE TO REQUEST FOR ADMISSION NO. 6:
   15             Objections: Leroy Baca objects on the basis that he has been dismissed and
   16   is no longer a defendant in this action; accordingly, the requests is improper.
   17   Leroy Baca further objects on the ground that the request is vague and ambiguous
   18   as to "objective," "use of force," and "control"; overbroad as to scope and time;
   19   compound; calls for a legal conclusion.
   20   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   21             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   22   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   23   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   24   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   25   states that the supervisory and municipal liability claims are ordered bifurcated.
   26   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   27   Document No. 161, a minute order in which the Court grants judgment as a
   28   matter of law on plaintiff’s third and fourth claims for supervisory and municipal


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    1   liability. Because the third and fourth claims were bifurcated pursuant to the
    2   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
    3   for those claims should they proceed to trial. Thus, Document #133 pertained
    4   only to the claims that were not bifurcated and did not encompass defendants
    5   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
    6   object to Document 161 and did not address this issue on appeal. The Seventh
    7   Amendment and the Federal Rules of Civil Procedure incorporate the principle
    8   that cases be decided on their merits. Defendants’ construction of Document #133
    9   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   10   these defendants are still defendants in this action.
   11             This admission is non-responsive. An admission, denial or specific reason
   12   why, at minimum, a qualified answer has not been provided must be provided.
   13   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   14   request for admission imprecise, he should set forth a qualified answer that fairly
   15   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   16   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   17   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   18   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   19   is not ground for objection that the request is “ambiguous” unless so ambiguous
   20   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   21   should “admit to the fullest extent possible, and explain in detail why other
   22   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   23   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   24   ambiguous has the burden to show such vagueness or ambiguity.”
   25             If claiming a request or interrogatory is compound, you must explain why
   26   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   27   avoid responding based on technicalities”). Phrases narrowing the subject matter
   28



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    1   of the admission do not create a compound request. The explanatory phrases are
    2   necessary to limit the scope of the request and keep it from being ambiguous.
    3             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    4   490 (2014) (“A party resisting discovery must show specifically how each request
    5   is overly broad, unduly burdensome, or oppressive.”).
    6             If claiming a request or interrogatory is compound, you must explain why
    7   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
    8   avoid responding based on technicalities”). Phrases narrowing the subject matter
    9   of the admission do not create a compound request. The explanatory phrases are
   10   necessary to limit the scope of the request and keep it from being ambiguous.
   11             Rule 36 permits requests for admission as to the application of law to fact,
   12   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
   13   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
   14   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
   15   permits requests for admission as to “facts, the application of law to fact, or
   16   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.)
   17             In our meet and confers, and now in this document, Plaintiff requests
   18   responses to RFAs without objections.
   19   DEFENDANTS’ RESPONSES
   20             This issue is premature as the motion for clarification of the status of the
   21   Supervisor Defendants is pending before the District Court. Further, Defendants
   22   have requested that the Monell and supervisor liability claims be bifurcated for
   23   trial with discovery stayed pending the outcome of the liability phase.
   24             Following the Parties meet and confer efforts and the informal discovery
   25   conferences, this Court recommended that Plaintiff file a motion for clarification
   26   with an ex parte application shortening time for the motion to be heard. On June
   27   2, 2017, during the last informal discovery conference, the Court indicated that
   28   after conferring with the District Court, the District Court generally stays all


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    1   discovery on claims relating to supervisory liability and Monell liability pending
    2   the outcome of the underlying use of force claim. Defendants have requested the
    3   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    4   Supervisory Defendants is premature and may be mooted pending the outcome of
    5   Plaintiff’s motion, set to be heard on July 3, 2017.
    6             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
    7   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
    8   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
    9   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   10   been served and appeared. All other parties named in the pleadings and not
   11   identified in the preceding paragraphs are now dismissed.”
   12             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   13   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   14   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   15   Pre-Trial dates for the re-trial of this matter.
   16             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   17   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   18   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   19   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   20   this stipulation. Several of the requests are overbroad for the instant action. The
   21   Individual Supervisor Defendants objected to the discovery requests on the basis
   22   that they have been dismissed since they were not identified in the March 21, 2014
   23   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   24   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   25   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   26   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   27   and not identified in the preceding paragraphs are now dismissed” and the Order
   28   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).


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    1             Plaintiff contends that the Supervisor Defendants have not been dismissed
    2   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
    3   Based on the plain language of paragraph 1 contained in the Final Pretrial
    4   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
    5   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
    6   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
    7   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
    8   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
    9             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   10   Supervisory Defendants is premature and may become unnecessary pending the
   11   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   12   2017.
   13
   14   REQUEST FOR ADMISSION NO. 7:
   15             Force should never be used to punish a pretrial detainee.
   16   RESPONSE TO REQUEST FOR ADMISSION NO. 7:
   17             Objections: Leroy Baca objects on the basis that he has been dismissed and
   18   is no longer a defendant in this action; accordingly, the requests is improper.
   19   Leroy Baca further objects on the ground that the request is vague and ambiguous
   20   as to "force" and "punish"; overbroad as to scope and time; not reasonably
   21   calculated to lead to the discovery of admissible evidence.
   22   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   23             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   24   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   25   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   26   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   27   states that the supervisory and municipal liability claims are ordered bifurcated.
   28   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by


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    1   Document No. 161, a minute order in which the Court grants judgment as a
    2   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
    3   liability. Because the third and fourth claims were bifurcated pursuant to the
    4   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
    5   for those claims should they proceed to trial. Thus, Document #133 pertained
    6   only to the claims that were not bifurcated and did not encompass defendants
    7   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
    8   object to Document 161 and did not address this issue on appeal. The Seventh
    9   Amendment and the Federal Rules of Civil Procedure incorporate the principle
   10   that cases be decided on their merits. Defendants’ construction of Document #133
   11   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   12   these defendants are still defendants in this action.
   13             This admission is non-responsive. An admission, denial or specific reason
   14   why, at minimum, a qualified answer has not been provided must be provided.
   15   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   16   request for admission imprecise, he should set forth a qualified answer that fairly
   17   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   18   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   19   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   20   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   21   is not ground for objection that the request is “ambiguous” unless so ambiguous
   22   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   23   should “admit to the fullest extent possible, and explain in detail why other
   24   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   25   675, 694 (D. Kan. 2000) (“The
   26   party objecting to discovery as vague or ambiguous has the burden to show such
   27   vagueness or ambiguity.” If claiming a request or interrogatory is compound, you
   28   must explain why and provide an answer as possible. U.S. ex rel. Englund at 684


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    1   (“A party may not avoid responding based on technicalities”). Phrases narrowing
    2   the subject matter of the admission do not create a compound request. The
    3   explanatory phrases are necessary to limit the scope of the request and keep it
    4   from being ambiguous.
    5             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    6   490 (2014) (“A party resisting discovery must show specifically how each request
    7   is overly broad, unduly burdensome, or oppressive.”).
    8             These requests and interrogatories are relevant to the case at hand. U.S. ex
    9   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   10   Heller at 489 (“That a requested document or information will not be admissible
   11   or relevant to the merits of a claim or defense is not a proper objection to
   12   discovery of the document or information under the Federal Rules if the
   13   discovery request is reasonably calculated to lead to the discovery of admissible
   14   evidence.”)
   15             In our meet and confers, and now in this document, Plaintiff requests
   16   responses to RFAs without objections.
   17   DEFENDANTS’ RESPONSES
   18             This issue is premature as the motion for clarification of the status of the
   19   Supervisor Defendants is pending before the District Court. Further, Defendants
   20   have requested that the Monell and supervisor liability claims be bifurcated for
   21   trial with discovery stayed pending the outcome of the liability phase.
   22             Following the Parties meet and confer efforts and the informal discovery
   23   conferences, this Court recommended that Plaintiff file a motion for clarification
   24   with an ex parte application shortening time for the motion to be heard. On June
   25   2, 2017, during the last informal discovery conference, the Court indicated that
   26   after conferring with the District Court, the District Court generally stays all
   27   discovery on claims relating to supervisory liability and Monell liability pending
   28   the outcome of the underlying use of force claim. Defendants have requested the


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    1   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    2   Supervisory Defendants is premature and may be mooted pending the outcome of
    3   Plaintiff’s motion, set to be heard on July 3, 2017.
    4             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
    5   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
    6   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
    7   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
    8   been served and appeared. All other parties named in the pleadings and not
    9   identified in the preceding paragraphs are now dismissed.”
   10             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   11   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   12   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   13   Pre-Trial dates for the re-trial of this matter.
   14             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   15   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   16   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   17   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   18   this stipulation. Several of the requests are overbroad for the instant action. The
   19   Individual Supervisor Defendants objected to the discovery requests on the basis
   20   that they have been dismissed since they were not identified in the March 21, 2014
   21   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   22   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   23   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   24   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   25   and not identified in the preceding paragraphs are now dismissed” and the Order
   26   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
   27             Plaintiff contends that the Supervisor Defendants have not been dismissed
   28   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).


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    1   Based on the plain language of paragraph 1 contained in the Final Pretrial
    2   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
    3   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
    4   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
    5   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
    6   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
    7             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
    8   Supervisory Defendants is premature and may become unnecessary pending the
    9   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   10   2017.
   11
   12   REQUEST FOR ADMISSION NO. 8:
   13             Defendant Owens was following Men’s Central Jail longstanding custom
   14   on May 13, 2009, when he used force against plaintiff.
   15   RESPONSE TO REQUEST FOR ADMISSION NO. 8:
   16             Objections: Leroy Baca objects on the basis that he has been dismissed and
   17   is no longer a defendant in this action; accordingly, the requests is improper.
   18   Leroy Baca further objects on the ground that the request is vague and ambiguous
   19   as to "Men's Central Jail custom" and "force"; assumes facts not in evidence;
   20   compound; calls for a legal conclusion.
   21   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   22             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   23   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   24   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   25   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   26   states that the supervisory and municipal liability claims are ordered bifurcated.
   27   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   28   Document No. 161, a minute order in which the Court grants judgment as a


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    1   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
    2   liability. Because the third and fourth claims were bifurcated pursuant to the
    3   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
    4   for those claims should they proceed to trial. Thus, Document #133 pertained
    5   only to the claims that were not bifurcated and did not encompass defendants
    6   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
    7   object to Document 161 and did not address this issue on appeal. The Seventh
    8   Amendment and the Federal Rules of Civil Procedure incorporate the principle
    9   that cases be decided on their merits. Defendants’ construction of Document #133
   10   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   11   these defendants are still defendants in this action.
   12             This admission is non-responsive. An admission, denial or specific reason
   13   why, at minimum, a qualified answer has not been provided must be provided.
   14   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   15   request for admission imprecise, he should set forth a qualified answer that fairly
   16   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   17   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   18   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   19   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   20   is not ground for objection that the request is “ambiguous” unless so ambiguous
   21   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   22   should “admit to the fullest extent possible, and explain in detail why other
   23   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   24   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   25   ambiguous has the burden to show such vagueness or ambiguity.”
   26             If claiming a request or interrogatory is compound, you must explain why
   27   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   28   avoid responding based on technicalities”). Phrases narrowing the subject matter


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    1   of the admission do not create a compound request. The explanatory phrases are
    2   necessary to limit the scope of the request and keep it from being ambiguous.
    3             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    4   490 (2014) (“A party resisting discovery must show specifically how each request
    5   is overly broad, unduly burdensome, or oppressive.”).
    6             Rule 36 permits requests for admission as to the application of law to fact,
    7   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
    8   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
    9   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
   10   permits requests for admission as to “facts, the application of law to fact, or
   11   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.
   12             An objection assume facts not in evidence is not applicable in discovery as
   13   the whole objective in discovery is to gather information which may not may not
   14   later become evidence. See Heller at 489, U.S. ex rel. Englund at 684 (“A party
   15   may not avoid responding based on technicalities”);
   16             A claim that the request or interrogatory is argumentative must have
   17   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
   18   responding based on technicalities”).
   19             These requests and interrogatories are relevant to the case at hand. U.S. ex
   20   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   21   Heller at 489 (“That a requested document or information will not be admissible
   22   or relevant to the merits of a claim or defense is not a proper objection to
   23   discovery of the document or information under the Federal Rules if the
   24   discovery request is reasonably calculated to lead to the discovery of admissible
   25   evidence.”);
   26             An objection assume facts not in evidence. is not applicable in discovery as
   27
   28



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    1   the whole objective in discovery is to gather information which may not may not
    2   later become evidence. See Heller at 489, U.S. ex rel. Englund at 684 (“A party
    3   may not avoid responding based on technicalities”)
    4             In our meet and confers, and now in this document, Plaintiff requests
    5   responses to RFAs without objections.
    6   DEFENDANTS’ RESPONSES
    7             This issue is premature as the motion for clarification of the status of the
    8   Supervisor Defendants is pending before the District Court. Further, Defendants
    9   have requested that the Monell and supervisor liability claims be bifurcated for
   10   trial with discovery stayed pending the outcome of the liability phase.
   11             Following the Parties meet and confer efforts and the informal discovery
   12   conferences, this Court recommended that Plaintiff file a motion for clarification
   13   with an ex parte application shortening time for the motion to be heard. On June
   14   2, 2017, during the last informal discovery conference, the Court indicated that
   15   after conferring with the District Court, the District Court generally stays all
   16   discovery on claims relating to supervisory liability and Monell liability pending
   17   the outcome of the underlying use of force claim. Defendants have requested the
   18   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
   19   Supervisory Defendants is premature and may be mooted pending the outcome of
   20   Plaintiff’s motion, set to be heard on July 3, 2017.
   21             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   22   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   23   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   24   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   25   been served and appeared. All other parties named in the pleadings and not
   26   identified in the preceding paragraphs are now dismissed.”
   27             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   28   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and


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    1   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
    2   Pre-Trial dates for the re-trial of this matter.
    3             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
    4   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
    5   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
    6   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
    7   this stipulation. Several of the requests are overbroad for the instant action. The
    8   Individual Supervisor Defendants objected to the discovery requests on the basis
    9   that they have been dismissed since they were not identified in the March 21, 2014
   10   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   11   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   12   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   13   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   14   and not identified in the preceding paragraphs are now dismissed” and the Order
   15   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
   16             Plaintiff contends that the Supervisor Defendants have not been dismissed
   17   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
   18   Based on the plain language of paragraph 1 contained in the Final Pretrial
   19   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
   20   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
   21   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   22   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   23   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   24             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   25   Supervisory Defendants is premature and may become unnecessary pending the
   26   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   27   2017.
   28



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    1   REQUEST FOR ADMISSION NO. 9:
    2             Defendant Kerfoot was following Men’s Central Jail longstanding custom
    3   on May 13, 2009, when he used force against plaintiff.
    4   RESPONSE TO REQUEST FOR ADMISSION NO. 9:
    5             Objections: Leroy Baca objects on the basis that he has been dismissed and
    6   is no longer a defendant in this action; accordingly, the requests is improper.
    7   Leroy Baca further objects on the ground that the request is vague and
    8   ambiguous; argumentative; assumes facts not in evidence.
    9   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   10             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   11   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   12   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   13   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   14   states that the supervisory and municipal liability claims are ordered bifurcated.
   15   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   16   Document No. 161, a minute order in which the Court grants judgment as a
   17   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
   18   liability. Because the third and fourth claims were bifurcated pursuant to the
   19   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   20   for those claims should they proceed to trial. Thus, Document #133 pertained
   21   only to the claims that were not bifurcated and did not encompass defendants
   22   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   23   object to Document 161 and did not address this issue on appeal. The Seventh
   24   Amendment and the Federal Rules of Civil Procedure incorporate the principle
   25   that cases be decided on their merits. Defendants’ construction of Document #133
   26   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
   27   these defendants are still defendants in this action.
   28             This admission is non-responsive. An admission, denial or specific reason


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    1   why, at minimum, a qualified answer has not been provided must be provided.
    2   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
    3   request for admission imprecise, he should set forth a qualified answer that fairly
    4   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
    5   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
    6   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
    7   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
    8   is not ground for objection that the request is “ambiguous” unless so ambiguous
    9   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   10   should “admit to the fullest extent possible, and explain in detail why other
   11   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   12   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   13   ambiguous has the burden to show such vagueness or ambiguity.”
   14             If claiming a request or interrogatory is compound, you must explain why
   15   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   16   avoid responding based on technicalities”). Phrases narrowing the subject matter
   17   of the admission do not create a compound request. The explanatory phrases are
   18   necessary to limit the scope of the request and keep it from being ambiguous.
   19             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   20   490 (2014) (“A party resisting discovery must show specifically how each request
   21   is overly broad, unduly burdensome, or oppressive.”).
   22             Rule 36 permits requests for admission as to the application of law to fact,
   23   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
   24   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
   25   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
   26   permits requests for admission as to “facts, the application of law to fact, or
   27   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”. An objection assume facts
   28   not in evidence is not applicable in discovery as the whole objective in discovery


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    1   is to gather information which may not may not later become evidence. See
    2   Heller at 489, U.S. ex rel. Englund at 684 (“A party may not avoid responding
    3   based on technicalities”);
    4             A claim that the request or interrogatory is argumentative must have
    5   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
    6   responding based on technicalities”).
    7             These requests and interrogatories are relevant to the case at hand. U.S. ex
    8   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
    9   Heller at 489 (“That a requested document or information will not be admissible
   10   or relevant to the merits of a claim or defense is not a proper objection to
   11   discovery of the document or information under the Federal Rules if the
   12   discovery request is reasonably calculated to lead to the discovery of admissible
   13   evidence.”); An objection assume facts not in evidence. is not applicable in
   14   discovery as the whole objective in discovery is to gather information which may
   15   not may not later become evidence. See Heller at 489, U.S. ex rel. Englund at 684
   16   (“A party may not avoid responding based on technicalities”)
   17             In our meet and confers, and now in this document, Plaintiff requests
   18   responses to RFAs without objections.
   19   DEFENDANTS’ RESPONSES
   20             This issue is premature as the motion for clarification of the status of the
   21   Supervisor Defendants is pending before the District Court. Further, Defendants
   22   have requested that the Monell and supervisor liability claims be bifurcated for
   23   trial with discovery stayed pending the outcome of the liability phase.
   24             Following the Parties meet and confer efforts and the informal discovery
   25   conferences, this Court recommended that Plaintiff file a motion for clarification
   26   with an ex parte application shortening time for the motion to be heard. On June
   27   2, 2017, during the last informal discovery conference, the Court indicated that
   28   after conferring with the District Court, the District Court generally stays all


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    1   discovery on claims relating to supervisory liability and Monell liability pending
    2   the outcome of the underlying use of force claim. Defendants have requested the
    3   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    4   Supervisory Defendants is premature and may be mooted pending the outcome of
    5   Plaintiff’s motion, set to be heard on July 3, 2017.
    6             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
    7   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
    8   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
    9   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   10   been served and appeared. All other parties named in the pleadings and not
   11   identified in the preceding paragraphs are now dismissed.”
   12             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   13   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   14   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   15   Pre-Trial dates for the re-trial of this matter.
   16             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   17   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   18   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   19   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   20   this stipulation. Several of the requests are overbroad for the instant action. The
   21   Individual Supervisor Defendants objected to the discovery requests on the basis
   22   that they have been dismissed since they were not identified in the March 21, 2014
   23   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   24   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   25   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   26   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   27   and not identified in the preceding paragraphs are now dismissed” and the Order
   28   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).


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    1             Plaintiff contends that the Supervisor Defendants have not been dismissed
    2   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
    3   Based on the plain language of paragraph 1 contained in the Final Pretrial
    4   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
    5   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
    6   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
    7   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
    8   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
    9             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   10   Supervisory Defendants is premature and may become unnecessary pending the
   11   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   12   2017.
   13
   14   REQUEST FOR ADMISSION NO. 10:
   15             On May 13, 2009, defendant Owens was responsible for becoming familiar
   16   with the policies and guidelines set by the LASD regarding the use of force.
   17   RESPONSE TO REQUEST FOR ADMISSION NO. 10:
   18             Objections: Leroy Baca objects on the basis that he has been dismissed and
   19   is no longer a defendant in this action; accordingly, the requests is improper.
   20   Leroy Baca further objects on the ground that the request is vague and
   21   ambiguous; overbroad as to scope; compound.
   22   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   23             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   24   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   25   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   26   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   27   states that the supervisory and municipal liability claims are ordered bifurcated.
   28   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by


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    1   Document No. 161, a minute order in which the Court grants judgment as a
    2   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
    3   liability. Because the third and fourth claims were bifurcated pursuant to the
    4   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
    5   for those claims should they proceed to trial. Thus, Document #133 pertained
    6   only to the claims that were not bifurcated and did not encompass defendants
    7   Baca, Burns, Cavanaugh, Cruz or the County.
    8   Additionally, defendants did not object to Document 161 and did not address this
    9   issue on appeal. The Seventh Amendment and the Federal Rules of Civil
   10   Procedure incorporate the principle that cases be decided on their merits.
   11   Defendants’ construction of Document #133 is empty of any reason or equity.
   12   Additionally, the clerk’s docket reflects that these defendants are still defendants
   13   in this action.
   14             This admission is non-responsive. An admission, denial or specific reason
   15   why, at minimum, a qualified answer has not been provided must be provided.
   16   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   17   request for admission imprecise, he should set forth a qualified answer that fairly
   18   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   19   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   20   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   21   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   22   is not ground for objection that the request is “ambiguous” unless so ambiguous
   23   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   24   should “admit to the fullest extent possible, and explain in detail why other
   25   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   26   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   27   ambiguous has the burden to show such vagueness or ambiguity.”
   28



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    1             If claiming a request or interrogatory is compound, you must explain why
    2   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
    3   avoid responding based on technicalities”). Phrases narrowing the subject matter
    4   of the admission do not create a compound request. The explanatory phrases are
    5   necessary to limit the scope of the request and keep it from being ambiguous.
    6   Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    7   490 (2014) (“A party resisting discovery must show specifically how each request
    8   is overly broad, unduly burdensome, or oppressive.”).
    9             Rule 36 permits requests for admission as to the application of law to fact,
   10   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
   11   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to
   12   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
   13   permits requests for admission as to “facts, the application of law to fact, or
   14   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”.
   15             An objection assume facts not in evidence is not applicable in discovery as
   16   the whole objective in discovery is to gather information which may not may not
   17   later become evidence. See Heller at 489, U.S. ex rel. Englund at 684 (“A party
   18   may not avoid responding based on technicalities”);
   19             A claim that the request or interrogatory is argumentative must have
   20   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
   21   responding based on technicalities”).
   22             These requests and interrogatories are relevant to the case at hand. U.S. ex
   23   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   24   Heller at 489 (“That a requested document or information will not be admissible
   25   or relevant to the merits of a claim or defense is not a proper objection to
   26   discovery of the document or information under the Federal Rules if the
   27   discovery request is reasonably calculated to lead to the discovery of admissible
   28   evidence.”);


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    1             An objection assume facts not in evidence. is not applicable in discovery as
    2   the whole objective in discovery is to gather information which may not may not
    3   later become evidence. See Heller at 489, U.S. ex rel. Englund at 684 (“A party
    4   may not avoid responding based on technicalities”)
    5   In our meet and confers, and now in this document, Plaintiff requests
    6   responses to RFAs without objections.
    7   DEFENDANTS’ RESPONSES
    8             This issue is premature as the motion for clarification of the status of the
    9   Supervisor Defendants is pending before the District Court. Further, Defendants
   10   have requested that the Monell and supervisor liability claims be bifurcated for
   11   trial with discovery stayed pending the outcome of the liability phase.
   12             Following the Parties meet and confer efforts and the informal discovery
   13   conferences, this Court recommended that Plaintiff file a motion for clarification
   14   with an ex parte application shortening time for the motion to be heard. On June
   15   2, 2017, during the last informal discovery conference, the Court indicated that
   16   after conferring with the District Court, the District Court generally stays all
   17   discovery on claims relating to supervisory liability and Monell liability pending
   18   the outcome of the underlying use of force claim. Defendants have requested the
   19   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
   20   Supervisory Defendants is premature and may be mooted pending the outcome of
   21   Plaintiff’s motion, set to be heard on July 3, 2017.
   22             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   23   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   24   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   25   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   26   been served and appeared. All other parties named in the pleadings and not
   27   identified in the preceding paragraphs are now dismissed.”
   28



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    1             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
    2   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
    3   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
    4   Pre-Trial dates for the re-trial of this matter.
    5             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
    6   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
    7   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
    8   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
    9   this stipulation. Several of the requests are overbroad for the instant action. The
   10   Individual Supervisor Defendants objected to the discovery requests on the basis
   11   that they have been dismissed since they were not identified in the March 21, 2014
   12   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a
   13   “pretrial order generally supersedes the pleadings, and the parties are bound by its
   14   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
   15   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
   16   and not identified in the preceding paragraphs are now dismissed” and the Order
   17   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
   18             Plaintiff contends that the Supervisor Defendants have not been dismissed
   19   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
   20   Based on the plain language of paragraph 1 contained in the Final Pretrial
   21   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
   22   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
   23   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   24   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   25   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   26             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   27   Supervisory Defendants is premature and may become unnecessary pending the
   28



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    1   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
    2   2017.
    3
    4   REQUEST FOR ADMISSION NO. 11:
    5             On May 13, 2009, defendant Kerfoot was responsible for becoming
    6   familiar with the policies and guidelines set by the LASD regarding the use of
    7   force.
    8   RESPONSE TO REQUEST FOR ADMISSION NO. 11:
    9             Objections: Leroy Baca objects on the basis that he has been dismissed and
   10   is no longer a defendant in this action; accordingly, the requests is improper.
   11   Leroy Baca further objects on the ground that the request is vague and
   12   ambiguous; overbroad as to scope; compound.
   13   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   14             Defendants claim that defendants Baca, Burns, Cavanaugh and Cruz have
   15   been dismissed from this action. Defendants are mistaken. To construe ¶ 2 of the
   16   Pretrial Order (Doc. #133) as effecting a dismissal of these defendants is a
   17   manifest injustice. Paragraph 2 s irreconcilably inconsistent with ¶ 13, which
   18   states that the supervisory and municipal liability claims are ordered bifurcated.
   19   Construing ¶ 2 as effecting a complete dismissal of these defendants is refuted by
   20   Document No. 161, a minute order in which the Court grants judgment as a
   21   matter of law on plaintiff’s third and fourth claims for supervisory and municipal
   22   liability. Because the third and fourth claims were bifurcated pursuant to the
   23   defendants’ motion on February 6, 2014, there would be a separate Pretrial Order
   24   for those claims should they proceed to trial. Thus, Document #133 pertained
   25   only to the claims that were not bifurcated and did not encompass defendants
   26   Baca, Burns, Cavanaugh, Cruz or the County. Additionally, defendants did not
   27   object to Document 161 and did not address this issue on appeal. The Seventh
   28   Amendment and the Federal Rules of Civil Procedure incorporate the principle


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    1   that cases be decided on their merits. Defendants’ construction of Document #133
    2   is empty of any reason or equity. Additionally, the clerk’s docket reflects that
    3   these defendants are still defendants in this action.
    4             This admission is non-responsive. An admission, denial or specific reason
    5   why, at minimum, a qualified answer has not been provided must be provided.
    6   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
    7   request for admission imprecise, he should set forth a qualified answer that fairly
    8   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
    9   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   10   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   11   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   12   is not ground for objection that the request is “ambiguous” unless so ambiguous
   13   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   14   should “admit to the fullest extent possible, and explain in detail why other
   15   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
   16   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
   17   ambiguous has the burden to show such vagueness or ambiguity.”
   18             If claiming a request or interrogatory is compound, you must explain why
   19   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   20   avoid responding based on technicalities”). Phrases narrowing the subject matter
   21   of the admission do not create a compound request. The explanatory phrases are
   22   necessary to limit the scope of the request and keep it from being ambiguous.
   23             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   24   490 (2014) (“A party resisting discovery must show specifically how each request
   25   is overly broad, unduly burdensome, or oppressive.”).
   26             Rule 36 permits requests for admission as to the application of law to fact,
   27   or opinions about [such application]. See AndCake, Inc. v. Sans Souci LLC, 2015
   28   U.S.Dist.Lexis 187139 at *9-10 (C.D.Cal. Aug. 15, 2015) (“With respect to


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    1   defendant's objection that request numbers 3-5 call for a legal conclusion, Rule 36
    2   permits requests for admission as to “facts, the application of law to fact, or
    3   opinions about either.” Fed. R. Civ. P. 36(a)(1)(A)”. An objection assume facts
    4   not in evidence is not applicable in discovery as the whole objective in discovery
    5   is to gather information which may not may not later become evidence. See
    6   Heller at 489, U.S. ex rel. Englund at 684 (“A party may not avoid responding
    7   based on technicalities”);
    8             A claim that the request or interrogatory is argumentative must have
    9   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
   10   responding based on technicalities”).
   11             These requests and interrogatories are relevant to the case at hand. U.S. ex
   12   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   13   Heller at 489 (“That a requested document or information will not be admissible
   14   or relevant to the merits of a claim or defense is not a proper objection to
   15   discovery of the document or information under the Federal Rules if the
   16   discovery request is reasonably calculated to lead to the discovery of admissible
   17   evidence.”); An objection assume facts not in evidence. is not applicable in
   18   discovery as the whole objective in discovery is to gather information which may
   19   not may not later become evidence. See Heller at 489, U.S. ex rel. Englund at 684
   20   (“A party may not avoid responding based on technicalities”)
   21             In our meet and confers, and now in this document, Plaintiff requests
   22   responses to RFAs without objections.
   23   DEFENDANTS’ RESPONSES
   24             This issue is premature as the motion for clarification of the status of the
   25   Supervisor Defendants is pending before the District Court. Further, Defendants
   26   have requested that the Monell and supervisor liability claims be bifurcated for
   27   trial with discovery stayed pending the outcome of the liability phase.
   28



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    1             Following the Parties meet and confer efforts and the informal discovery
    2   conferences, this Court recommended that Plaintiff file a motion for clarification
    3   with an ex parte application shortening time for the motion to be heard. On June
    4   2, 2017, during the last informal discovery conference, the Court indicated that
    5   after conferring with the District Court, the District Court generally stays all
    6   discovery on claims relating to supervisory liability and Monell liability pending
    7   the outcome of the underlying use of force claim. Defendants have requested the
    8   same in their Opposition. As a result, Plaintiff’s joint stipulation as to these
    9   Supervisory Defendants is premature and may be mooted pending the outcome of
   10   Plaintiff’s motion, set to be heard on July 3, 2017.
   11             The instant dispute arises from the March 21, 2014 Final Pretrial Conference
   12   Order (Dkt. No. 133)(Exhibit “E”). Paragraph 1 of the Order identifies the
   13   remaining parties as Plaintiff Eric White and Defendants Matthew Kerfoot and
   14   Kasey Owens only. Paragraph 1 further reads that “Each of these parties have
   15   been served and appeared. All other parties named in the pleadings and not
   16   identified in the preceding paragraphs are now dismissed.”
   17             On May 27, 2014, after the trial concluded with a defense verdict, Plaintiff
   18   filed his Notice of Appeal. On January 27, 2017, the Ninth Circuit reversed and
   19   remanded this case. On March 2, 2017, the Court issued its Schedule of Trial and
   20   Pre-Trial dates for the re-trial of this matter.
   21             From March 27, 2017 to April 6, 2017, Plaintiff served various discovery
   22   requests to Marvin Cavanaugh (4 sets), Leroy Baca (5 sets), Matthew Kerfoot (9
   23   sets), Casey Owens (7 sets), Daniel Cruz (4 sets), County of Los Angeles (11 sets),
   24   and Dennis Burns (4 sets), which consists of over 200 requests that is the subject of
   25   this stipulation. Several of the requests are overbroad for the instant action. The
   26   Individual Supervisor Defendants objected to the discovery requests on the basis
   27   that they have been dismissed since they were not identified in the March 21, 2014
   28   Final Pretrial Conference Order (Exhibit E). As the Ninth Circuit recognizes, a


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    1   “pretrial order generally supersedes the pleadings, and the parties are bound by its
    2   contents.” Patterson v. Hughes Aircraft Co., 11 F.3d 948, 950 (9th Cir. 1993). The
    3   Final Pretrial Order explicitly notes that it “All other parties named in the pleadings
    4   and not identified in the preceding paragraphs are now dismissed” and the Order
    5   “shall supersede the pleadings …” (Dkt. 133, ¶¶ 1, 14).
    6             Plaintiff contends that the Supervisor Defendants have not been dismissed
    7   because they were identified in the Judgment After Trial By Jury (Dkt. No. 163).
    8   Based on the plain language of paragraph 1 contained in the Final Pretrial
    9   Conference Order, the Supervisor Defendants are dismissed. In his Motion for
   10   clarification, Plaintiff states that the Final Pretrial Conference Order was a result of
   11   Plaintiff’s attorney’s drafting “error”, that the Supervisor Defendants were
   12   “inadvertently subtracted from paragraph 1 of the Pretrial Conference Order.” Pl.
   13   Mtn. at 7:17; 8:1-4 (Dkt. No. 216).
   14             Based on the foregoing, Plaintiff’s joint stipulation as to these Individual
   15   Supervisory Defendants is premature and may become unnecessary pending the
   16   outcome of Plaintiff’s clarification motion, which is set to be heard on July 3,
   17   2017.
   18
   19                                  IV. County of Los Angeles
   20             A. Request For Production, Set Two 12, 13, 14 and Set Six
   21             Plaintiff requests substantive answers to these requests.
   22   REQUEST FOR PRODUCTION NO. 12.: All findings, conclusions, and
   23   recommendations, made by anyone, in the possession of the defendants,
   24   concerning any use of force incident in which Defendant Owens was involved,
   25   based on any incident occurring during his tenure as an employee of the LASD.
   26   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
   27   Objections: this request is duplicative of Plaintiff's Supplemental Requests for
   28



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    1   Identification and Production of Documents served on March 27, 2017 and is
    2   therefore is unduly burdensome and improper; overbroad; not reasonably
    3   calculated to lead to the discovery of admissible evidence; fails to designate
    4   documents sought with reasonable particularity; vague and ambiguous; seeks
    5   documents protected from disclosure by California Penal Code§§ 832.5 et seq.,
    6   California Evidence Code§§ 1040 et seq., and the Peace Office Bill of Rights,
    7   California Government Code §§ 3300 through 3312 ("POBR"); seeks documents
    8   protected from disclosure by the Health Insurance Portability and Accountability
    9   Act of 1996 ("I-IlPAA"); seeks documents protected from disclosure by the
   10   official information privilege (see, Declaration of Lt. Maxine Kallenberger served
   11   on April 26, 2017).
   12             Without waiving the forgoing objections and subject thereto, Defendant
   13   hereby responds as follows: Subject to a protective order agreed upon by the
   14   parties, Defendant already produced responsive materials in January 2014 as
   15   Bates Nos. 1 through 47978.
   16   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   17             This response is non-responsive. An admission, denial or specific reason
   18   why, at minimum, a qualified answer has not been provided must be provided.
   19   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   20   request for admission imprecise, he should set forth a qualified answer that fairly
   21   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   22   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is
   23   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
   24   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
   25   is not ground for objection that the request is “ambiguous” unless so ambiguous
   26   that the responding party cannot, in good faith, frame an intelligent reply. Parties
   27   should “admit to the fullest extent possible, and explain in detail why other
   28   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.


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    1   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
    2   ambiguous has the burden to show such vagueness or ambiguity.”
    3             If claiming a request or interrogatory is compound, you must explain why
    4   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
    5   avoid responding based on technicalities”). Phrases narrowing the subject matter
    6   of the admission do not create a compound request. The explanatory phrases are
    7   necessary to limit the scope of the request and keep it from being ambiguous.
    8             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
    9   490 (2014) (“A party resisting discovery must show specifically how each request
   10   is overly broad, unduly burdensome, or oppressive.”). You must explain why the
   11   request or interrogatory calls for speculation. U.S. ex rel. Englund at 684 (“A
   12   party may not avoid responding based on technicalities”).
   13             These requests for admission are asking for a response with regard to the
   14   defendants’ knowledge and therefore are not asking for a speculative answer.
   15   If claiming a request or interrogatory is compound, you must explain why and
   16   provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   17   avoid responding based on technicalities”). Phrases narrowing the subject matter
   18   of the admission do not create a compound request. The explanatory phrases are
   19   necessary to limit the scope of the request and keep it from being ambiguous.
   20             These requests and interrogatories are relevant to the case at hand. U.S. ex
   21   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);
   22   Heller at 489 (“That a requested document or information will not be admissible
   23   or relevant to the merits of a claim or defense is not a proper objection to
   24   discovery of the document or information under the Federal Rules if the
   25   discovery request is reasonably calculated to lead to the discovery of admissible
   26   evidence.”);
   27             An objection assume facts not in evidence. is not applicable in discovery as
   28   the whole objective in discovery is to gather information which may not may not


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    1   later become evidence. See Heller at 489, U.S. ex rel. Englund at 684 (“A party
    2   may not avoid responding based on technicalities”);
    3             A claim that the request or interrogatory is argumentative must have
    4   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
    5   responding based on technicalities”).
    6             State privilege law does not govern discovery issues in federal § 1983
    7   cases. See Kerr v. U.S. District Court for the N. Dist. of Cal., 511 F.2d 192, 197
    8   (9th Cir.1975), aff'd, 426 U.S. 394, 96 S.Ct. 2119, 48 L.Ed.2d 725 (1976); Crowe
    9   v. County of San Diego, 242 F.Supp.2d 740, 749–50 (S.D.Cal.2003); Kelly v. City
   10   of San Jose, 114 F.R.D. 653, 655–56 (N.D.Cal.1987); see also Fed.R.Evid. 501;
   11   Miller, 141 F.R.D. at 299. “In civil rights cases brought under federal statutes,
   12   questions of privilege are resolved by federal law.” Hampton v. City of San
   13   Diego, 147 F.R.D. 227, 228, 230 (S.D.Cal.1993) (citing Kerr, 511 F.2d at 197);
   14   Miller, 141 F.R.D. at 298–99 (comparing federal and California discovery rules at
   15   length, finding direct conflicts between them, and holding that federal discovery
   16   rules govern § 1983 civil rights actions). “This theme has been interpreted by the
   17   Ninth Circuit to include the discovery of personnel files, despite claims of state-
   18   created privileges.” Miller, 141 F.R.D. at 297. Bryant v. Armstrong, 285 F.R.D.
   19   596, 604, (S.D.Cal. 2012).
   20             To determine whether information in government personnel files is subject
   21   to the official information privilege, federal courts weigh the potential benefits of
   22   disclosure against the potential disadvantages. Sanchez v. City of Santa Ana, 936
   23   F.2d 1027, 1033–34 (9th Cir.1990). In civil rights cases against corrections
   24   officials, this balancing approach is moderately “pre-weight[ed] in favor of
   25   disclosure.” Kelly, 114 F.R.D. at 661. Before courts engage in this balancing,
   26   however, the party asserting the privilege must make a “substantial threshold
   27   showing.” Soto, 162 F.R.D. at 613. Specifically, the party must serve an objection
   28   to each discovery request that explicitly “invokes the official information


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    1   privilege by name.” Kelly, 114 F.R.D. at 669. The withholding party must also
    2   serve the requesting party a privilege log or an equivalent that specifically
    3   identifies the information that is purportedly protected from disclosure. Hampton,
    4   147 F.R.D. at 230. To support each objection, the party alleging privilege must
    5   submit an affidavit from a responsible official making several specific
    6   affirmations as to the confidentiality of the information. Kelly, 114 F.R.D. at 669–
    7   70. If the nondisclosing party does not meet this initial burden of establishing
    8   cause to apply the privilege, the court must order disclosure of the documents; if
    9   the party meets this initial burden, the court generally conducts an in camera
   10   review of the material and balance each party's interests. Soto, 162 F.R.D. at 613;
   11   Kelly, 114 F.R.D. at 671. Defendants have failed to surmount pass initial
   12   threshold because they have failed to identify the documents with the required
   13   specificity.
   14             A party may not make a blanket assertion of privilege in response to a
   15   discovery request. See, e.g., Fed. R. Civ. Proc. 26(b)(5) (“When a party withholds
   16   information otherwise discoverable under these rules by claiming that it is
   17   privileged or subject to protection as trial preparation material, the party shall
   18   make the claim expressly and shall describe the nature of the documents,
   19   communications, or things not produced or disclosed in a manner that, without
   20   revealing information itself privileged or protected, will enable other parties to
   21   assess the applicability of the privilege or protection”); Lappin v. Gwartney, No.
   22   CIV. A. 99–2292–KHV, 2001 WL 185167, * 4 (D.Kan. Feb.20, 2001) (“A
   23   ‘blanket claim’ as to applicability of the [attorney-client] privilege does not
   24   satisfy the burden of proof”); Fears v. Wal–Mart Stores, Inc., No. 99–2515–JLW.
   25   2000 WL 1679418, * 4 (D.Kan. Oct.13, 2000) (stating that defendant “also
   26   objected on the grounds that the request ‘seeks information protected by
   27   attorney/client privilege and/or attorney work product.’ It did not identify the
   28   claimed privileged or protected documents in any way, either in its initial


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    1   responses or in its response to the Show Cause Order. Nor did it provide a
    2   privilege log to Plaintiff.... The Court ... overrule[s] the objections as to attorney
    3   client privilege and work product protection. As the party asserting the attorney
    4   client privilege and work product immunity, Defendant has the burden to
    5   establish that the privilege/immunity applies. To carry that burden, Defendant
    6   must make a ‘clear showing’ that the asserted objection applies.... [The] party
    7   asserting the objection must ‘describe in detail’ the documents or information
    8   sought to be protected.... A ‘blanket claim’ as to the applicability of the
    9   privilege/work product doctrine does not satisfy the burden of proof”); Eureka
   10   Financial Corp. v. Hartford Accident and Indemnity Co., 136 F.R.D. 179, 182–83
   11   (E.D.Cal.1991) (“Whether a responding party states a general objection to an
   12   entire discovery document on the basis of privilege, or generally asserts a
   13   privilege objection within an individual discovery response, the resulting ‘blanket
   14   objection’ is decidedly improper”); Emerson Electric Co. v. Ouellette, No. Civ.A.
   15   96–364–B, 1998 WL 34088465, * 7 (D.N.H. May 12, 1998) (“... a blanket claim
   16   of privilege is generally an inadequate response to a discovery request”); Glaxo,
   17   Inc. v. Torphram, Inc., No. 95 C 4686, 1996 WL 411487, * 5 (N.D.Ill. July 18,
   18   1996) (“Blanket assertions of privilege are insufficient to avoid discovery;
   19   instead, documents must be described with particularity and must be accompanied
   20   by a particularized assertion of privilege”). Green v. Baca, 219 F.R.D. 485, 491,
   21   (C.D. Cal. 2003). With respect to all privilege claims the documents have not
   22   been sufficiently described for the privilege to be asserted and the privilege
   23   claims are wavied. The HIPAA privilege assertions are meaningless and
   24   frivolous.
   25             It is undisputed that the information sought is relevant. A relevant matter is
   26   "any matter that bears on, or that reasonably could lead to other matters that could
   27   bear on, any issue that is or may be in the case." Oppenheimer Fund, Inc. v.
   28   Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380, 2389, 57 L.Ed. 2d 253 (1978). See,


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    1   e.g., Ninth Circuit Manual of Model Civil Jury Instructions, Nos. 9.3, 9.4, 9.5, 9.6
    2   and 9.7.
    3             The "official information privilege" is insufficient to block disclosure of
    4   the information pursuant to a protective order. See Ramirez v. County of Los
    5   Angeles, 231 F.R.D. 407, 411 (C.D. Cal. 2005). Even if it were an effective
    6   privilege, which it is not (notwithstanding that the defendant has failed to
    7   demonstrate any of the requirements necessary to establish a prima facie case that
    8   this privilege is applicable), a protective order could be fashioned that would
    9   protect the defendant's interests. A general objection that the request seeks
   10   protected information is not sufficient enough to meet the threshold test for
   11   invoking the official information privilege. Soto v. Concord, 162 F.R.D. 603
   12   (N.D.Cal. 1995). The deliberative process privilege (assuming that this is what
   13   the objections, which refer to a "deliberate process privilege," are referring to) is
   14   in no way applicable to this case. See Kelly v. City of San Jose, 114 F.R.D. 653,
   15   658-659 (N.D.Cal. 1987). The Kallenberger declaration is inadequate. It is
   16   conclusory and does not describe the documents with particularity. It relies on
   17   inapplicable state law. It is clear that the interests in justice and disclosure
   18   outweigh any privacy interests articulated by Ms. Kallenberger. See Soto v. City
   19   of Concord, 162 F.R.D. 603, 617 (N.D.Cal. 1995). In our meet and confers, and
   20   now in this document, Plaintiff requests production of documents and a response
   21   specifically stating whether documents have been produced, and if so, the specific
   22   identification of the document, and whether there are any documents being
   23   withheld.
   24             DEFENDANTS’ RESPONSES
   25             The response to this request has already been supplemented on June 15,
   26   2017 as agreed upon by the Parties. The supplemental response states:
   27             Objections: this request is duplicative of Plaintiff’s Supplemental Requests
   28   for Identification and Production of Documents served on March 27, 2017 and is


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    1   therefore is unduly burdensome and improper; this request is overbroad as it
    2   seeks documents regarding incidents that occurred after the incident that is the
    3   subject matter of this action and is not relevant to the Parties’ claim or defense
    4   nor proportional to the needs of the case; seeks documents protected from
    5   disclosure by attorney-client privilege, attorney work product privilege,
    6   California Penal Code §§ 832.5 et seq., California Evidence Code §§ 1040 et seq.,
    7   and the Peace Office Bill of Rights, California Government Code §§ 3300
    8   through 3312 (“POBR”); seeks documents protected from disclosure by the
    9   official information privilege (see, Declaration of Lt. Maxine Kallenberger served
   10   on April 26, 2017). Accordingly, documents regarding incidents that occurred
   11   after the date of the incident in this matter are not produced.
   12             Without waiving the forgoing objections and subject thereto, Defendant
   13   hereby responds as follows: Subject to a protective order agreed upon by the
   14   parties, Defendant already produced all responsive materials from Defendant
   15   Owen’s start of employment up to May 13, 2009 as Bates Nos. 2948 through
   16   3839.
   17             All responsive documents up to and including the date of the incident have
   18   been produced, as clarified in the foregoing supplemental response. The request
   19   for documents regarding incidents that occurred after the date of the incident is
   20   simply not relevant to any party’s claim or defense and not proportion to the need
   21   of the case. See Fed.R.Civ.P. Rule 26(b)(1). Since Defendant has timely and
   22   adequately supplemented this request, the motion to compel as to this request
   23   should be denied. In addition, Defendants have requested that the Monell and
   24   supervisor liability claims be bifurcated for trial with discovery stayed pending
   25   the outcome of the liability phase.
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    1   REQUEST FOR PRODUCTION NO. 13.:
    2             All findings, conclusions, and recommendations, made by anyone, in the
    3   possession of the defendants, concerning any use of force incident in which
    4   Defendant Kerfoot was involved, based on any incident occurring during his
    5   tenure as an employee of the LASD.
    6   RESPONSE TO REQUEST FOR PRODUCTION NO.13:
    7             Objections: this request is duplicative of Plaintiff's Supplemental Requests
    8   for Identification and Production of Documents served on March 27, 2017 and is
    9   therefore is unduly burdensome and improper; overbroad; not reasonably
   10   calculated to lead to the discovery of admissible evidence; seeks documents
   11   protected from disclosure by the official information privilege (see, Declaration
   12   of Lt. Maxine Kallenberger served on April 26, 2017); fails to designate
   13   documents sought with reasonable particularity; vague and ambiguous; seeks
   14   documents protected from disclosure by California Penal Code §§ 832.5 et seq.,
   15   California Evidence Code §§ 1040 et seq., and the Peace Office Bill of Rights,
   16   California Government Code §§ 3300 through 3312 ("POBR"); seeks documents
   17   protected from disclosure by the Health Insurance Portability and Accountability
   18   Act of 1996 ("HIPPA"). Without waiving the forgoing objections and subject
   19   thereto, Defendant hereby responds as follows: Subject to a protective order
   20   agreed upon by the parties, Defendant already produced responsive materials in
   21   January 2014 as Bates Nos. 1 through 47978.
   22   PLAINTIFF’S ARGUMENT FOR DISCLOSURE
   23             This response is non-responsive. An admission, denial or specific reason
   24   why, at minimum, a qualified answer has not been provided must be provided.
   25   See Fed. R.Civ. P. 36(a)(4); “If the responding party finds the wording of a
   26   request for admission imprecise, he should set forth a qualified answer that fairly
   27   meets the substance of the request.” House v. Giant of Md., LLC, 232 F.R.D, 257,
   28   262 (E.D. Va. 2005). You must admit, deny or explain why an objection is


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    1   considered vague and ambiguous and answer to the fullest extent possible. U.S. ex
    2   rel. Englund v. Los Angeles County, 235 F.R.D. 675, 685 (E.D. Cal. 2006) (“[I]t
    3   is not ground for objection that the request is “ambiguous” unless so ambiguous
    4   that the responding party cannot, in good faith, frame an intelligent reply. Parties
    5   should “admit to the fullest extent possible, and explain in detail why other
    6   portions of a request may not be admitted.”); McCoo v. Denny’s Inc., 192 F.R.D.
    7   675, 694 (D. Kan. 2000) (“The party objecting to discovery as vague or
    8   ambiguous has the burden to show such vagueness or ambiguity.”
    9             If claiming a request or interrogatory is compound, you must explain why
   10   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   11   avoid responding based on technicalities”). Phrases narrowing the subject matter
   12   of the admission do not create a compound request. The explanatory phrases are
   13   necessary to limit the scope of the request and keep it from being ambiguous.
   14             Overbroad must be explained. See Heller v. City of Dallas, 303 F.R.D. 466,
   15   490 (2014) (“A party resisting discovery must show specifically how each request
   16   is overly broad, unduly burdensome, or oppressive.”).
   17             You must explain why the request or interrogatory calls for speculation.
   18   U.S. ex rel. Englund at 684 (“A party may not avoid responding based on
   19   technicalities”). These requests for admission are asking for a response with
   20   regard to the defendants’ knowledge and therefore are not asking for a speculative
   21   answer.
   22             If claiming a request or interrogatory is compound, you must explain why
   23   and provide an answer as possible. U.S. ex rel. Englund at 684 (“A party may not
   24   avoid responding based on technicalities”). Phrases narrowing the subject matter
   25   of the admission do not create a compound request. The explanatory phrases are
   26   necessary to limit the scope of the request and keep it from being ambiguous.
   27             These requests and interrogatories are relevant to the case at hand. U.S. ex
   28   rel. Englund at 684 (“A party may not avoid responding based on technicalities”);


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    1   Heller at 489 (“That a requested document or information will not be admissible
    2   or relevant to the merits of a claim or defense is not a proper objection to
    3   discovery of the document or information under the Federal Rules if the
    4   discovery request is reasonably calculated to lead to the discovery of admissible
    5   evidence.”);
    6             An objection assume facts not in evidence. is not applicable in discovery as
    7   the whole objective in discovery is to gather information which may not may not
    8   later become evidence. See Heller at 489, U.S. ex rel. Englund at 684 (“A party
    9   may not avoid responding based on technicalities”);
   10             A claim that the request or interrogatory is argumentative must have
   11   explanation or qualification. U.S. ex rel. Englund at 684 (“A party may not avoid
   12   responding based on technicalities”).
   13             State privilege law does not govern discovery issues in federal § 1983
   14   cases. See Kerr v. U.S. District Court for the N. Dist. of Cal., 511 F.2d 192, 197
   15   (9th Cir.1975), aff'd, 426 U.S. 394, 96 S.Ct. 2119, 48 L.Ed.2d 725 (1976); Crowe
   16   v. County of San Diego, 242 F.Supp.2d 740, 749–50 (S.D.Cal.2003); Kelly v. City
   17   of San Jose, 114 F.R.D. 653, 655–56 (N.D.Cal.1987); see also Fed.R.Evid. 501;
   18   Miller, 141 F.R.D. at 299. “In civil rights cases brought under federal statutes,
   19   questions of privilege are resolved by federal law.” Hampton v. City of San
   20   Diego, 147 F.R.D. 227, 228, 230 (S.D.Cal.1993) (citing Kerr, 511 F.2d at 197);
   21   Miller, 141 F.R.D. at 298–99 (comparing federal and California discovery rules at
   22   length, finding direct conflicts between them, and holding that federal discovery
   23   rules govern § 1983 civil rights actions). “This theme has been interpreted by the
   24   Ninth Circuit to include the discovery of personnel files, despite claims of state-
   25   created privileges.” Miller, 141 F.R.D. at 297. Bryant v. Armstrong, 285 F.R.D.
   26   596, 604, (S.D.Cal. 2012).
   27   13. To determine whether information in government personnel files is subject to
   28   the official information privilege, federal courts weigh the potential benefits of


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    1   disclosure against the potential disadvantages. Sanchez v. City of Santa Ana, 936
    2   F.2d 1027, 1033–34 (9th Cir.1990). In civil rights cases against corrections
    3   officials, this balancing approach is moderately “pre-weight[ed] in favor of
    4   disclosure.” Kelly, 114 F.R.D. at 661. Before courts engage in this balancing,
    5   however, the party asserting the privilege must make a “substantial threshold
    6   showing.” Soto, 162 F.R.D. at 613. Specifically, the party must serve an objection
    7   to each discovery request that explicitly “invokes the official information
    8   privilege by name.” Kelly, 114 F.R.D. at 669. The withholding party must also
    9   serve the requesting party a privilege log or an equivalent that specifically
   10   identifies the information that is purportedly protected from disclosure. Hampton,
   11   147 F.R.D. at 230. To support each objection, the party alleging privilege must
   12   submit an affidavit from a responsible official making several specific
   13   affirmations as to the confidentiality of the information. Kelly, 114 F.R.D. at 669–
   14   70. If the nondisclosing party does not meet this initial burden of establishing
   15   cause to apply the privilege, the court must order disclosure of the documents; if
   16   the party meets this initial burden, the court generally conducts an in camera
   17   review of the material and balance each party's interests. Soto, 162 F.R.D. at 613;
   18   Kelly, 114 F.R.D. at 671. Defendants have failed to surmount pass initial
   19   threshold because they have failed to identify the documents with the required
   20   specificity.
   21             A party may not make a blanket assertion of privilege in response to a
   22   discovery request. See, e.g., Fed. R. Civ. Proc. 26(b)(5) (“When a party withholds
   23   information otherwise discoverable under these rules by claiming that it is
   24   privileged or subject to protection as trial preparation material, the party shall
   25   make the claim expressly and shall describe the nature of the documents,
   26   communications, or things not produced or disclosed in a manner that, without
   27   revealing information itself privileged or protected, will enable other parties to
   28   assess the applicability of the privilege or protection”); Lappin v. Gwartney, No.


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    1   CIV. A. 99–2292–KHV, 2001 WL 185167, * 4 (D.Kan. Feb.20, 2001) (“A
    2   ‘blanket claim’ as to applicability of the [attorney-client] privilege does not
    3   satisfy the burden of proof”); Fears v. Wal–Mart Stores, Inc., No. 99–2515–JLW.
    4   2000 WL 1679418, * 4 (D.Kan. Oct.13, 2000) (stating that defendant “also
    5   objected on the grounds that the request ‘seeks information protected by
    6   attorney/client privilege and/or attorney work product.’ It did not identify the
    7   claimed privileged or protected documents in any way, either in its initial
    8   responses or in its response to the Show Cause Order. Nor did it provide a
    9   privilege log to Plaintiff.... The Court ... overrule[s] the objections as to attorney
   10   client privilege and work product protection. As the party asserting the attorney
   11   client privilege and work product immunity, Defendant has the burden to
   12   establish that the privilege/immunity applies. To carry that burden, Defendant
   13   must make a ‘clear showing’ that the asserted objection applies.... [The] party
   14   asserting the objection must ‘describe in detail’ the documents or information
   15   sought to be protected.... A ‘blanket claim’ as to the applicability of the
   16   privilege/work product doctrine does not satisfy the burden of proof”); Eureka
   17   Financial Corp. v. Hartford Accident and Indemnity Co., 136 F.R.D. 179, 182–83
   18   (E.D.Cal.1991) (“Whether a responding party states a general objection to an
   19   entire discovery document on the basis of privilege, or generally asserts a
   20   privilege objection within an individual discovery response, the resulting ‘blanket
   21   objection’ is decidedly improper”); Emerson Electric Co. v. Ouellette, No. Civ.A.
   22   96–364–B, 1998 WL 34088465, * 7 (D.N.H. May 12, 1998) (“... a blanket claim
   23   of privilege is generally an inadequate response to a discovery request”); Glaxo,
   24   Inc. v. Torphram, Inc., No. 95 C 4686, 1996 WL 411487, * 5 (N.D.Ill. July 18,
   25   1996) (“Blanket assertions of privilege are insufficient to avoid discovery;
   26   instead, documents must be described with particularity and must be accompanied
   27   by a particularized assertion of privilege”). Green v. Baca, 219 F.R.D. 485, 491,
   28   (C.D. Cal. 2003). With respect to all privilege claims the documents have not


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    1   been sufficiently described for the privilege to be asserted and the privilege
    2   claims are wavied. The HIPAA privilege assertions are meaningless and
    3   frivolous.
    4             It is undisputed that the information sought is relevant. A relevant matter is
    5   "any matter that bears on, or that reasonably could lead to other matters that could
    6   bear on, any issue that is or may be in the case." Oppenheimer Fund, Inc. v.
    7   Sanders, 437 U.S. 340, 351, 98 S. Ct. 2380, 2389, 57 L.Ed. 2d 253 (1978). See,
    8   e.g., Ninth Circuit Manual of Model Civil Jury Instructions, Nos. 9.3, 9.4, 9.5, 9.6
    9   and 9.7.
   10             The "official information privilege" is insufficient to block disclosure of
   11   the information pursuant to a protective order. See Ramirez v. County of Los
   12   Angeles, 231 F.R.D. 407, 411 (C.D. Cal. 2005). Even if it were an effective
   13   privilege, which it is not (notwithstanding that the defendant has failed to
   14   demonstrate any of the requirements necessary to establish a prima facie case that
   15   this privilege is applicable), a protective order could be fashioned that would
   16   protect the defendant's interests. A general objection that the request seeks
   17   protected information is not sufficient enough to meet the threshold test for
   18   invoking the official information privilege. Soto v. Concord, 162 F.R.D. 603
   19   (N.D.Cal. 1995). The deliberative process privilege (assuming that this is what
   20   the objections, which refer to a "deliberate process privilege," are referring to) is
   21   in no way applicable to this case. See Kelly v. City of San Jose, 114 F.R.D. 653,
   22   658-659 (N.D.Cal. 1987). The Kallenberger declaration is inadequate. It is
   23   conclusory and does not describe the documents with particularity. It relies on
   24   inapplicable state law. It is clear that the interests in justice and disclosure
   25   outweigh any privacy interests articulated by Ms. Kallenberger. See Soto v. City
   26   of Concord, 162 F.R.D. 603, 617 (N.D.Cal. 1995).
   27             DEFENDANTS’ RESPONSES
   28             The response to this request has already been supplemented on June 15,


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    1   2017 as agreed upon by the Parties. The supplemental response states:
    2             Objections: this request is duplicative of Plaintiff’s Supplemental Requests
    3   for Identification and Production of Documents served on March 27, 2017 and is
    4   therefore is unduly burdensome and improper; this request is overbroad as it
    5   seeks documents regarding incidents that occurred after the incident that is the
    6   subject matter of this action and is not relevant to the Parties’ claim or defense
    7   nor proportional to the needs of the case; seeks documents protected from
    8   disclosure by the official information privilege (see, Declaration of Lt. Maxine
    9   Kallenberger served on April 26, 2017); seeks documents protected from
   10   disclosure by attorney-client privilege, attorney work product privilege, and
   11   California Penal Code §§ 832.5 et seq., California Evidence Code §§ 1040 et seq.,
   12   and the Peace Office Bill of Rights, California Government Code §§ 3300
   13   through 3312 (“POBR”). Accordingly, documents regarding incidents that
   14   occurred after the date of the incident in this matter are not produced.
   15             Without waiving the forgoing objections and subject thereto, Defendant
   16   hereby responds as follows: Subject to a protective order agreed upon by the
   17   parties, Defendant already produced all responsive materials from Defendant
   18   Kerfoot’s start of employment up to May 13, 2009 as Bates Nos. 3840 through
   19   3932.
   20             All responsive documents up to and including the date of the incident have
   21   been produced, as clarified in the foregoing supplemental response. The request
   22   for documents regarding incidents that occurred after the date of the incident is
   23   simply not relevant to any party’s claim or defense and not proportion to the need
   24   of the case. See Fed.R.Civ.P. Rule 26(b)(1). Since Defendant has timely and
   25   adequately supplemented this request, the motion to compel as to this request
   26   should be denied. In addition, Defendants have requested that the Monell and
   27   supervisor liability claims be bifurcated for trial with discovery stayed pending
   28   the outcome of the liability phase.


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   21             B. REQUESTS FOR PRODUCTION Set Two 15-22, Set Three All, Set
   22   Four All and Set Five All
   23             Defendants failed to provide notification whether they are withholding any
   24   documents from this production. Defendants must state whether all documents
   25   have been provided or if any are being withheld.
   26             In our meet and confers, and now in this document, Plaintiff requests
   27   production of documents and a response specifically stating whether documents
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    1   have been produced, and if so, the specific identification of the document, and
    2   whether there are any documents being withheld.
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    8   REQUEST FOR PRODUCTION NO. 23:
    9             All prepared compilations and analyses of personnel complaints and
   10   records of officer misconduct, prepared at any time from OI/01/2004 to the
   11   present, concerning the use of excessive force by members of the LASD in the
   12   jail setting; "compilations or analyses" as used in this request includes the
   13   following:
   14             a. Logs of personnel complaints submitted by arrestees, civilians, civilian
   15   volunteers, inmates, or other members of the LASD;
   16             b. Records of disciplinary action that resulted from an allegation of
   17   misconduct - including suspension of any kind, transfers, or any other formal
   18   disciplinary action;
   19             c. Any written audits or reviews of the use of excessive force by any
   20   members of the LASD, including Internal Affairs Bureau audits or reviews;
   21             d. Compilations, summaries, statistics, breakdowns, analyses, etc. of
   22             complaints against officers regarding the use of excessive force, and
   23   disposition thereof;
   24             e. All annual or other periodic reports prepared by or for the LASD
   25   regarding false arrest by LASD officers; and
   26             f. PPis.
   27   RESPONSE TO REQUEST FOR PRODUCTION NO.23:
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    1   Objections: this request is duplicative of Plaintiff's Supplemental Requests for
    2   Identification and Production ofDocuments served on March 27, 2017 and is
    3   therefore is unduly burdensome and improper; overbroad; not reasonably
    4   calculated to lead to the discovery of admissible evidence; fails to designate
    5   documents sought with reasonable particularity; burdensome; oppressive;
    6   harassing; vague and ambiguous; seeks documents protected from disclosure by
    7   attorney client privilege, work product privilege, California Penal Code§§ 832.5
    8   et seq., California Evidence Code §§ I 040 et seq., and the Peace Office Bill of
    9   Rights, California Government Code§§ 3300 through 3312 ("POBR"); seeks
   10   documents protected from disclosure by the official information privilege (see,
   11   Declaration of Lt. Maxine Kallenberger served on April 26, 2017).
   12             DEFENDANTS’ RESPONSES
   13             Plaintiff’s request is not relevant to any party’s claim or defense and not
   14   proportional to the needs of the case as, for example, its seeks all complaints and
   15   misconduct against all LASD employees in the jail setting regardless of any
   16   causation by any named and unnamed Defendants and as worded is not limited to
   17   the relevant period of the alleged incident in 2009. See Fed.R.Civ.P. Rule
   18   26(b)(1). Plaintiff has not articulated the need for the documents or how it is
   19   relevant to the Parties’ claim or defense. Accordingly, the motion to compel as to
   20   this request should be denied. In addition, Defendants have requested that the
   21   Monell and supervisor liability claims be bifurcated for trial with discovery stayed
   22   pending the outcome of the liability phase.
   23   REQUEST FOR PRODUCTION NO. 25:
   24             All internal LASD documents effecting policy changes based upon the
   25   report of the Citizen's Commission on Jail Violence
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   27   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
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    1             Objections: this request is duplicative of Plaintiff's Supplemental Requests
    2   for Identification and Production of Documents served on March 27, 2017 and is
    3   therefore is unduly burdensome and improper; fails to designate documents
    4   sought with reasonable particularity; vague and ambiguous as to "internal LASD
    5   documents effecting policy changes"; not reasonably calculated to lead to the
    6   discovery of admissible evidence; potentially calls for information protected by
    7   the official information privilege and the self-critical analysis privilege (See,
    8   Declaration of Lt. Maxine Kallenberger served on April 26, 2017); potentially
    9   calls for information protected by attorney-client privilege and the attorney work
   10   product doctrine; seeks documents detailing subsequent remedial measures.
   11             DEFENDANTS’ RESPONSES
   12             Plaintiff’s request is not relevant to any party’s claim or defense and not
   13   proportional to the needs of the case as, for example, its seeks all internal
   14   documents effecting policy changes without limitation as to the type of policies
   15   and regardless of any causation to Plaintiff’s allegations. See Fed.R.Civ.P. Rule
   16   26(b)(1). Similarly, Plaintiff has not articulated the need for the documents or
   17   how it is relevant to the Parties’ claim or defense. Accordingly, the motion to
   18   compel as to this request should be denied.
   19   REQUEST FOR PRODUCTION NO. 26
   20             All internal LASO documents effecting changes in training based upon the
   21   report of the Citizen's Commission on Jail Violence.
   22   RESPONSE TO REQUEST FOR PRODUCTION NO. 26
   23             Objections: this request is duplicative of Plaintiffs Supplemental Requests
   24   for Identification and Production of Documents served on March 27, 2017 and is
   25   therefore is unduly burdensome and improper; fails to designate documents
   26   sought with reasonable particularity; vague and ambiguous as to "internal LASD
   27   documents effecting policy changes"; not reasonably calculated to lead to the
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    1   discovery of admissible evidence; potentially calls for information protected by
    2   the official information privilege and the self-critical analysis privilege (See,
    3   Declaration of Lt. Maxine Kallenberger served on April 26, 2017); seeks
    4   documents detailing subsequent remedial measures; potentially calls for
    5   information protected by attorney-client privilege and the attorney work product
    6   doctrine.
    7             DEFENDANTS’ RESPONSES
    8             Plaintiff’s request is not relevant to any party’s claim or defense and not
    9   proportional to the needs of the case as, for example, its seeks all internal
   10   documents effecting changes in training without limitation as to the type of
   11   policies and regardless of any causation to Plaintiff’s allegations. See
   12   Fed.R.Civ.P. Rule 26(b)(1). Similarly, Plaintiff has not articulated the need for
   13   the documents or how it is relevant to the Parties’ claim or defense. Accordingly,
   14   the motion to compel as to this request should be denied. In addition, Defendants
   15   have requested that the Monell and supervisor liability claims be bifurcated for
   16   trial with discovery stayed pending the outcome of the liability phase.
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   24   REQUEST FOR PRODUCTION NO. 32:
   25             The Housing Location Inquiry for Central Jail module 2500 for May 13,
   26   2009.
   27   RESPONSE TO REQUEST FOR PRODUCTION NO.32:
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    1             Objections: this request is duplicative of Plaintiff's Supplemental Requests
    2   for Identification and Production of Documents served on March 27, 2017 and is
    3   therefore is unduly burdensome and improper; not reasonably calculated to lead
    4   to the discovery of admissible evidence, vague and ambiguous as to what is
    5   meant by "Housing Location Inquiry"; unreasonably invasive of the privacy
    6   rights of third parties.
    7             Without waiving the foregoing objections and subject thereto, Defendant
    8   will produce responsive documents, if any, that can be located after a reasonable,
    9   yet diligent search.
   10             DEFENDANTS’ RESPONSES
   11             As an initial matter, Plaintiff’s request is not relevant to any party’s claim
   12   or defense and not proportional to the needs of the case as, for example, it seeks
   13   the list of all inmates from the particular module without limitation of location.
   14   See Fed.R.Civ.P. Rule 26(b)(1). Consequently, the request violate the rights of
   15   third parties. In addition, Plaintiff has explained why the present response is
   16   deficient in any way. For these reasons, the motion to compel as to this request
   17   should be denied.
   18
   19   REQUEST FOR PRODUCTION NO. 33:
   20             The Housing Location Inquiry for Central Jail module 2700 for May 13,
   21   2009.
   22   RESPONSE TO REQUEST FOR PRODUCTION NO.33:
   23             Objections: this request is duplicative of Plaintiff's Supplemental Requests
   24   for Identification and Production of Documents served on March 27, 2017 and is
   25   therefore is unduly burdensome and improper; not reasonably calculated to lead
   26   to the discovery of admissible evidence, vague and ambiguous as to what is
   27   meant by "Housing Location Inquiry"; unreasonably invasive of the privacy
   28   rights of third parties.


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    1             DEFENDANTS’ RESPONSES
    2             Plaintiff’s request is not relevant to any party’s claim or defense and not
    3   proportional to the needs of the case as, for example, it seeks the list of all
    4   inmates from the particular module without limitation of location, especially
    5   when Plaintiff was housed at a different module. See Fed.R.Civ.P. Rule 26(b)(1).
    6   Consequently, the request violate the rights of third parties. For these reasons, the
    7   motion to compel as to this request should be denied.
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    5   REQUEST FOR PRODUCTION NO. 35:
    6   The Los Angeles County Sheriff's Department Custody Support Services
    7   Division May 2009 SCIF (Sheriffs Critical Information Forum) Report.
    8   RESPONSE TO REQUEST FOR PRODUCTION NO.35:
    9             Objections: this request is duplicative of Plaintiff's Supplemental Requests
   10   for Identification and Production of Documents served on March 27, 2017 and is
   11   therefore is unduly burdensome and improper; fails to designate the documents
   12   sought with reasonable particularity; vague and ambiguous; burdensome and
   13   harassing; calls for information protected by attorney-client privilege and the
   14   attorney work-product doctrine.
   15             DEFENDANTS’ RESPONSES
   16             Defendants have and is continuing to conduct a diligent search and
   17   reasonable inquiry as to this request and have not been able to locate the material
   18   requested. To the extent the material is not privileged, Defendants will
   19   supplement under Fed.R.Civ.P. Rule 26. In addition, Defendants have requested
   20   that the Monell and supervisor liability claims be bifurcated for trial with
   21   discovery stayed pending the outcome of the liability phase.
   22
   23   REQUEST FOR PRODUCTION NO. 36:
   24             The Los Angeles Sheriffs Department Custody Support Services Division
   25   SCIF (Sheriff's Critical Information Forum) Reports issued in 2010.
   26   RESPONSE TO REQUEST FOR PRODUCTION NO.36:
   27             Objections: this request is duplicative of Plaintiff's Supplemental Requests
   28   for Identification and Production of Documents served on March 27, 2017 and is


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    1   therefore is unduly burdensome and improper; burdensome and harassing; fails tc
    2   designate the documents sought with reasonable particularity; vague and
    3   ambiguous; calls for information protected by attorney-client privilege and the
    4   attorney work-product doctrine.
    5             DEFENDANTS’ RESPONSES
    6             Defendants have and is continuing to conduct a diligent search and
    7   reasonable inquiry as to this request and have not been able to locate the material
    8   requested. To the extent the material is not privileged, Defendants will
    9   supplement under Fed.R.Civ.P. Rule 26. In addition, Defendants have requested
   10   that the Monell and supervisor liability claims be bifurcated for trial with
   11   discovery stayed pending the outcome of the liability phase.
   12
   13
        Date: June 15, 2017

   14
                                                 JEFF DOMINIC PRICE, Esq.

   15
                                                     /s/ Jeff Dominic Price
   16                                            JEFF PRICE
                                                 Attorneys for Plaintiff
   17
   18
   19
        Dated: June ___, 2017                    LAWRENCE BEACH ALLEN & CHOI, PC
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   21
                                                       [See signature page attached]
   22
                                                 By
                                                        Arnold F. Lee
   23                                                   Attorneys for Defendants
                                                        County of Los Angeles,
   24                                                   Deputy Kerfoot,
                                                        and Deputy Casey Owens
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